Case 9:19-bk-11573-MB     Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28   Desc
                          Main Document     Page 1 of 111



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 7
                           UNITED STATES BANKRUPTCY COURT

 9                          CENTRAL DISTRICT OF CALIFORNIA

l0                                  NORTHERN DIVISION

11

12                                              Case No.: 9:19-bk-11573-MB

13                                              Chapter 11

14                                              TRUSTEE'S NOTICE OF MOTION AND
                                                MOTION FOR ORDER AUTHORIZING
15                                              THE REJECTION OF ALL CONTRACTS
                                                AND AGREEMENTS WITH
16                                              CALIFORNIA ASPHALT PRODUCTION,
                                                INC.,FORMERLY KNOWN AS SANTA
17                                              MARIA REFINING CO. AND GREKA
                                                REFINING COMPANY,AND GTL1,LLC,
18                                              NOT PREVIOUSLY INCLUDED IN
                                                PRIOR MOTION TO REJECT(DOCKET
19                                              NO.573); MEMORANDUM OF POINTS
                                                AND AUTHORITIES,DECLARATIONS
20                                              OF MICHAEL A. MCCONNELL,
                                                TIMOTHY SKILLMAN,ERIC P.
21                                              ISRAEL,AARON E.DE LEEST AND
                                                REQUEST FOR JUDICIAL NOTICE IN
22                                              SUPPORT THEREOF

23                                              fHearin~ to be Setl

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     1568866.1 26932
Case 9:19-bk-11573-MB                 Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                                                Desc
                                      Main Document     Page 2 of 111



 1                                                      TABLE OF CONTENTS

 2                                                                                                                                              Page

 3 MEMORANDUM OF POINTS AND AUTHORITIES .....................................................................4

 4 I.         BACKGROUND FACTS........................................................................................................4

 5            A.        The Bankruptcy Case...................................................................................................4

 6            B.        The Contracts...............................................................................................................4

 7            C.        Summary of Contracts with the Debtor's Affiliates ....................................................5

 8            D.        The Debtor's Cash Management Motion ....................................................................6

 9            E.        CAP's Failures to Pay the Debtor................................................................................6

10            F.        The Trustee's Motion to Reject the Richfield Contracts and Belridge
                        Contracts ......................................................................................................................7
11
              G.        Letters from CAP's Counsel........................................................................................8
12
              H.        The Urgent Need to Reject ..........................................................................................9
13
              I.        Requested Relief..........................................................................................................9
14
     II.      ARGUMENT.........................................................................................................................10
15
              A.        THE COURT SHOULD AUTHORIZE THE TRUSTEE TO REJECT THE
16                      CONTRACTS............................................................................................................10

17            B.        Rejection as of the Date of the Motion is Appropriate ..............................................12

18 III.       CONCLUSION......................................................................................................................13

19 DECLARATION OF MICHAEL A. MCCONNELL.......................................................................14

20 DECLARATION OF TIM SKILLMAN ...........................................................................................18

21   DECLARATION OF ERIC P. ISRAEL ...........................................................................................20

22 nF,CLARATION OF AARON E. DE LEEST..................................................................................21

23 REQUEST FOR JUDICIAL NOTICE ..............................................................................................23

24

25

26

27

28
      1568866.1 26932                                                        i
Case 9:19-bk-11573-MB            Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28            Desc
                                 Main Document     Page 3 of 111



 1           PLEASE TAKE NOTICE that at a time and place to be set by the Court,l pursuant to an

2 application for order shortening time, Michael A. McConnell, the Chapter 11 trustee (the

 3 "Trustee")for the estate of HVI Cat Canyon, Inc.(the "Debtor"), hereby moves(the "Motion"), for

4 an order authorizing the Trustee to reject certain contracts with affiliates California Asphalt

 5 Production, Inc., formerly known as Santa Maria Refining Co. and Greka Refining Company

6 ("CAP")and GTL1, LLC("GTL1"), as follows:

 7          (1)         CAP —Crude Oil Purchase Contract — Contract No. COP-002, and all amendments,

 8 for Santa Maria Valley crude oil;

9           (2)         CAP —Waste Gas Handling Agreement, and all amendments,for waste gas

10 ~ delivery;

11          (3)         CAP —Supply Agreement, and all amendments,for hot load supply;

12          (4)         CAP —Amended and Restated Agreement, and all amendments; for BS&W excess

13 and cold oil;

l4          (5)         CAP —Supply Agreement, and all amendments,for LCR (light crude);

15          (6)         GTL1 —Trucking Agreement.2

16            The Trustee requests that the rejection be effective as of November 27, 2019. Out of an

17 abundance of caution, the Trustee also requests that the Court confirm that the contracts and

18 agreements are terminated.3

19            The Trustee reserves all of his rights, claims and remedies against CAP and GTL1 and

20 nothing in the Motion is or shall be interpreted to be a waiver of any of such rights, claims or

21 remedies.

22            This Motion is based upon the accompanying Memorandum of Points and Authorities,

23 the accompanying Declarations of Michael A. McConnell, Tim Skillman, Eric P. Israel,

24
   ~ The Trustee requests that the Court set the hearing no later than Monday December 9, 2019.
25 2 The Debtor does not identify any agreement with GTL1 as an executory contract on schedule G
   and the Trustee is not aware of any written agreement between the Debtor and GTL1 for trucking
26 services. However, out of an abundance of caution, the Trustee believes it is appropriate to reject
   any agreement between the Debtor and GTL1.
27
   3 The agreements with CAP provide for cancellation or termination on 30 days' notice.
28

     1 568866.1 26932                                  2
Case 9:19-bk-11573-MB        Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                 Desc
                             Main Document     Page 4 of 111



 1 Aaron E. de Leest and the Request for Judicial Notice, the papers and pleadings on file in this case,

2 and such other evidence that may be presented to the Court.

 3           PLEASE TAKE FURTHER NOTICE that the Trustee is requesting that the Court set a

4 hearing on this Motion on shortened time because:(1) CAP has not paid the Trustee all the

5 amounts that are due for October 2019, and the Trustee can no longer ship oil and gas to CAP and

6 do business with CAP without being paid;(2)the Trustee can only store oil production for another

7 week or he will be forced to start shutting down wells; and (3)the Trustee is now forced to locate

 8 other customers to purchase the Debtor's oil and his alternatives are limited.

9            PLEASE TAKE FURTHER NOTICE the Trustee is filing concurrently herewith an

10 application to shorten time for the hearing on this Motion. After the Court rules on the

1 1 Application, the Trustee will serve this Motion with a notice ofthe hearing date, time and place,

12 and procedures to respond to the Motion. Failure to respond may be deemed consent to the

13 granting ofthe Motion.

14

15 DATED: December ~,2019                    DAMNING,GILL,ISRAEL & KRASNOFF,LLP

16

17
                                             By:
18                                                 AARON E. E LEEST
                                                   Attorneys for Michael A. McConnell,
19                                                 Chapter 11 Trustee
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     1568866.1 26932                                  3
Case 9:19-bk-11573-MB          Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                Desc
                               Main Document     Page 5 of 111



 1                        MEMORANDUM OF POINTS AND AUTHORITIES

2                                                      I.

3                                         BACKGROUND FACTS

4 A.         The Bankruutcy Case

5            The Debtor is a Colorado corporation authorized to conduct business in the state of

6 California. It is the owner and operator of producing oil and gas wells in California. The wells are

7 located in Santa Barbara County, Orange County and Kern County.

 8           On July 25, 2019, the Debtor filed a voluntary petition for relief under Chapter 11 of title 11

9 ofthe United States Code (the "Bankruptcy Code"). The case was originally filed in the Southern

10 District of New York. The case was transferred to the Northern District of Texas, and then later to

1 1 the Central District of California.

12           On or about August 9, 2019, an Official Creditor's Committee was appointed.

13           The Debtor initially operated its business as a "debtor in possession," until on or about

14 October 16, 2019, when the Court entered its Agreed Order Granting Motion for Appointment of a

15 Chapter 11 Trustee.

16           On or about October 22, 2019, the Court approved the appointment of Michael A.

17 McConnell as the Chapter 11 trustee in this case.

18

19 B.        The Contracts

20           The Debtor's schedule G (docket no. 171) reflects that it is a party to certain executory

21   contracts and unexpired leases with a number of entities, including its affiliate California Asphalt

22 Production, Inc., formerly known as Santa Maria Refining Co. and Greka Refining Company

23 ("CAP"). A copy ofthe Debtor's schedule G is attached as Exhibit"1" to the Request for Judicial

24 Notice. CAP is an affiliate of the Debtor that operates a certain refinery in Santa Maria, California

25 (the "Refinery").

26           The Debtor's primary contracts with CAP are for CAP's purchase of crude oil, including

27 marketing and handling fees, from the Debtor's leases in the Santa Maria Valley of Santa Barbara

28 County, California("SMV"), Richfield East Dome Unit in Orange County, California ("Richfield")

     1568866.1 26932                                    4
Case 9:19-bk-11573-MB           Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28           Desc
                                Main Document     Page 6 of 111



 1 and in North Belridge in Kern County, California ("Belridge") as follows:

2            1.        Crude Oil Purchase Contract —Contract No. COP-002, and all amendments, for

3 Santa Maxia Valley crude oil (collectively, the"SMV Contracts").

4            2.        Crude Oil Purchase Contract — Contract No. COP-003, and all amendments,for

5 Richfield crude oil (collectively, the "Richfield Contracts").

6            3.        Crude Oil Purchase Contract —Contract No. COP-004, and all amendments,for

7 Belridge heavy crude oil (collectively, the "Belridge Contracts").

 8           The Debtor's other contracts with CAP are the following:

9            1.        Waste Gas Handling Agreement, and all amendments,for CAP's purchase of waste

10 gas (the "Waste Gas Agreement");

11           2.        Supply Agreement, and all amendments,for the Debtor's purchase of hot load

12 supply from CAP (the "Hot Load Supply Agreement");

13           3.        Amended and Restated Agreement, and all amendments; for CAP's purchase of

14 BS&W excess and cold oil from the Debtor (the "BS&W and Cold Crude Agreement"); and

15           4.        Supply Agreement, and all amendments,for the Debtor's puchase ofLCR light

16 crude as a diluent from CAP (the "LCR Agreement").

17           Copies ofthe SMV Contracts, Richfield Contracts, and Belridge Contracts, Waste Gas

18 Agreement, Hot Load Supply Agreement, BS&W and Cold Crude Agreement, and LCR

19 Agreement, are attached as Exhibits "2" through "8" to the Trustee's Declaration.

20           The Debtor also uses the trucking services of its affiliate GTL1,LLC("GTL1")to meet its

21 transportation needs. However,the Debtor's schedule G does not reflect that there is any executory

22 contract between the Debtor and GTL1 for such services, and the Trustee has been unable to locate

23 a written agreement between the Debtor and GTL 1.

24

25 C.        Summary of Contracts with the llebtor's Affiliates

26           The Debtor sells crude oil and gas to CAP pursuant to the terms of the SMV Contracts,

27 Richfield Contracts, Belridge Contracts, Waste Gas Agreement and BS&W and Cold Crude

28 Agreement. The Debtor buys hot water and diluent(LCL)from CAP for use in the production of

     1568866.1 26932                                   5
Case 9:19-bk-11573-MB         Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                 Desc
                              Main Document     Page 7 of 111



 1 ' ~ its oil pursuant to the terms ofthe Hot Load Supply Agreement and LCL Agreement. The Debtor

2 also uses trucking and transportation services of GTL1, and administrative and office services

3 ~ provided by GIT,Inc.("GIT").

4            By way ofthis Motion and the First Rejection Motion, the Trustee seeks to reject all ofthe

5 ~ contracts and agreements between the Debtor and CAP,and between the Debtor and GTL1. The

6 Trustee intends to reject the services agreement between the Debtor and GIT, effective December

7 31, 2019, which relief will be requested in a separately-filed motion.

 8

9 D.         The Debtor's Cash Management Motion

10           On or about July 30, 2019,the Debtor filed the Motion ofDebtor Pursuant to 11 U.S.C. ~~

1 1 105(A), 363(B), and 363(C) and Fed. R. Bankr~. P. 6003 and 6004 For (I) Interim and Final

12 Authority to (A) Continue Existing Cash Management System,(B)Honor Certain Prepetition

13 Obligations Related Thereto, and(C)Maintain Business Forms and Existing Bank Accounts and

14 (II) Related Relief(docket no. 1~(the "Cash Management Motion"). Copies of the Debtor's

15 contracts with CAP were attached to the Cash Management Motion collectively as Exhibit "D."

16           Among other relief, the Cash Management Motion sought relief to perform under the

17 contracts with CAP,among others disclosed in the Cash Management Motion (defined in the Cash

18 Management Motion as the "CAP Agreements"), in the ordinary course of business. See docket

19 no. 16 at pg. 9.

20           The final order approving the Cash Management Motion, entered on October 21, 2019

21 (docket no. 41~,specifically ordered that "nothing contained in the [Cash Management] Motion,

22 the Interim Order, this Final Order, or any payment made pursuant to the authority granted by this

23 Final Order, is intended to be or shall be construed as ...(iii) approval or assumption of any

24 agreement, contract, program, policy, or lease under section 365 ofthe Bankruptcy Code." See

25 docket no. 416 at pg. 7.

26

27 ~.        CAP's Failures to Pay the Debtor

28           Since the Petition Date, CAP has failed to pay the Debtor in full for the crude oil delivered

     1568866.1 26932
Case 9:19-bk-11573-MB           Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28              Desc
                                Main Document     Page 8 of 111



 1 by the Debtor to CAP and has purported to set off pre-petition and post-petition amounts owed by

2 the Debtor to CAP against amounts owed by CAP to the Debtor. CAP has also purported to set off

3 amounts owed by CAP to the Debtor for amounts the Debtor purportedly owes to its affiliates GIT

4 and GTL 1. The latter "triangular setoffs" have included payments to attorneys and insiders in

5 violation ofthe Bankruptcy Code.

6               On or about November 15, 2019, in anticipation of the November 20,2019 payment due

7 from CAP,the Trustee's counsel sent a letter to CAP's counsel informing CAP that its prior setoffs

8 were violations ofthe automatic stay under 11 U.S.C. § 362(a) and demanding that CAP cease and

9 desist from any further setoffs from sums due the Trustee, including in relation to CAP's

10 November 20, 2019 payment that was coming due. A copy ofthe November 15, 2019, letter is

1 1 attached as Exhibit "9" to the Israel Declaration.

12              Thereafter, on or about November 20, 2019, CAP paid the Trustee only $300,000 ofthe

13 $1,128,250 that was owed to the Debtor for the month of October 2019. At that time, the Trustee's

14 CRO was told by Ernesto Olivares, CAP's CFO,that CAP was short on cash but that the balance

15 would be paid within the next week. Even if all wrongful setoffs were credited, CAP still owed the

16 Debtor over $450,000.

17              On or about November 25, 2019, the Trustee's counsel sent a demand letter to counsel for

18 CAP demanding immediate payment ofthe $828,250 that was still due for October 2019. A copy

19 ofthe November 25, 2019, letter is attached as Exhibit "10" to the de Leest Declaration.

20              On or about November 27, 2019, CAP did not pay the Trustee the outstanding amount oI~

21 $828,250 that was due for October 2019, or any other sum.

22              On or about November 27,2019, Mr. Olivares informed the Trustee's CRO that CAP was

23 having a liquidity problem and that CAP would not be making any more payments to the Debtor

24 for deliveries to CAP in the month of October 2019. As a result, the Trustee ceased virtually all

25 shipments to CAP on that day —November 27,2019.

26

27 F.           The Trustee's Motion to Reiect the Richfield Contracts and Belrid~e Contracts

28 ~~            On November 27,2019, at about 2:30 p.m., the Trustee filed a Motionfor Order

        1568866.1 26932                                  7
Case 9:19-bk-11573-MB         Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                 Desc
                              Main Document     Page 9 of 111



     Authorizing the Rejection of Oil Purchase Contracts (Contract No. COP-003 for Belridge Crude
2 Oil and All Amendments and Contract No. COP-004for Richfield Heavy Crude Oil and All

3 Amendments) with California Asphalt Production, Inc., formerly known as Santa Maria Refining

4 Co. and Greka Refining Company (docket no. 573) (the "First Rejection Motion") seeking to reject
5 the Richfield Contracts and Belridge Contracts. A copy of the First Rejection Motion was emailed

6 to counsel for CAP at about that time.
7            The First Rejection Motion was set on regular notice for December 20, 2019, at 10:00 a.in.,

8 ~ because an alternative purchaser for the Debtor's oil, located by the Trustee, informed the Trustee

9 that it would negotiate an agreement with the Trustee after the First Rejection Motion was filed.
10           The alternative purchaser has since advised the Trustee that it will not enter into a new

1 1 ~ agreement with the Trustee until the Richfield Contracts and Belridge Contracts have actually been

12 rejected by the Trustee.
13
14 G.        Letters from CAP's Counsel

15           On or about November 27, 2019, at about 5:18 p.m. (after the First Rejection Motion had

16 been filed), counsel for CAP sent a letter to counsel for the Trustee advising, among other things,
17 that "the root" of CAP's "liquidity shortage" was due to the Debtor's "inability to deliver dry and
1 K hot crude oil" and threatening to reject the Debtor's crude oil in the future. A copy of the letter is

19 attached as Exhibit "11" to the de Leest Declaration.

20           Due to CAP's failure to pay for all the Debtor's oil that it received and the threats from

21 CAP's counsel, the Trustee has now stopped delivering all Santa Maria Valley oil and gas to CAP.
22           On or about November 27, 2019, at about 5:16 p.m., counsel for CAP also sent a demand
23 ~ for payment to the Trustee for amounts alleged to be due to GTL1 for September and October
►.~! 2019. A copy of the letter is attached as Exhibit "12" to the de Leest Declaration.

25            On or about December 1, 2019, counsel for CAP sent afollow-up letter to counsel for the

26 Trustee asserting, again, that it was the Debtor's delivery of cold and "off-spec oil" that had
27 contributed to CAP's operation and liquidity issues since month end July 2019. The Court will
28 note that the Trustee was only appointed on or about October 22, 2019, and CAP was apparently
     1568866.1 26932
Case 9:19-bk-11573-MB         Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                 Desc
                              Main Document    Page 10 of 111



 1 ~ able to operate the Refinery with the Debtor's "off-spec oil" and pay the Debtor prior to the

2 ~ Trustee's appointment.

 3           Although the December 1, 20191etter took issue with some ofthe factual statements filed in,

4 ~ support ofthe First Rejection Motion, it advised that CAP "has no objection to the rejection of[the

 5 Richfield Contracts and Belridge Contracts]" as set forth in the First Rejection Motion. A copy of

6 the letter is attached as Exhibit "13" to the de Leest Declaration.

7

 8 H.        The Ur•~ent Need to Reiect

 9           The Debtor is producing about 1,000 barrels of oil per day and only has storage for about

10 one-week of oil production. The Trustee is looking for other storage options and customers for the

1 1 Debtor's oil. However, once available storage capacity is reached, which is anticipated to be

12 during the week of December 9, 2019, the Trustee will have no other option other than to "shut-in"

13 the Debtor's wells, beginning in Santa Barbara, at significant cost and risk. The risk arises, in

14 particular, with respect to the Santa Maria Valley oil because that oil it is a cold viscous crude oil,

15 and stopping production may cause damage to the production equipment and which could require

16 significant expense to bring production back on line.

17           In addition, the Trustee is now forced to locate other customers for the Debtor's oil and his

18 alternatives are limited. In fact, the potential customer for the Richfield and Belridge oil has now

19 informed the Trustee that it will not sign a new agreement with the Trustee until the Richfield

20 i Contracts and Belridge Contracts have been rejected. Accordingly, it is imperative that the First

21 Rejection Motion also be heard on shortened time with this Motion.

22

23 I.        Requested Relief

24           As discussed below,the Trustee now seeks authority to reject the remaining contracts and

25 agreements listed on schedule G between the Debtor and CAP,and all amendments thereto, as well

26 as any contract or agreement between the Debtor and GTL1. The Trustee also requests that the

27 Court confirm that all the contracts and agreements, including the Richfield Contracts and Belridge

28 Contracts referenced in the First Rejection Motion, are terminated.

     1568866.1 26932                                    G~
Case 9:19-bk-11573-MB         Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                  Desc
                              Main Document    Page 11 of 111



 1           Immediate relief is necessary because:(1)CAP has not paid the Trustee all the amounts that

2 are due for October 2019, and the Trustee can no longer ship oil and gas to CAP and do business

3 with CAP without being paid;(2)the Trustee can only store oil production for another week or he

4 will be forced to start shutting down wells; and (3)the Trustee is now forced to locate other

5 customers to purchase the Debtor's oil and his alternatives are limited.

61

7                                                      II.

8                                                ARGUMENT

9 ~ A.       THE COURT SHOULD AUTHORIZE THE TRUSTEE TO REJECT THE

10           CONTRACTS

11           Section 365(a) ofthe Bankruptcy Code provides in relevant part that with certain

12 exceptions under sections 765 and 766 and sections 365(b),(c), and (d)(all of which are not

13 applicable here), the Trustee, subject to the Court's approval, may reject any executory contract or

14 unexpired lease of the debtor. 11 U.S.C. § 365(a).

15           Rule 6006(a) of the Federal Rule of Bankruptcy Procedure provides in relevant part that a

16 proceeding to reject an executory contract or unexpired lease is governed by Fed. R. Bankr. P.

17 9014. Rule 6006(c) provides in relevant part that notice of a motion to reject a lease must be given

18 to the other party to the contract or lease, other parties in interest as the Court may direct, and the

19 United States Trustee.

20           The Bankruptcy Code does not set forth explicit guidelines for courts to apply in

21   determining whether to approve the decision of a trustee to reject an executory contract or

22 unexpired lease. Courts generally have applied the "business judgment" test when reviewing such

23 decisions. See, e.g., Group oflnstitutionallnvestors v. Chicago, Mil., St. P.& P.R.R., 318 U.S.

24 523, 550(1943); Richmond Leasing Co. v. Capital Bank, N.A., 762 F.2d 1303, 1309(5th Cir.

25 1985), cent, den., 475 U.S. 1057(1986);In re Richmond Metal Finishers, Inc., 756 F.2d 1043,

26 1046-47(4th Cir. 1985); In re Minger,602 F.2d 38,43(2d Cir. 1979);In re Tilco, Inc., 558 F.2d

27 1369, 1372(10th Cir. 1977). In Group oflnstitutionallnv, v. Chicago, MIL., St. P.& P.R.R., the

28 Supreme Court addressed the issue of the standards involving the assumptions of executory

     1568866.1 26932                                    10
Case 9:19-bk-11573-MB          Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                Desc
                               Main Document    Page 12 of 111



 1 contracts or unexpired leases, and stated that "the question whether a lease should be rejected and if
2 not on what terms it should be assumed is one of business judgment." Group ofInstitutional Inv. v.

 3 ~ Chicago, Mil., St. P.& P.R.R., 318 U.S. at 550.

4            As the above authorities state, a trustee is granted wide latitude in determining whether to

5 ~ assume or reject an unexpired lease or executory contract. "In any event, court approval under

6 1 Section 365(a), if required, except in extraordinary situations, should be granted as a matter of
7 course." In re Summit Land Company, 13 B.R. 310, 315 (Bankr. D. Utah 1981). The Court in
 8 Summit explained that this rule, among other things, not only places responsibility for

9 administering the estate upon the trustee, not the court, and therefore furthers the policy ofjudicial

10 independence considered vital by the authors ofthe Bankruptcy Code, but also expedites the
1 1 administration of estates, another goal ofthe Bankruptcy Code. Id.

12           The Trustee's decision to reject the contracts and agreements is a sound exercise of his

13 business judgment. In particular, CAP has not paid the Trustee all the amounts that are due under
14 its contracts and agreements for October 2019, which were due on November 20, 2019. CAP has
15 also purported to improperly setofffrom the amounts due thereunder for sums that are due to CAP

16 and may be due other affiliates, including GTL1 and GIT. The Trustee is also informed, as of
17 November 26,2019, that CAP does not have the ability to pay the outstanding amounts($828,250)

18 that are due the Debtor for October 2019. It is unclear the extent to which the Trustee will receive
19 further payments from CAP. However, as recently as November 27,2019, CAP has made it clear

20 that it will not be making any more payments to the Trustee for oil and gas deliveries that CAP
21 received in the month of October 2019.

22           In light of CAP's failure to pay the Trustee for the amounts that are now due under its

23 contracts and agreements with the Debtor, the Trustee must look to other purchasers for the

24 Debtor's crude oil and can no longer sell such oil to CAP.4 Therefore, the Trustee believes, in his
25 business judgment that it is now appropriate to reject all of the contracts and agreements between
26
27 4 Of course, the Trustee reserves all rights and remedies against CAP and other to collect sums due
   and unwind all avoidable transfer and setoffs, and otherwise.
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     1568866.1 26932                                    11
Case 9:19-bk-11573-MB         Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                Desc
                              Main Document    Page 13 of 111



 1 ~ the Debtor and CAP as of November 27, 2019.

2            Although the Trustee is looking at different storage options for the Debtor's oil, immediate

3 rejection ofthe contracts and agreements is necessary so that the Trustee can contract with such

4 new customers, begin shipping the Debtor's oil, and avoid any shut down in production and any

5 "shut-in" of the Debtor's wells. Given CAP's unwillingness and/or inability to pay the Trustee for

6 all the oil that has been delivered in October 2019, the Trustee had no choice but to stop deliveries

7 to CAP. The Trustee now,in his business judgment, believes that he must make a clean break from

8 CAP (and the Debtor's other affiliates) so that he can locate alternate customers for the Debtor's oil

9 and gas, as well as alternate suppliers of LCL diluent. The Trustee also believes that he will be

10 able to locate an alternate source of diluent for the Debtor's crude that will net the debtor more per

1 1 barrel that the Debtor was receiving from CAP. Rejection of any agreement with GTL1, if there is

12 one, is similarly appropriate because the Trustee no longer requires GTL1's services because he is

13 not currently shipping oil to CAP.

14           Finally, because rejection itself does not terminate the Debtor's agreements with CAP (and

15 any agreement with GTL 1),5 the Trustee requests that the Court confirm that all ofthe Debtor's

16 ~ agreements with CAP (and any with GTL1) are terminated effective November 27, 2019. To the

17 extent that any written notice is required under the contracts and agreements, the Trustee intends

18 this Motion and the First Rejection Motion to constitute such notice.

19

20 B.        Refection as of the Date of the Motion is Appropriate

21           Under the circumstances of this case, the Court's order authorizing rejection ofthe contracts

22 and agreement should be made retroactive to November 27,2019. The Court may exercise its

23 equitable powers to approve the rejection under section 365(a) retroactively. See In re At Home

24 Corp., 392 F.3d 1064, 1067(9th Cir. 2004). Retroactive rejection is appropriate here because,

25 among other things, the Trustee has not been paid by CAP for most ofthe amounts that are now

26
   5 E.g. In re Austin Development Co., 19 F.3d 1077, 1082(5th Cir. 1994)(rejection breaches rather
27 than terminates the contract), cert. denied, 115 S. Ct. 201 (1994);In re Continental Airlines, 981
   F.2d 1450, 1459-61 (5th Cir. 1993)(rejection does not invalidate or extinguish contract).
28

     1568866.1 26932                                   12
Case 9:19-bk-11573-MB         Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                Desc
                              Main Document    Page 14 of 111



 1 due for October 2019 and the Trustee must look to other purchasers for the Debtor's oil and other

2 products. The Trustee also cannot continue to buy diluent LCL and hot water loads from CAP or

3 use GTL1's trucking services when CAP does not pay the Trustee for all the oil it has received

4 from the Debtor. Accordingly, the Trustee requests that the rejection be effective as of November

5 27, 2019.

6

7                                                     III.

8                                               CONCLUSION

9            For the foregoing reasons, the Trustee requests that the Court enter the order authorizing the

10 Trustee to reject the contracts and agreements with CAP and GTL1 as of November 27, 2019. The

1 1 Trustee also requests such other and further relief as is just and proper under the circumstances.

12

13 DATED: December ~,2019                       DAMNING,GILL,ISRAEL & KRASNOFF,LLP

14

15
                                                By:
16                                                    AARON E. DE LEEST
                                                      Attorneys for Michael A. McConnell,
17                                                    Chapter 11 Trustee
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Case 9:19-bk-11573-MB   Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28   Desc
                        Main Document    Page 15 of 111




                          DECLARATION
Case 9:19-bk-11573-MB            Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                Desc
                                 Main Document    Page 16 of 111



 1                            DECLARATION OF MICHAEL A. MCCONNELL

2            I, Michael A. McConnell, declare as follows:

3            1.        I am over eighteen years of age, and I have personal knowledge ofthe facts in this

4 declaration and, if called as a witness, could testify competently that the facts stated in this

5 declaration are true and correct to the best of my knowledge and information.

6            2.        I am the Chapter 11 Trustee of the Bankruptcy Estate of HVI Cat Canyon, Inc.(the

7 ~ "Debtor")

8            3.        The Debtor is a Colorado corporation authorized to conduct business in the state of

9 California. It is the owner and operator of producing oil and gas interests in California. The wells

10 are located in Santa Barbara County, Orange County, and Kern County. The Debtor is producing

1 1 about 1,000 barrels of oil per day and only has storage for about one-week of oil production.

12           4.        On or about October 22, 2019, the Court approved my appointment as the Chapter

13 1 1 trustee in this case.

14           5.        The Debtor's schedule G reflects that it was a party to certain executory contracts

15 and unexpired leases with a number of entities, including its affiliate California Asphalt

16 Production, Inc., formerly known as Santa Maria Refining Co. and Greka Refining Company

17 ("CAP"). CAP is an affiliate of the Debtor that operates a certain refinery in Santa Maria,

18 California

19           6.        The Debtor's primary contracts with CAP are for CAP's purchase of crude oil,

20 including marketing and handling fees, from the Debtor's leases in the Santa Maria Valley of Santa

21 Barbara County, California("SMV"), Richfield East Dome Unit in Orange County, California

22 ("Richfield") and in North Belridge in Kern County, California ("Belridge") as follows:

23                     a.      Crude Oil Purchase Contract —Contract No. COP-002, and all amendments,

24 for Santa Maria Valley crude oil (collectively, the "SMV Contracts").

25                     b.      Crude Oil Purchase Contract —Contract No. COP-003, and all amendments,

26 for Richfield crude oil (collectively, the "Richfield Contracts").

27                     c.      Crude Oil Purchase Contract —Contract No. COP-004, and all amendments,

28 ~' for Belridge heavy crude oil (collectively, the "Belridge Contracts").

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Case 9:19-bk-11573-MB           Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28              Desc
                                Main Document    Page 17 of 111



 1           7.        The Debtor's other contracts with CAP are the following:

2                      a.     Waste Gas Handling Agreement, and all amendments,for CAP's purchase of

3 1 waste gas(the "Waste Gas Agreement");

4                      b.     Supply Agreement, and all amendments, for the Debtor's purchase of hot

5 load supply from CAP (the "Hot Load Supply Agreement");

6                      c.     Amended and Restated Agreement, and all amendments; for CAP's purchase

7 ofBS&W excess and cold oil from the Debtor (the "BS&W and Cold Crude Agreement"); and

8                      d.     Supply Agreement, and all amendments, for the Debtor's puchase of LCR

9 light crude as a diluent from CAP (the "LCR Agreement").

10           8.        True and correct copies ofthe SMV Contracts, Richfield Contracts, and Belridge

1 1 Contracts, Waste Gas Agreement, Hot Load Supply Agreement, BS&W and Cold Crude

12 Agreement, and LCR Agreement, are attached as Exhibits "2"through "8" hereto

13           9.        The Debtor also uses the trucking services of its affiliate GTL1, LLC("GTL1")to

14 meet its transportation needs. However,the Debtor's schedule G does not reflect that there is any

15 executory contract between the Debtor and GTL1 for such services, and I have been unable to

16 locate a written agreement between the Debtor and GTL1.

17           10.       Based on my review ofthe contracts and agreements and knowledge of the Debtor's

18 current operations, the Debtor sells crude oil and gas to CAP pursuant to the terms ofthe SMV

19 Contracts, Richfield Contracts, Belridge Contracts, Waste Gas Agreement and BS&W and Cold

20 Crude Agreement. The Debtor buys hot water and diluent(LCL)from CAP for use in the

21 production of its oil pursuant to the terms ofthe Hot Load Supply Agreement and LCL Agreement.

22 The Debtor also uses trucking and transportation services of GTL1, and administrative and office

23 services provided by GIT,Inc.("GIT")

24            1 1.     Following my appointment, CAP has failed to pay the Debtor in full for the crude

25 oil and gas delivered by the Debtor to CAP and has purported to set off prepetition and postpetition

26 amounts owed by the Debtor to CAP against amounts owed by CAP to the Debtor. CAP has also

27 purported to set off amounts owed by CAP to Debtor amounts the Debtor purportedly owes to its

28 affiliates GIT and GTL1, and had included payments to attorneys and insiders

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Case 9:19-bk-11573-MB            Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                 Desc
                                 Main Document    Page 18 of 111



1            12.       CAP has also failed to perform under the terms of its contracts and agreements with

2 ~ the Debtor. In particular, CAP is not paying me for most ofthe amounts that are due under all of

3 the agreements, including for October 2019. On November 20, 2019, CAP paid me only $300,000

4 ~ ofthe $1,128,250 that was owed to the Debtor for the month of October 2019.

5            13.       Due to CAP's failure to pay for all the Debtor's oil, I stopped delivering all Santa

6 Maria Valley oil and gas to CAP on or about November 27, 2019.

7            14.       In light of CAP's failure to pay for the amounts that are now due under its contracts

8 ~ with the Debtor, I believe that I must look to other purchasers for the Debtor's crude oil and can no

9 longer sell such oil to CAP.

10           15.       I believe my alternatives for new customers are limited. However, I located a

11   potential customer for the Richfield and Belridge oil and on November 27, 2019, I filed a Motion

12 for Order Authorizing the Rejection ofOil Purchase Contracts (Contract No. COP-003for

13 Belridge Crude Oil and All Amendments and Contract No. COP-004for Richfield Heavy Crude Oil

14 and All Amendments) with California Asphalt Production, Inc.,formerly known as Santa Maria

15 Refining Co. and Greka Refining Company(docket no. 573)(the "First Rejection Motion")seeking

16 to reject the Richfield Contracts and Belridge Contracts.

17           16.       The First Rejection Motion was set on regular notice for December 20, 2019, at

18 10:00 a.m., because the alternative purchaser for the Debtor's oil, informed me that it would

19 negotiate an agreement with me after the First Rejection Motion was filed.

2U           17.       After the First Rejection Motion was filed, I learned that the potential customer for

21   the Richfield and Belridge oil will not sign a new agreement with me until the Richfield Contracts

22 and Belridge Contracts have been rejected. Accordingly, it is imperative that the First Rejection

23 Motion also be heard on shortened time so that I may begin selling such oil to the new customer

24 I forthwith.

25           18.       With respect to the Santa Maria Valley oil, I am looking for other storage options

26 and customers. However, because I have stopped shipping to CAP due to CAP's non-payment,

27 once the Debtor's available storage capacity is reached, which is anticipated to be during the week

28 of December 9, 2019, I will have no other option other than to "shut-in" the Debtor's wells, at

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Case 9:19-bk-11573-MB             Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                    Desc
                                  Main Document    Page 19 of 111




 1 significant cost and risk, The risk arises, in particular, with respect to the Santa Maria Valley oil

 2 because that oil it is a cold viscous crude oil and stopping production nlay cause damage to the

 3 production equipment and it will require significant expense to bring production back on line.

 4           19.       I believe, in my business jtiidgment, that in light of CAP's failure to pay me fox all of

 5 the amounts that are now due under its contracts and agreements with the Debtor, I must look to

 6 other purchasers for the Debtor's crude oil and can no longer sell such oil to CAP, Therefore, I

 7 believe, in my business judgment that it is now appropriate to immediately reject all of the

 8 contracts and agreements between the Debtor and CAP as of November 27, 2019.

 9           20.       I believe, in my business judgment, that I must make a clean break from CAP (and

10 the Debtor's other affiliates) so that T can locate alternate customers for the Debtor's oil and gas, as

1 1 ~ well as alternate suppliers ofLCL diluent. I believe that Y will be able to locate alternate suppliers,

12 including an alternate source of diluent for the Debtor's crude, that will net the Debtor more per

13 barrel than the Debtor was receiving from CAP. I believe that rejection of any agreement with

14 GTL1, if there is one, is similarly appropriate because I no longer require GTL1's services because

15 I am not currently shipping oil to CAP or using GTL's services.

16

17           I declare under penalty of perjury under the laws ofthe United States that the foregoing is

18 true and correct to the best of my knowledge, information and belief.

19           Executed on December~,2019 at Santa Maria, California.

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23                                                          ICHA L A. MCCO           ELL

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                        Main Document    Page 20 of 111




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Case 9:19-bk-11573-MB            Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                Desc
                                 Main Document    Page 21 of 111



 1                                  DECLARATION OF TIM SKILLMAN

 2          I,Tim Skillman, declare and state as follows:

 3           1.        I have personal knowledge of each of the facts herein, except those set forth on

4 information and belief and, as to those matters, I believe them to be true. If called as a witness, I

 5 could and would testify competently with respect to such facts.

 6          2.         I am a partner at CR3 Partners, LLC("CR3"). CR3 is a national turnaround and

 7 performance improvement firm. CR3 offers advisory services and our professionals often serve as

 8 officers to assist clients in need of crisis management and other turnaround services. I have served

 9 as Chief Restructuring Officer to two companies, and as a C-level executive for other companies in

l U need of someone to help navigate crises in and out of bankruptcy.

11           3.        I am working as, or in a capacity similar to, a Chief Restructuring Officer for

12 Michael A. McConnell, the chapter 11 trustee (the "Trustee")for the estate of HVI Cat Canyon,

13 Inc.(the "Debtor") since the Trustee's appointment.

14           4.        On November 20, 2019, California Asphalt Production, Inc.("CAP")paid the

15 Trustee only $300,000 of the $1,128,250 that was owed to the Debtor for shipments in the month of

16 October 2019.

17           5.        On or about November 20,2019,I was told by Ernesto Olivares, the CFO of CAP

18 and GIT,Inc., that CAP was short on cash but expected additional collection ofreceivables in the

19 next several days.

20           6.        Thereafter, on November 26,2019, Mr. Olivares told me that CAP does not have the

21 ability to pay the outstanding amounts that are due the Debtor for October 2019.

22           7.        On November 27, 2019, Mr. Olivares told me that CAP was having a liquidity

23 problem and that CAP will not be making any additional payments to the Debtor for deliveries to

24 CAP in the month of October 2019.

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Case 9:19-bk-11573-MB           Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                 Desc
                                Main Document    Page 22 of 111




 1           8.        CAP has not made any further payments to the Trustee since the $300,000 payment
 2 on November 2U, 2019 and I do not expect that it will rnalce any more.
 3
 4           I declare under penalty of perjury under the laws of the United States of America that the

 5 foregoing is true and correct,
                                   r
 6           Executed on December ~,2019, at Santa Maria, California.
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                                                      Tim `Skillman
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                        Main Document    Page 23 of 111




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Case 9:19-bk-11573-MB            Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                 Desc
                                 Main Document    Page 24 of 111



 1                                   DECLARATION OF ERIC P. ISRAEL

2           I,Eric P. Israel, declare as follows:

3            1.        I am an attorney, duly licensed and entitled to practice in the State of California and

4 before this Court. I am the principal of a professional corporation which is a partner in the law firm

 5 banning, Gill, Israel &Krasnoff, LLP, general counsel for Michael A. McConnell, Chapter 11

6 Trustee (the "Trustee")for the estate of HVI Cat Canyon, Inc.(the "Debtor").

 7          2.         I have personal knowledge ofthe facts stated herein, and if called as a witness, I

 8 could and would competently testify thereto.

 9           3.        On November 15, 2019, in anticipation of the November 20,2019 payment due

10 from California Asphalt Production, Inc., formerly known as Santa Maria Refining Co. and Greka

11   Refining Company ("CAP"),I sent a letter to CAP's counsel, Susan M. Whalen, informing her that

12 CAP prior setoffs were violations ofthe automatic stay under 11 U.S.C. § 362(a) and demanding

13 that CAP cease and desist from any further setoffs from sums due the Trustee, including in relation

14 to CAP's November 20, 2019 payment that was coming due. A true and correct copy ofthe

15 November 15, 2019, letter is attached as Exhibit"9" hereto.

16

17           I declare under penalty of perjury under the laws ofthe United States of America that the

18 foregoing is true and correct to the best of my knowledge, information and belief.

19           Executed on December ~,2019, at Los Angeles, California.

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                                                                             Eric P. Israel
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Case 9:19-bk-11573-MB   Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28   Desc
                        Main Document    Page 25 of 111




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Case 9:19-bk-11573-MB           Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28               Desc
                                Main Document    Page 26 of 111



 1                               DECLARATION OF AARON E. DE L~rST

 2           I, Aaron E. de Leest, declare and state as follows:

 3           1.        I have personal knowledge of each ofthe facts herein, except those set forth on

 4 information and belief and, as to those matters, I believe them to be true. If called as a witness, I

 5 could and would testify competently with respect to such facts.

6            2.        I am an attorney employed by the law firm of banning, Gill, Israel &Krasnoff, LLP

 7 ("banning Gill"), general bankruptcy counsel to Michael A. McConnell, the chapter 11 trustee (the

 8 "Trustee")for the estate of HVI Cat Canyon, Inc.(the "Debtor").

 9           3.        On November 25, 2019, I sent a letter to Susan M. Whalen, counsel for California

10 Asphalt Production, Inc., formerly known as Santa Maria Refining Co. and Greka Refining

1 1 .Company ("CAP"), demanding immediate payment ofthe $828,250 that was still due for October

12 2019 from CAP to the Trustee. A true and correct copy ofthe November 25,2019, letter is

13 attached as Exhibit "10" hereto.

14           4.        On November 27, 2019, at about 5:18 p.m., I received a letter from Ms. Whalen, via

15 email, in response to my November 25,2019,letter, advising, among other things, that "the root"

16 of CAP's "liquidity shortage" was due to the Debtor's "inability to deliver dry and hot crude oil"

17 and threatening to reject the Debtor's crude oil in the future. A true and correct copy ofthe letter is

18 attached as Exhibit "11"hereto.

19           5.        On November 27, 2019, at about 5:16 p.m., I also received a letter from Ms.

20 Whalen, via email, demanding payment for amounts alleged to be due to GTL1, LLC("GTL1")for

21   September and October 2019. A true and correct copy ofthe letter is attached as Exhibit "12"

22 hereto.

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Case 9:19-bk-11573-MB            Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28              Desc
                                 Main Document    Page 27 of 111



 1            6.        On December 1, 2019, Ms. Whalen sent afollow-up letter to me, via email,

 2 asserting, again, that it was the Debtor's delivery of cold and "off-spec oil" that had contributed to

 3 CAP's operation and liquidity issues since month end July 2019. A true and correct copy of the

4 letter is attached as Exhibit "13" hereto.

 5

6             I declare under penalty of perjury under the laws of the United States of America that the

 7 foregoing is true and correct.

 8            Executed on December ~,2019, at Los Angeles, California.

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                                                        Aaron E. de Leest
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                        Main Document    Page 28 of 111




         REQUEST FOR J U DICIAL NOTICE
Case 9:19-bk-11573-MB            Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                Desc
                                 Main Document    Page 29 of 111



 1                                   REQUEST FOR JUDICIAL NOTICE

 2           Michael A. McConnell, the Chapter 11 trustee (the "Trustee")for the estate of HVI Cat

 3 Canyon, Inc.(the "Debtor"), requests that the Court take judicial notice ofthe following:

 4           1.        On July 25, 2019, the Debtor filed a voluntary petition for relief under Chapter 11 of

 5 title 11 ofthe United States Code.

 6           2.        The Debtor filed its petition in the Southern District of New York. The case was

 7 ~ transferred to the Northern District of Texas, and then later to the Central District of California.

 8           3.        The Debtor initially operated its business as a "debtor in possession."

 9           4.        On or about July 30, 2019,the Debtor filed the Motion OfDebtor Pursuant to I1

10 U.S.C. ~~ 105(A), 363(B), and 363(C) and Fed. R. Bankr. P. 6003 and 6004 For (I) Interim and

1 1 Final Authority to (A) Continue Existing Cash Management System,(B)Honor Certain Prepetition

12 Obligations Related Thereto, and(C)Maintain Business Forms and Existing Bank Accounts and

13 (II) Related Relief(docket no. 1~(the "Cash Management Motion").

14           5.        On or about August 9, 2019, an Official Creditor's Committee was appointed.

15           6.        On or about September 9,2019,the Debtor filed its schedule G (docket no. 171),

16 which includes the Debtor's interests as a lessee in numerous surface leases, and other types of

17 leases. A true and correct copy ofthe Debtor's Schedule G is attached hereto as Exhibit "1."

18           7.        On or about October 16, 2019, the Court entered its Agreed Order Granting Motion

19 for Appointment of a Chapter 11 Trustee.

20           8.        On October 21,2019(docket no. 41~,the Court entered the final order approving

21   the Cash Management Motion, which specifically ordered that "nothing contained in the [Cash

22 Management] Motion, the Interim Order, this Final Order, or any payment made pursuant to the

23 authority granted by this Final Order, is intended to be or shall be construed as ...(iii) approval or

24 assumption of any agreement, contract, program, policy, or lease under section 365 of the

25 Bankruptcy Code." See docket no. 416 at pg. 7.

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Case 9:19-bk-11573-MB           Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28             Desc
                                Main Document    Page 30 of 111



 1           9.        On or about October 22, 2019, the Court approved the appointment of Michael A.

 2 McConnell as the Chapter 11 trustee in this case.

 3           10.       On or about November 27, 2019, at about 2:30 p.m., the Trustee filed a Motionfor

 4 Order Authorizing the Rejection ofOil Purchase Contracts (Contract No. COP-003for Belridge

 5 Crude Oil and All Amendments and Contract No. COP-004for Richfield Heavy Crude Oil and All

 6 Amendments) with California Asphalt Production, Inc.,formerly known as Santa Maria Refining

 7 Co. and Greka Refining Company(docket no. 573).

 8

 9 DATED: December ~,2019                        DAMNING, GILL,ISRAEL & KRASNOFF,LLP

10

11
                                                 By:
12                                                     AARON E. DE LEEST
                                                       Attorneys for Michael A. McConnell,
13                                                     Chapter 11 Trustee
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                        Main Document    Page 31 of 111




                              EXHIBIT "1"

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        Case 9:19-bk-11573-MB                          Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28 Desc
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         Case 9:19-bk-11573-MB
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 Debtor name HVI Cat Canyon,

                                           Noftheffl              District of    TX
 United States Bankruptcy Court for the:
                                                                                (State)

 Case number (If known):    19-32857                               Chapter


                                                                                                                                 ❑ Check if this is an
                                                                                                                                   a mended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases
                                                                                                                                               12/15

                                                                           attach the additional page, numbering the entries consecutively.
Be as complete and accurate as possible. If more space is needed, copy and

 1. Does the debtor have any executory contracts or unexpired leases?
                                                                                                      is nothing else to report on this form.
     ❑ No. Check this box and file this form with the court with the debtor's other schedules. There
                                                            contracts or leases are listed on Schedule A/8: Assets -Real and Personal Property (Official
    0 Yes. Fill in all of the information below even if the
     Form 206A/8)
                                                                                        State the name and mailing address for ail. other parties with
 2. ktst all contracts,and unexpired lease. ~                                           whom the debtor has an executory contract or unexpired lease
     `- '• " "'      "` `" '"~' ~ ''`                                  ~"`


                                              See attachment
       State what the contract or
 2.1   lease is for and the nature
       of the debtor's interest

       state the term remaining
       List the contract number of
       any government contract


       State what the contract or
 2.2   lease is for and the nature
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       any government contract


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 2.3   lease is for and the nature
       of the debtor's interest

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        State what the contract or

 24)    lease is for and the nature
        of the debtor's interest

        State the term remaining
        List the contract number of
        any government contract


        State what the contract or
 2.5    lease is for and the nature
        of the debtor's interest

        State the term remaining
        List the contract number of
        any government contract



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                                                 Schedule G: Executory Contracts and Unexpired Leases                                   page 1 of
 Official Form 206G
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                                                   Debtor: HVI Ut Canyon,Inc.                                                                                                                                                                                                                                                 Case number (if known)1932857
                                                                                                                                                                                              Attachmentto Schedule G
                                                                                                                                                                                                   (Page 1 of 2)
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                                                      2.1 Santa Barbara County, CA    Gude Oil sales                          Seller                                 5/31/2020, evergreen                     California Asphalt Production,Inc                                PO Box 5089,Santa Maria, Gf 93456
                                                      2.2 Santa earban County,C4      BS&w,Cold Dude delivery                 Seller                                            evergreen                     Glifomia Asphalt Praduaion,Inc                                   PO Box 5489,SanU Maria,U 93456
                                                      235an[a Barbara County,CA       Waste Gas delivery                      Transferor                                        evergreen                     UI"rfomia Asphalt Production,Inc                                 PO Box 5489,Santa Maria, U 93656
                                                      2.4 Sarrca Barbara Cnunry,fA    LCR wpply                               Buyer                                             evergreen                     Glifomia Asphalt Production,Inc                                  PO Box 5489,Santa Maria, U 93456
                                                      2.5 Santa Barbaro Coumy,C4      Hot LoaO supply                         Buyer                                             evergreen                     Ulifomia Asphalt PraGuction,Inc                                  PO Box 5489,Santa Maria,G 93456
                                                      2.6 Kern County,G               Uude oil sales                          Seller                                            evergreen                     California Asphalt Production,Inc                                PO Box 5489,Santa MaAa,U 93456
                                                      2.7 Kem County,fA               Gas sales                               xller                                             evergreen                     Herz Energy, LLC                                                 10000 Ming Ave., Bake~el4~93313
                                                      2.8 Orange County, CA           Gude Oil salrs                          Seller                                            evergreen                     California Asphalt Production,lnc                                PO Box SA89,Santa Maria,G 93456
                                                      1.9                             Oil & Gaz well bond                     Frinapal                                          evergreen                     Fidelity &Deposit Compafry of Maryland                           PO Box 122), BaRimore, MD 23103
                        ',                           2.10                             Surety bond                             Prindpal                                          evergreen                     Fidelity & Deposk Company of MarylaM                             PO Boz 1227,Baltimore, MD 21203
                                                     2.11                             Liability, umbrella insu2nce            Insured                                          12/1/2019                      Markel International Inwrance Company Limited                    c%1H Blades,520 Dak BWd..Suite 250,Houston,TX 7702
                                                     2.12                             Property insurance                      IMured                                          12/2]/2019                      Lloyd's Landon                                                   c/o Worldwide Facilities, LLC8 Greenway Plaza,Suite 40A, Houston, TX 770x6
                                                     2.13                             Workers Compenution                     Insured                                          12/1/2019                      State Compensatlon Insurance Fund                                PO Bwc 8192,Pleasanton, CA 91588
                                                     Lla                              Insurance Oremium finance               Insured                                          12/1/20]9                      South Bay Acceptance Corp.                                       PO Box 639799, Gndrnati,CH 45263
                 Page 33 of 111




                          '                          2.15                             Settlement / Eurow                      Depositor                                                                       Unocal                                                           c/a Todd Littlevrorth, 6001 Bollinger Canyon Rd.,San Ramon,0494583
                                                     2.16                             Settlement /Escrow                      Depositor                                                                       Reece Foz Bartlett, LLP                                          116 E. Sola St., Santa Barbara,CA 93101
                                                     2.17                             G&A services                            Gient                                               evergreen                   GR,Inc.                                                          PO Box 5489,Sane Maria, U 93456
                                                     2.18                             Tax Sharing                             Member                                      while in Wx group                   GR,Int.                                                          PO Box 5489,Santa t.~ria, U 93456
                          '.                         2.19                             Settlement/ InstIlment contract         Payor                                         16 imtalimenis                    West Coal[ Welding                                               2203 Celsius Avenue, Buildiiy+6, Oxnard,CA 93030
                                                     2.20 Orange County, CA           Unit Agreement                          OOero[or/Working Interest Owner            held by production                   included in Schedule E/F
                                                     2.21 Oange County, CA            Unit Opeating Fgreement                 Operator/Working Interest Owner       held by UNt Agreement                     included In Schedule E/F
                         '.                          2.23 Kem County,CA               Fadliry Air Permit To Operate           Cermitee                                                                        San Joaquin Valley Air Pdludon Control DistriR                   34946 Flyover Court, eakerfield, CA 93308
                         '                           2.23 Kem County,fA               Commercial Modular Registration         Permitee                                                                        Departrnent of Housing & fommuniry Development                   2700 M Street Suite 250, ea<ersfield, CA 93301-2370
                                                     2.24 Kem Caunry, CA              Generation of Haz Waste EPA-ID          Permitee                                                                        Department of Toxic SuMW rote Control                            PO Box 806,Sacramento, C0.95812~0806
                                                     2.25 Kern County,CA              Approvals/Projece Pefmits TO Conduct    Permitee                                                                        DeDartmerrt of Conservation DiWsion Of Oil, Gas and Geothermal   801 K St., MS 24-03, Sacramento, CA 95814
                                                                                      wellOceraUons           '                                                                                               Resources
                                                     2.26 Kern County, CA             Permit 7o Opera[e Regulated Materials   Vermitee                                                                        Public Health Services Environmental Health Div.                 2700 M Street, Suite 300, Bacer~eld, CA 93301-2370
                                                     2.270range[ou~iy, CA             UUEe Oil Wells(5-28)                    Permitee                                                                        South Caast Air Quality Management District                      21865 Copley Drive, ~iamony Bay, CA 91765
Main Document




                                                     2.280range County,CA             fadlity Air Perm.t TO Operate           Permi[ee                                                                        South Coast Air Quality Management District                      21865 Copley Drove, Diamonj Bar,0191765
                                                     2.79 Orange County, CA           Oil Storzge Tanks Businea License       Permitee                                                                        Gry of Plattntia                                                 401 E. Lhapman,Placentia, CA 92870
                                                     2.30 Orange County, CA           Oil Wells Buvness Certificate           Permitee                                                                        Gty of Yorba Lintla                                              4845 Casa Loma Ave., Yorha Linda, CA 92886
                                                     231 Orange County, CA            Fire Authority Permit                   Permitee                                                                        Oange County Fre Authority                                       1 Flre Authoniy Raced,Irvine, CA 92602
                                                     2320range County, CA             Approvals/ProjeR Permies TO Wnduct      Permitee                                                                        Department of Conservation Division Of Oil, Gas and Geothermal   803 K St, MS 24-03,53camena,fA 95814
                                                                                      Well Operations                                                                                                         Resources
                                                     233 Orange County, CA            Generztian of Haz Waste EPA-ID          Permitee                                                                        Departrnent of Toxic Substance Control                           PO Box 806,Sacramenro,fA95812-0806
                                                     234 Orange Wunty,CA              GUPA Haz Mat Disclosure                 Permitee                                                                        Orznge County Heath Care Agency                                  1241 East Dyer Rd., Suite 120,Santa Ana, CA 92705
                                                     235 Orange County,fA             Permft To Operate Air Preuure Tank      Permi[ee                                                                        State of Uiifomia DOSH                                           1535 tlay St,Suite 1302,Oakland,G 94612
                                                     2.36 Orange County,fA            Permtt To Operate Air Pressure Tank     Pertnitee                                                                       State of California DOSH                                         1515 qay 5t.,Suite 1302, Oakland, CA 94612
                                                     2.37 Oange Courrty, CA           Permit To Operate Air Pressure Tank     Pertnitee                                                                       State of Ulifomia DOSH                                           1515 Clay 5t., Suire li02, Oakland, CA 94612
                                                     2.38 Orznge County,fA            Permit To Operate Air Pressure Tank     Permitee                                                                        State of UI'rfomia DOSM                                          1515 pay St., Suite 1302, Oakland,fA 94612
                                                     239 Sa~rta ear6aro County,CA     Permit to Operate                       Permitee                                                                        Sanb Barbaro County Air Pollution Control District               260 North Antonio Rcad,Suie A Santa Barbarz, CA 93110
                                                     2.40 Sanb Barbaa County,CA       Storm Water Permit/Was[e Tile           Permitee                                                                         Cenval Coast Regional Water quality Control Board               895 Aerovista Place, Suite 101,San Luis Obispo, CA 93401-7906
                                                                                       Mana¢ement Facility/Road Protects
Case 9:19-bk-11573-MB




                                                     2.41 Santa Barba2 County,CA      Generotlon of Haz Waste EPA-ID          Permi[ee                                                                        Departrnent of Toxic Substance Control                           PO Box 806,Sac2mento,CA 95812-0806
                                                     2.42 Sane Barbara County,CA       Annual Hazardous Materials Permit      Permitee                                                                        Santa Barbara County Envirommental Health Services               2125 S Centerpointe Parkwry, Suite 333,Santa Maria, CA 93455
                                                     2.43 Safrta Barbara County, CA    Hof Work Pernik/ Faaliry Fire Permit   Permitee                                                                        Santa Barbara County Fre Department                              4410 Cathedral Oaks Ad., Santa Barba2,CA 93170
                                                     2.44 Santa Barbara Courrty, G1    Unified Program Facility permit        Permitee                                                                        Santa Bar6ars County Hazmat/Environmen[al Heahh Services         2125 5. CeMerpointe Parkway, Suite 333,Safrta Maria, CA 93455
                                                     2455anta Barbara County,CA        Permit to Operate Air Pressure Tank    Permitee                                                                        State of California DOSH                                         3515 tlay St,Suite 3302, Oakland,CA 94612
                               '~                    2.46 Sand Barbara County,CA       Electrial MaiMenan<e Permit            Permitee                                                                        Santa Barbaa County Building & Safety Division                   123 E Anapamu Street,Santa Barbara, CA 93101
                               ~,                    2.47 Santa Barbara County,CA      Land Use Permit                        Permitee                                                                        SanU Barbara County Planning &Development Dept                   123 E. Anapamu Street,Santa Barbara, CA 93101
                                                     2.485anta Barbara County,CA       Approvals/Project Permits TO ConduR    Permitee                                                                        Department of Conservation DNislon Of Oil, Gas and Geothermal    801 K St., MS 24-03, Sacrzrtw_,rto, CA 95814
                                                                                       Well Operations                                                                                                        Rewurces
                                                                                                    Case 9:19-bk-11573-MB                                     Doc 171 Filed 09/09/19 Entered 09/09/19 08:34:12                                                                              Desc                                          ..
                                                                                                                                                              Main Document    Page 271 of 316
                                                   Debtor: HVI Cat Canyon,Inc.
Desc




                                                                                                                                                                                                                                                                                                         Case number (if known)19-32857
                                                                                                                                                                                  Attachment to Schedule G
                                                                                                                                                                                       (Page 2of 2)
                                                     /b.ISrte refererce             I Desmlp:iondccnvut or leax                INat~re ofFm'ifnterest in[he     Term remaiMna Go+ernmmt       ~fauMerparty name                                           ICeunterparty~ddress(11
                                                                                                                                tOn[raa a Icast                                  watt No.. %f
Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28




                                                    2.49 Kem County, CA             License Agreement 9/24/07                 Lessee (Grantee)                                                  Aera Enemy, LLC                                           10000 Ming Ave., Bakersfeld,0193311
                                                    2.50 Orange County, CA          Surface Lease 3/1/71, Book 9]01, Page 387 1e55ee (Groniee)                                                  Frank and Sylvia Boisseranc                               300 W. Paseo De Gist~bal, San Clemente. CA 92672
                                                    2.51 Orange County, Ca          Surtace RenalI A;reemem 12/31/71, Book Lessee (G2ntee)                                                      Buganko                                                   DO Box 8042, Mammoth laks,CA 93546
                                                                                    11056. Paee 1x73
                                                    2.52 Orange CAunN.CA            Agreement 7/1/2                        Le55ee (G2ntee)                                                      Lois Ehhandy                                              140 SbaOa Pla<e, Anxhim,CA 92807
                                                    L53 0nnge County,fA             Agreement 7/3/?2                       lesue(GrsMee)                                                        Dominique G Etchandy                                      772 W.Town & County XE., Orznge fA 92868
                                                    2.540nnge County,CA             Agreement 7/1/72                           Lessee (Grancee)                                                 q.D. Etchancy Trustee                                     3155. Va Monienaro,Anahein,CA 92807
                                                    2.55 Orange County,fA           Agreement 7/3/R                            lessee (Grsntee~                                                 State College, LLC                                        7.345 NW Hayes Ave., ~brvalds, OR 97130
                                                    256 Orange Counq. CA            Grant of Easement and Surface Use        Leuee Grantee}                                                     Guarantee Royahes,lnc and Laor liquidating Aswc           4630 Admiralty Way,Suite 70], Marina Del Rey, CA 90292
                                                                                    3/2/09. k2009007143928
                                                    2.57 Orange County,CA           Surface Lease 2/9/71, Boo 10368, Page 53 lessee (Grsntee)                                                   Frederick D. Thomson,Jr.                                  824 Avalon CC,San Diego, G 92109
                                                    2.58 Orange County, GA          Surface Lease 2/9/71, Boo 10368, Page 53 Lessee (Grantee)                                                   Leigh T. Medema                                           3401 Cascina Grde Urit A, Fighlands Ranch, CO 80126
                                                    2.59 Orange County, CA          Surface Lease 2/9/71, Boo 10368, Page 53   Lexue(Grantee)                                                   Michael McLaughlin                                        386 N. Woodridge Way,Fla3staff, AZ 88004
                 Page 34 of 111




                                                    2.60 Orange County, CA          Surface Lease 2/9/71, Boo 10368, Page 53   Lessee (Grzntee)                                                 7m Mclaughlin                                             1127 Buckingham Dr., kF, C~a Mesa, CA 92616
                                                    261 Orange County, CA           Surtace Leaze 2/9/71, Boo 10368, Page 53   Lessee Grantee)                                                  Sean McLaughlin                                           373015pringdale St., ape 1S,Huntington Beach, CA 92649
                                                    2.62 Senn Barbers County,Cp     Pipeli~ Lease                              Lessee(G2~tee)                                                   Adam Family Trust                                         2303 SiMon Rd.,Santa Maria,CA 93456
                                                    2.63 Santa Barbara Caunry,CA    License Agreement 9/5/2000                 Lessce(Gantee)                                                   Orcutt Fee, LLC                                           1555 Orwtt Hill Ad.. Orcutt; CA 93455
                                                    2.645anW Barbara County,CA      MC-70021 Easement and Right of Way         Lessee (Grantee)                                                 Marianne Friedl                                   ~       2053AStreet,SanU Maria,G93A55
                                                                                    A¢reement 12/19/83
                                                    2.65 Santa Barbara County,G1    Right of Way Agreement 3/19/64             Lessee(Gnrrtee)                                                  CMT,LLC                                                   865 Sage Lest Rd., 5a.ica Mara,CA 93455
                                                    2.66 Santa Barbarz Gounry,CA    Mp01119 Right of Way Agreement             Lessee(Grantee)                                                  Manfred Sander                                            PO Box 593,Santa Ma-ia,fA93456
                                                    267 Sane Barbee County,CA       MC6F1625uAam Lease                         Lessee(Genies)                                                   E&B Nawnl Resources                                       1600 Nortis Rd., Bak~eld,CA 93308
                                                    2.66 Santa Barbee County,CA     Surface lease l~eement 12/1/95             tersee(Grzntee~                                                  Grundoon, UC                                              620 MCMuray Rd., Buellton,64 93427
                                                    2.69 Santa Barbara County, CA   Letter of Authorization 8/20/63            Lessee (Grentee)                                                 Morganti Ranch                                            PO Box 2075, Orcutt,CA 93417
                                                    2.70 SanU Barbara County,fA     Agreement 12/29/65                         Leszee (Grantee)                                                 Railroad Management Company                               PO Box 678161 Dallas,TX 75@67
                                                    2.71 Santa Barbara County,CA    Right of Way Agreement 11/9/01             Lessee(GrsMee)                                                   Paul T. Righetti                                          7476 Gadosa Rd., Santa Mare,CA 93455
Main Document




                                                    2.72 Sane Barbara County,fA     Right of Way Agreement 13/9/01             Leuee(Gantee)                                                    Paul A Righettl, R. Fowler &'fimothY Righetii, Trurtees   7476 Grsdosa Rd., Sane Mx¢,CA 93655
                                                    273 Santa Barbara County,CA     Right of Way Agreement tl/9/OS             Lessee(6nntee)                                                   Righetti Family Trurt                                     7476 Gadosa Rd.. Santa Mxo,CA 93455
                                                    2.7a Santa Barbara County,CA    Right of Way Agreement 11/9/01             Lessee (Grzntee)                                                 Pydie 2000 Truss                                          7476 Grsdosa Rd., Sang Marm,CA 93455
                                                    275 Santa Barbara County,CA     Right of Way Agreement 11/23/92            Lessee (Grzntee)                                                 Judy A Rogers                                             PO Box 234,Santa Maria, CA93656
                                                    2.76 Santa 8ar6ara County,CA    Right of Way Agreement 11/23/92            Lessee(Genies)                                                   Ronald H. Sousa,Jr.                                       PO Box 236,Santa Maria, CA93456
                                                    2.7J Santa Barbara County, CA   Right of Way Agreement 11/23/92            lease (Grzntee)                                                  Michael 1. Souza                                          PO 6me 2337,Orcutt, CA 93437
                                                    2.78 Santa Barbara County,Cq    0.1ght of Way Agreement                Lessee ~Ga~rtee)                                                     Roland and Sally Miller                                   30265andy Hill Wne,Santa irtaria, CA 93E55
                                                    2.79 Santa earbarz County,CA    MC-70033 Right of Way Pgreement 5/1/78 Lessee(G2ntee)                                                       Bruce &Julie Gordon                                       2%5 E. Clark Ave., Santa Mare,CA 93455
                                                    2.80 Sanb Barbaro County, CA    MG70038 Right ~f Way Pgreement 5/3/78 Lessee (Graynee)                                                      Nodiew,Inc                                                PO Bon 366.5anta Maria,CA 93456
                                                    2.81 Sanb Barbaro County,CA     Right of Way Agreement 11/14/92            Lexue (Grzntee~                                                  Jack & GeorgeCe Garvin and George &Catherine Steele       3501 Telephone Rd., Santa Naria, CA 93454
                                                    2.82 Santa Barham County, CA    MC6575-2 Right of Way Pgreement            Lessee (Grantees                                                 Donald and Richard Vincent                                230 Winchester Canyon Rd.,Goleta, CA 93117
                                                                                    12/19/91
                                                    2.83 Sanb Barbara County, CA    VO-RWd                                     Leuee(Gnntee~
Case 9:19-bk-11573-MB




                                                                                                                                                                                                B2dley Land Comparry                                      PO Box 1932.Sanw Maria,0193456
                                                    2.84 Santa Barbara County,fA    VO-RW3                                     lessee (Grantees                                                 Bradley land Company           ~                          PO Box 1932,Santa Maria,093456
                                                    2.65 Santa Barbaa County,CA     VO-RW-4                                    lessee(Genies)                                                   Bradley Wnd Company                                       PO Bo:1932,Santa Maria, W 93656
                                                    2.86 Sanb Barbara County,CA     SMVC-6 amend to ROW                        lease(Grzntee)                                                   Bradley Wnd Company                                       PO em 1932,Santa Maria,(A 93x56
                                                    2.87 Santa Barbara County, CA   MC-70117 ROW Agree                         lessee Grantee)                                                  Badley Land Company                                       PO Box 1932,Sank Maria,093456
                                                    2.88 Sank Barbara County.~      MC-6569-1ROW Agree dtd                      Lessee (Grentee)                                                9radley Land Company                                      PO Boz 3932, Santa Maria, CA 93456
                                                    2.89 Santa Barbara County.CA    MC-853L5                                    Lessee (Grantee)                                                ersdley Wnd Company                                        PO Box 1932,Sank Maria,093656
                                                    2.90 Saran Bartara County,CA    MC-06567                                   Lessee (Grantee)                                                 eadley land Compa~ry                                      PO Box 1932,Sane Maria,G.93456
                                                    2.91 Santa Barbara County,Ul    MC-06559                                   Lessee (Grantee)                                                 Bradley land ComDa~ry                                     PO Box 1932,Santa Maria,6193456
                                                    2.92 Santa Barbara Wurity, CA   ROW Agreement MC6561                       lessee (Grantee)                                                 Badley Land Company                                       PO Box ]932, Santa Maria, CA93a56
                                                    2.93 Santa Barbara County, CA   ROW Agreemen~ MC 657b-i                     Lessee (Grantee)                                                Bradley lan0 Company                                       PO Box 1932,Sang Maria,093656
                                                    2.96 Santa Barbers County, Cp   ROW Agreement MC-06585                      Lessee ~Grzntee)                                                Badley Land Company                                        PO Box 1932, Saran Naria,6193456
                                                    2.95 Santa Barbara County,CA    MC-6586                                    lessee (Grantee)                                                 Bradley Land Company                                       PO Box 3932,Santa Naria, CA 93456
                                                    2.% Sant Barbara County,CA      SMVC-2A & 2B                               lessee (6rzntee)                                                 Bradley land Company                                      PO Bo:1932,Sanp Naria,093456
                                                    2.9J Santa Barbara County,CA    ROW Agreement SMV 57576                    Lessee (Grantee)                                                 Bradley land Company                                      PO Boa 1932,Sane Naria, CA 93456
                                                    2.98 Senn Barharz County,CA     Shell Letter Agreemen[MC-06589             4uee(Gantee)                                                     Bradley laid Comparry                                     PO Box 1932, Santa Naria, CA 93456
                                                    2.99 Santa Barbara County,CA    lease Agreement 3/UD'7                     Tenant                               evergreen                   GLA, LLC                                                  d5 Rxkefeller Plaza, Suite 2410, New Yak NY 10111
                                                   2.100                            Settlement Agreement                       Operator                            12/31/2079 Notice 0011       Ulifomia's Dept. of Conservation, Division Of Oil &Gas    801 K St., M524-03,Sacramento,G 95814
                                                   2.101                            Settlement Agreement                       Dayor                            12 inrtallments                 Hunton Mdrews Kurth LLP                                   600 Travis5treet, Sui0e 420Q Houston,T%77002
                                                   2.102                            Settlement Agreement                       Payor                             3lnstallments                  Brian Carson                                               2990 LJchen Place, Templeton, CA 93465
                                                   2.103                            Settlement Agreement                       Payor                             2 inrtallmenu                  Paufic Petroleum Company                                   P.O. Box 2646, Orcutt CA 93457                       .
Case 9:19-bk-11573-MB   Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28   Desc
                        Main Document    Page 35 of 111




                             EXHIBIT "2"
  Case 9:19-bk-11573-MB                 Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                                         Desc
 Case 9:19-bk-11573-MB                  Main16-4
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                                                Exhibit D          Page 39 of 51
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                                           SAiVTA tvtAR1A RSFP,~II?JG COv1PANY
                                          1 660 SinSon ltodd - Sanitl Maria, CA 93454

                                          Cf~l}DE OIL PURCHASE CONTRACT

         Greko SMV,Inc.
         Aan: Hcrb Mlller
         3201 Airparlc Drivc, Sutte 2Ql
         5ontaMnria.CA 93455

         bA1'E~ Au~:us~ 1, t999                                  CONTRAC3'N0. SOP-042

         W han accepTed by you in ttie tr~anner hereinafter indicated this shall evidence the agrecnie»t between Santa
         Maria Refining Company, liereinnficr °Birycr", and Gceka SMV, inG,, hercinafler "Sa(ler", under tha teems
         oi'tvhich Seller agrees to sall and deliver, and Buyer n~rees to purchase and receive, iiie i~ero[~iaftzr
         described crude o(1 anrUor condensate upon the foDowing iNrms and cnndltions.

         Queer Receives•

                  T~~m:
                  Cff'ect[ve, Qugusi~ 1. 1999 and cantinu[ng monrh•to-month thereaftar subject to canca}latian by
                  thirry.(30) days written n~tica by either party, ro the other.

         li      'i'YP~ OF C17L:
                  Santa Maria Valley Cntdo Oil

         fIl.    (}UANTITY:
                 Al2 qunnrlties.

         1V.      17EL1VERY:
                  r•,O,B. various I~euu~es loca[od in 5ansa Barbara Coanry, CQllfornia. Tlile shal] pass from Selicr to
                  Buyer as crude ai 1 pisses tl~rongh tha lase nutlet flange ofthe Ioese twik manifold e~• designated
                  Leases.

                  PRICE:
                  Tj~e price per bat7e! shall bz posted prices but no less thw twelve dollzr~(~12AQ~.

         V1.      MEt1.SUREMEiVT:
                  note: LACT meter will be used far measurement as welt ns cut and gravity, to be voritied by
                  rcGnrry, Volume co be dcterm4ned by LaCT uniC and vCrified by rc[inery, and will ba reduced by
                  ehe amount of SSc~c W determined to be present.

                  LnCT Tickets and any acltier notices or dacumra~ts shall be mailed to the eddrnsses be}ow,

         vII.     PwYM~,77;
                  Via Cheek, in'US dollars ort nr beIore the 20~'4fihC mnplh fo!{owing delivery.

         T(~is concoct is su~jec[ to Buyer's general provision for trade ai! sale/ptucgaseiexrhangas(as the same may
         bo revised Crom time to cirne), which arc Ueing provided by Huyer to Sn)Icr hor~4vith and which ve
         Incorporated ~iereln by reference,

         f]V W ('I'~tESS WHEREOF, tills cnmrpct has been executed ns of tl~c date fast tivrlttcn above.

         SAhJTA~           ,to~ ~R~fFf ~1 _ ~ G~]MPAi'JY
         EiY:    ~"/ ~~~F~i~/~// ~/r~721.Li      7 / 1fa""                $Y;
                  Br~:rn Stron~berg, General ~vlanag                            He Mlller, GM-5        Production
                  166 5inton Koad                                               3201 Airp4rk Drive cite ZU1
                  Santa ivinrin, CA 93d54                                       Santa ;vlarfa, CA h 45S




                                                                                         ~
                                                                                         '       ~                        -~':          30
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                                                  Exhibit D         Page 40 of 51                                    "~~~



                                            s~.r~TA M~Ri.~a R~r-tN~G co~~A,rtY
                                            1~SU Sillib7l RL73C) *_.S~nta hiru~iu, CA   93454

                                      CTtUDE (III. PURCI-L45E CONTRACT A~i~JDMENT


           Greka SI~S'J, Tne_
           Atin: Herb IvliIler
           3201 Airpark T7rive, Suite 2(1 l
1          SnntnMaria, CA 9355
                                                                             A1vfEI~IDED
           DATE. Octo6er?1,'199                                              C~NTIL4CTN(~. COP-~J02/A1

           U pon fiill exeautian hereafby.tl~e parties, the follo~viug term(5) a~thnt certain Contract No.
           COt'-00~ entered Into as afA~igust 1,•1999 by wed between Santa Tvtnria Re6nitt~ Compa~iy
          (h~reinofter "$uyer"~ and Greka SMV,Inc,(}iertinaf~er "Seller") ire hereby arfiended in their
          antirety as follows:
                  _...                          _. ._.__._ _ .
                         y.     TERM:                                      ~ -    --• --
                                EfreativeAugust 1, 1999'a~~d continuing for five(5)yc~rs tfaereaHer, oxpiring an
                                7uly ~ 1,2004.

           All other terms of Contract No. GOP-002 remain u~chanb~d sad are in full force and effect,

           IN Wl1NESS WT3~R~OF, dais amendment has bean execu~erI as aftlie date firsfi written above,


           SA1~tTA M                REFTtVIt~lG COMPA~+~Y'                  ~GREZCA SMV ' C.

                                                                              y
                         Brent Stromberg, General Ma         r       ~            ~-I~r Miller, GI+~1-u Producrian
                          G6Q Sintatl Koad                                        3?Ol Airpark'L~riv Suite 2fll
                         Santz Maria, CA 93~5~#                                   5~rtta Maria, C'.A   455




           OSMV,pmCnd cn'dt cil)t




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 Case 9:19-bk-11573-MB            Doc 586         Filed 12/04/19          Entered 12/04/19 18:35:28                Desc
Case 9:19-bk-11573-MB             Main
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                                     Exhibit D Page 41 of 51


                                  SAN:A IvIAP~IA REFINING CDNIPANY
                                 1 G50 Sintan Road -Santa Maria, CA 93~-5~1

                        CRUDE C11L PURCHASE CONTRACT AMENDM~tVT
                                A1bZEND~Z} CONTR.~ICT NQ. COP-Q02/A2



     Effective luty 1, 2002, the following terms) of that certain Contract No. COP-002 entered
                                                                                               into as
     of August 1, ]999, as amended,.by and between fhe undersigned are hereUy amended
                                                                                          by deleEing
     the text in their entirety and replacing same with the following text:

              V.    PRIG:
                    The price per Darrel shall be posted prices but na tess than twelve dollars
                   (~l?.00); ~Ycept flzat khe price per barrel for the crude oil produced from the
                    ceases descrii~ed in Exhibit "A" attached hereto and incorporated herein by this
                    reference (individually a "Lease", and collectively tl~e "Leases") shall:be no less
                                                                                                                           ~ ~-•~"
                    than twenty dollars ($?x.00} per barrel notwithstanding the posted prise of crude
                   oil as provided in the Leases at the time the royalty is due, pr•ovide~l, l~ofuever,
                   that(1) Grelca 51YN, Inc. ("Greka"), or an assignee as permitted under the terms                     .-~ _--:-
                   of that certain Consent To Assignment from Bradley Land Company consenting
                   to the assignment by Vintage Petroleum; Inc. to Vintage Petroleum Califomrs,
                                                                                                                          ,..,;;,,
                   Tnc. tcollectively "~inta~;e") and then to Greka, owns god continues to own all                     ~-~~
                   the inkerasts in a Lease and tl~e related easements, rights-ofway, surface
                   agreements, and other agreements, if any, acquired by Greica from Vintage,(2)                        ~.
                   the Santa Maria Asphalt.Ref
                                             .. _ ine
                                                  --- -rY.._continues to be....
                                                                            owned       n erased
                                                                                ----. _,~p _     and c~nt~•olled    ..._::_~____.:.
                   without interruption by an affiliate of Greka, and (3) the rafie of $20.Q0 per bFuxel
                   does not benorne lmown to any third }arty other than Grelca, Vintage, Bradley
                   Land Company or any of their respecrive affiliates, direetoxs, officers,
                   employees, agents, consultants, legal counse3 and financial advisflrs.

                   The parties expressly agree that the amended PRICE terms of Con#ract Na. COP-
                   002 are strictly confidential and that no dise]osure to Grelca's detriment is~
                   permitted. If the amended PRIG terms of Contract Na. CQP-002 become void,
                   they shall be stricken from Contract I'+To. COP-002 without effect on the
                   remaining Provisions,thereof.

    All outer terms and conditions of Contact No. COR002,as amended,shall remain unc]ianged
    and in fizl] force and effect.

    IN WITNESS WHEItEQF, tilts amendment ilas been executed as of the date first wriften above.




    ~tJYER:                                                                                   ;~
                                                                                                ,,
    SANTA N1AI:IA R.~T'INING COMPANY                             sMv,r~rc.
            ~~         y/ _r
                          /,~                                   ~/                       ~~~ C~
                                                                                    r~..-J
           Brent 5h•oTnber~;    !J                              :andee      . Grewal
           VP-Downstream Opera#ions                             ;~          CEO Fi Presi nt




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     Case 9:19-bk-11573-MB           Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28 Desc
    Case 9:19-bk-11573-MB            Main
                                    Doc   Document
                                        16-4           Page 39Entered
                                              Filed ~7/3U/19   of 111 07/30/19 19:35:48 Desc
                                           Exhibit D . Page 42 of 51


                                                  ~xxzBlT ~~A"
                   LIST ~F.LEASL'-S AND AGREENI~NTS SUBJECT TlQ Contract No. COP-002/A?

                          SAN'T'A A~IAP.iA 1tEFINING COMPANY AND GR.EI~ S]wIV, INC.



                                                                   URSGINAi, . ..
         LIST OI+ LEASES AND AGREEMENTS                            ~,ESSEE                     ACREAGE
         C.~-~lDOU1: OII.., GAS ~S:1l~IINERALLEASE             ~   SHELL                 1S0
         DTD 7/1!70, RECD- HI;.?317 PG 975

         Cry-=10109: OIL, GAS ~~: MINERAL:LEASE                    SHELL                12D
         D'TD 2/17/72, RECD= BIB 2390 PG 581.

         CA-~Of114: OIL AND GAS LEASE                              UMON                 7?0               ~   -
         DTD 10/3/56,RECD- BIB 1411 PG 162                            '..
f                                                                                                                 ....
         Cpl-X0075: OIL ANDGA5LASE                                 BASENBERG                      410
         DTD 4!4/56,RECD- I3K 1375 PG 210. .       _

         C,=1-=X0016: OIL AND GAS LEASE                            BASENBERG                        10
         ~7TD 6112(57, ItEC'T7-BIB. 1469 PG 484

i        C~-4t1I59: OIL AN7)GAS LEASE                              STANDARD                         I60
         DTD_]!16/69,REC'D~HI~ 22b6 PG 307             _ ...           _.._..~.._._......~_.._._...

         CA-=~OI6I: OTL ANll GAS LEASE                             STANDAT~D                      a'20
         DTD IZ/1165, RECD- BIC 2204 PG 922

        Ct1-702 6: 01I. AND GAS LEASE                              CHEVRON                         60
        DTD 5/3/79, Ct~CD- DOC t~ 8Q-13408

        2~1~(173: OL, GAS, Sc MIN~Rt1L LEASE                       TEJ~ACO                        570
        DTD 3/1r76, P.~C'D- BIC 219? PG 12

        VO-RFY-1.~: C~NTRAI..IZED FACILITIES AGRMT                 VINTAGE
        DTD 11/10/92, UN12~C'D

        PLUS ANY AND ALL O'L'HER ASSOCIATED RIGHTS OF WAY.EASEMENTS AND
        AGR.~EMFNTS. R~CQRDED OR UN~CECOT~D~D




                                                                                                                     33
 Case 9:19-bk-11573-MB             Doc 586       Filed 12/04/19         Entered 12/04/19 18:35:28                   Desc
Case 9:19-bk-11573-Mf3            Main
                                 Uoc   Document
                                     16-4            Page 40Entered
                                            Filed 07/30/19   of 111 07/30/19 19:35:48                               Desc
                                     Exhibit D Page 43 of 51

                                  SANTA MARIA REFINWG COMPANI'
                                 1660 Sinton Road -Santa Maria, CA 93~~~

                         CRUDE OIL t'URCHASE CQNTRACT AMENDMENT                                                       .. - ....:.-
                             AIYIENDED C~NT~2~.CT NO. CAP-002lA3



     Effective. January 1, 2UO3, the following terms) of that eertazn Cantraci No. COP-Q02~ entered'..
     into as of August l; 1999, as amenderL by wd bet~~een the undersigned are het~eliy ~unended
                                                                                                 by_
     deleting the text in their entirety and replacing same wity tl~e following te.Yt: ~,              ~            , _.
             I.       T~~M•                                                                           .. ._     .'..
                      EfEective.August 1, 1999 and continuing for ~tve (~} years tliereai~er, exceptfi•a»t
                     .Tai~unry 1, 20~~ tl~roti,gl~ I~ebnra~l~ 28, ZQ03, etprring on 7uly 31,200.                ~                    ..


     A.11 othez terms and e~nditions of Contract I*to. COP-002, as amended, shall remain unchanged
     and iu fiill farce and efFect.                                        ..             _:~~; ; ...
                                                                                                   ..     ,.
                                                                                                          _ .       ...
     IN WITNESS W~IEREOF,tins amendment has Ueen e;cecuted as ofthe date first wri~terr above..



     BUYER

     SAI~ITA MA1tIA REFrN1NG C~Ml'.AT


    BY;    ~~~r~,.~G~       iLf~J1
            Brent Stramberg
            VP-Operations




                                                                                                                                          34
      Case 9:19-bk-11573-MB           Doc 586       Filed 12/04/19        Entered 12/04/19 18:35:28           Desc
     Case 9:19-bk-11573-MB            Main
                                     Doc   Document
                                         16-4            Page 41Entered
                                                Filed 07/30/19   of 111 07/30/19 19:35:48                     Desc
                                         Exhibit D Page 44 of 51


                                     sArrT~ N~a I~rmiIlVG co.NrnarrY
                                     16b6 Si~iton Road -Santa 1~~Iaria, CA 9345
i•
                             GRUDE {AIL PURCHASE CONTRACT AMENDMENT
                                r-U'VI~~EA CONTRACT Nt7. COl'-~~2/A~#



          Effective Jan~iary 1, 2004, the fallowing terms) of that certain Contract No. COP-D02 entered
          into as of flugust I, 1999, as amended; by ~i~d between the «nc]ersigned are hereby amended Uy
          adding pile following text:

                 4̀IlI.   ;+DES•
                          In addition to the price per barrel, a $0.50 per barrel marketing and handing fee
                          and a $1.00 per U~rrel transportation charge.


          All other terms and condii7ons of Contract No, COP-002, as an7ended, shaI] remain unchanged
          and in full force and effect.

          IN WITNESS WFIEREOF, this amendment has been eseGuted as of the date first written aUove.



          DUYER;                                          SELLER:

         SAr1TA N1AP.IA 1ZCI'1N1NG COMPANY                              & GAS,II~tC.
                 f
                 ~


                 Brent Stromberg        ~                         Susan M.1~halen
                 VF Downstream Operations                         VP Asset lulanagement




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Case 9:19-bk-11573-MB            Doc 586       Filed 12/04/19        Entered 12/04/19 18:35:28            Desc
Case 9:19-bk-11573-MB            Main
                                Doc   Document
                                    16-4            Page 42Entered
                                           Filed 07/30/19   of 111 07/30/19 19:35:48                      Desc
                                    Exhibit D Page 45.of 51


                                 St1NTA MARIA R~rINIItIG COMPANY
                                1 ~i60 Sinton Road -Santa Maria, CA 93~45~

                        CRUDE OIL PURCH/aSE CONTRACT AM~NQMEN~f'
                            AIVLCND~D CONTRACT NO. COP-00?/A5



     Effective July 31, 20Q4, the folla~ving tern~(s) of that certain Canh~act No. COP-OQ2 entered into
     as of August 1, 1999, as amended, by and between the undersigned are hereby amended by
     deleting the text in their entirety and replacing same with the following tetii::

            z.       ~r~cxn~:
            ^        Effective- July 31, 2404 and continvin~ montlY-to-montI~ thereafter subject to
                     cancellation by tl~iriy(30)days written notice by either party to the other,


     AlI otUer terms and conditions of Contracfi No. COP-002, as amended, shall remain unchanged
     and in full force and effect.

     IN W.ITiV~SS WHEREOF,this amendment Ilas been executed as ofthe,~`ate first written above.




     BUYER:

     SANTA            REPINING COMP


     RY:
                                                                                               ~1 ~~~
            Susan M. Whalen                                           Ran      . Grewal
            VP Asset Management and General Cou~asel                  Chairman, CEO & President
 Case 9:19-bk-11573-MB                Doc 586         Filed 12/04/19             Entered 12/04/19 18:35:28           Desc
Case 9:19-bk-11573-MB                 Main
                                     Doc        Filed 07/30/1
                                           Document
                                         16-4                     of 111 07/30/19 19:35:48
                                                         Page9 43Entered                                             Desc
                                         Exhibit D Pale 4F of 51


                                      SANTA Ni~lfti/1 RfiFINING COMPIANY
                                     166D Sinton RoaB -Santa ~fnria, CA 93454

                            CRl1AE OLL_PUgCHA6E CQNTRAC'( AMEIVOMENT
                                AMETYn~D CONTRACT 1Vo, COF-o[12/Ab



        Sf~'ec6ve January I. 20U7, tIu fallowing terrn(e) of that cartain Contrnat
                                                                                   Nn. COP-002 en4crcd
        into ~s of Au~tat 1, 1999, us nmendcd, by and bctwoen the undersi~~cd are
                                                                                     herctry amc~d~d as
        follows:

                  V,    PILXC~1
                        Ail references to pouted priors shall be the everngc of Chevron Texaco, Shelt
                        Trading, Union76, and ~zxan Mohil posting for Midway 5tniscl m aFfect forihc
                        month of delivery, adjusted for ao~unl grnviiy .delivar~d Icsa ~5,D0 per
                                                                                                 barrel
                        market c{iffarentlal,.


        Alt oth'cr tarns and.cand36ons of Contract Into. COP-Q02, ax amended, akttsll rcmaia unchanged
        and in fuq force and effect.

        1'N'1~Vi'i7dE55 WfIE}LEOT,this umcs~drtlCnl hoe been executed us a~'~fhc data
                                                                                      firakwrittcn above,



              u
              '

        SAh17'A          AEFWINt"i COMPANY


        BY:

               YP Assn Managem+e~tt and Qcncrnl                         CBnirman, Cfi0 ~ Prosidcnt




                              .. .
                                                                                              ..            ~.. ,.




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 Case 9:19-bk-11573-MB Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                                     Desc
                       Main
Case 9:19-bk-11573-MB Doc   Document
                          16-4            Page 44Entered
                                 Filed 07/30/19    of 111 07/30/19 19:35:48                                 Desc
                          Exhibit D   Page  47 of 51


                                  SANTA MAR1~1 REFINING CaMPANY
                                 1 G60 5inton Road -Santa iblaria, CA 9345

                         CRUDE OfL PURCHASE CONTRACT AMENDMENT
                            AM~ND~D CONTRACT NO. Ci~P-002/A7



     Effective NovemUer I, 2flfl7, the following tenn(s) of that certain C~nfiract No. COF-002 entered
     intro as of August 1, 1999, as amended, by and k~et~veen the undersigned are hereby amended as
     fo 11 o~vs:

             V.       PR.TC~:
                      It being contemplated during the term of this Cqn tact that        OiI G ,lnc.
                      wil( sell its crude oiI to buyers ntl~er than        to Mari    e t ~i     ompany
                     ("Buyer"), at any and all times fil s ~ rude oil ~ y na m          le specifications
                      of said Uuyers, Buyer si all rc , a e       ~ cru e        price of NYh~iEX less
                      ~30.p(} pec barrel, n,~ a e~•ce~ _ .~ .0(1 p b    I.


     All other terms ;                             o. CAP-UO2, as amended, s1~a11 remain unchanged
     and'~ J ~I~orce

    IN .~~ TNES,~S V             flits amendment has been executed as ofthe date first written above.



     BUYER:

     SANTA M RIA ItEF]N1NG COMPANY


    BY:                       ~~r,,,
             Su an M. Whalen
             Sr. VP and General Counsel
 Case 9:19-bk-11573-MB          Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                        Desc
Case 9:19-bk-11573-MB           Main
                               Doc   Document
                                   16-4           Page 45Entered
                                         Filed 07/30/19   of 111 07/30/19 19:35:48                      Desc
                                      Exhibit D      Page 48 of 51

                                SANTA MARIA REFINING COIviPANY
                               I 660 Siirton Road -Santa Maria, CA 93454

                       CRUDE OIL PURCHASE CONTRACT AMENDMEfVT
                          AlYL~NDEb CONTRACT NO. COP-002(A.8



    Effective Tune 1, '?~1 U, the following term{s) of that certain Contract No. COP-OQ? entered in#o
    ~s of August ], 1999, as amended, by and Uetween the undersigned are hereby amended as
    follows:

                    ~.'~RM:
                    Effective June 7, 201D and continuing for ten (1Q) years tltere~fter, expiring on
                    May 31, 2 20, and continuing month-to-month thereafter subject to cancellation
                    by thirty (3Q)days written notice by either porky to tl~e other.


    All other farms and conditions of Contract No. COP-Q02, as ~mendad, s1~a11 remain unchanged
    and in full farce and effect.

    IN WI'T'NESS WHE1tEOF,this amendment has been executed as oft~~a date firsfi written above.



    :
    I     '                                                 SELI..~R:

    SANTA       R1A REF'TNING COMPANY                       GREI~A ~TL &GAS,INC.
                                                                                             /~
    BY:
           S_ son M. Whalen                                         Andrew DeVagvar
           SVP and General Counsel                                  President




                                                                                                               39
 Case 9:19-bk-11573-MB           Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28 Desc
Case 9:19-bk-11573-MB            Main
                                Doc   Document
                                    16-4  Filed 07/30/19   of 111 07/30/19 19:35:48 Desc
                                                   Page 46Entered
                                       Exhibit D       Page 49 of 51


                                SANTA MARIA REPINING C~MI'ANY
                               I G60 Sinton Raad -Santa Maria, CA 93454

                      CRUDE OIL PURCHASE CONTRACT AMEi~IDMENT
                          ANI~1'~DED CONTRACT NO. COP-002/A9



    Effective March 1, 2~1 I, the following terms) ofthat certain Contract No. COP-OD2 entered into
    as of August 1, 19 9, As amended, by and between the uiicle►•signed are Hereby amended ns
    fallows;



            N.      DLrLIVEItY:
                    F.O.B. Santa Maria Refinery located at 1 G60 Sinton Road, Santa Maria, CA.
                    Title shall pass from Sellar to Buyer as crude oil passes through tf~e Grade oil
                    vnlaading area at tl~e refn~ry.

            V.      PRIG:
                    The price per t~arrel shall be Uased on WTt less X14.00 per barrel, adjusted far
                    actual gravity delivered,


                    There shall be nn fees payable in au~liiion to tha price per barrel.



     All oti~er terms and conditions of CantractNo. Ct7P-Q02, as amended, shall remain unchanged
     and in full force and efPeat.

    IN WITNESS WH~REOP, this amendment has been executed as of the date first written above.



     BUYER:                                                    SELLER:

     SANTA MARIA DEFINING C              PANY                  GREI~A OIL &GAS, ll~tC.
            ~~


     BY:        .-.--~f~l.-                                    By~
             ~usan M. WI~alen                                           Andrew DeVegvar
             SVP and General Counsel                                    President




                                                                                                       ~~
 Case 9:19-bk-11573-MB          Doc 586       Filed 12/04/19        Entered 12/04/19 18:35:28          Desc
Lase 9:19-bk-11573-MB           Main
                               Doc   Document
                                   16-4            Page 47Entered
                                          Filed 07/30/19   of 111 07/30/19 19:35:48                    Desc
                                   Exhibit D Page 50 of 51


                              SANTA MARIA REFINING COMPANY
                             1660 Sinton Road -Santa Maria,CA 93454

                     CRUDE OIL PURCHASE Ct3NTRACT AMENDMENT
                        AIY~ND~D CONTRACT NO. COP-OOH/A1.0



    Effective January~,24I2, the following terms)ofthat certain Contract No. COP-002 entered
    into as of August 1, 1999, as amended, by and between the undersigned are hereby amended as
    Follows:

           V.      PRIG;
                   Tl;e price per barrel shall be based on W'7'I Tess $8.00 par barrel, adjusted for
                   actual gravity delivered.


    Al l other terms and conditions of Contract No,COP-002, as amended,shall remain unchanged
    and in fuSl force and ef~eet.

    IN WITNESS WHEREOF,this amendment lies been executed as ofthe date fret written above.



    BUYER:                                                  SELLER:

    SANTA MARIA REFINING COMP                               HVI CAT ANYON,INC.


    BY:                                                     T3Y:
            S son M. Whalen                                         Andrew DeVegvar
            SVP and General Counsel                                 President




                                                                                                              41
 Case 9:19-bk-11573-MB           Doc 586       Filed 12/04/19       Entered 12/04/19 18:35:28          Desc
Case 9:19-bk-11573-MB            Main
                                Doc   Document
                                    16-4                    of 111 07/30/19 19:35:48
                                                    Page 48Entered
                                           Filed 07/30/19                                              Desc
                                    Exhibit D Page 51 of 51


                                SANTA MARIA REFINING COMPANY
                               ]660 5inton Rnad -Santa Maria, CA 9345

                      CRUDE QI1~ PURCHASE CONTRACT A!lII~NDMENT
                         AN.I~ND~D CONTI2A.CT NO. CQP-002/A11



    Effective 7uly 1, 2012, the following terms)of that certain Contract No. COP-002 entered into as
    of August 1, 1999, as amended, by and between the undersigned are lierehy amended as follows:

            V.     PACE:
            M      Tlie price per barrel s1~a11 be based on Grelca's posting for Santa Maria Valley
                   crude, adjusted far actual gravity delivered.


    Atl other terms and conditions of Contract No. GOP-002, as amended, shal3 remain unci~anged
    and in full farce and effect.

    IN WITNESS WHEREOF,this amendment has Veen executed as ofthe date $rst written above.



    BUYER:                                                  SELLER:

    SANTA          A REFINING COMP                          I-IVI CAT CANYON,INC.
     z



                      ^--~..
    B                                                       BY:
            Susan M. Whalen                                         Andrew DeVegvar
            SVP and General Counsel                                 President




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                                                                                                              42
Case 9:19-bk-11573-MB   Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28   Desc
                        Main Document    Page 49 of 111




                              EXHIBIT "3"

                                                                                  43
 Case 9:19-bk-11573-MB            Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                           Desc
Case 9:19-bk-11573-MB             Main
                                 Doc   Document
                                     16-4           Page 50Entered
                                           Filed 07/30/19   of 111 07/30/19 19:35:48                         Desc
                                        Exhibit D       Page 27 of 51

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                                 SANTA MARIA REFII~IING COM~'ANY
                                1660 Sinton Road -Santa Maria, CA 9354

                                 CRUDE OIL PUF~GHASE C~NTR/kCT
                                     CONTRACT NO. COP-003



    Upon full execution ]~ereof by the parties; this contract ("Contract") shall evidence the agreement
    bet~vicen Santa Maria Refining Company, hereinafter °Buyer", and Grelca SMV,Inc. as operator
    of the interests or~~med by Grelca AM, Inc. {"Greka") and Sabacol, Inc. {"Sabacol"), hereinafter
    collectively "Seller", under the teams of wl~icla Seller agrees to sell end deliver, and Buyer agrees
    to purchase and receive, tl~e llereina~fter described crude oil andlor condensate upon tlae fallowing
    terms cuzd conditions.

    Buyer Receives:

    I.      T7ERIVI:
            Effective August 1, 2~Q0, and continuing fQr five (5} years tl~er~after.
            I'urtl~er, Buyzr has the option to renew this Contract for an additional five {5) year terns
            by providing notice ofsame to Seller prior to expizafion,

    II      'AY~I'E OF AIL:
             Belridge Heavy Crude Oil

    III.     QUANTITX:
             All quantities from production of Leases (Belridge, Gibson and NIcPllaii).

    N.       DELIVERY:
             F.O.B, various Leases(Belrid~e, Gibson and McFhaiI)looated in Kern County,
             California. Title shall pass from Seller to Buyer as crude ail passes through the last outlet
             Mange ofthe Lease #auk manifold ~t designated Leases.

    V.       ~'~CE:
             The price per barrel shall be the average of Chevron,lVlobil, Union and Equiva posted
             prices £or Belridgc Heavy Crude Oil, adjusted for actual gravity delivered.

    VI.      l'I~ASLIit~NI~NT: /✓~ 7~IJ~ ~/1td.~, 7~ 8~ lrf7?/r/k27 ray r2~c~d/~~ 5~,                  f-~~
              Note: ACT eter 'll be e forma rem t s well s c tan gr                        a~~ °  '
                                                                                                  C ~y    -
              ver" ed by efine .Vol e a be~        C   in b,~LAC           an v fie y~f nej~',
              an will red ed b tea ountl~i~~~ de~e                  d~ re~ U                    t
              ~flu~ ~   5         Y                          ~?
             -~:h~T Tickets and any other notices or documents shall lie mailed to tUe addresses
              below.

     VII.    ~°AYMENT:
             Via Check,in IJS dollars on or before the 2D`'' ofthe month following deliveiy.

     VIII. SYJCCE550RS AND ASSIGNS:
           Nothing in this Contract shall limit Grelca's or 5~bacai's right to sell, exchange, or
           otherwise dispose of any interest in a Lease subject to this Contract or any interest in
           production therefrom. Seller will notify Buyer promptly following any sale, excl~flnge or
           other disposition of interests in any of t1~e Leases subject to this Contract. With respect to
           any interests that are sold, exc3~anged or otherwise disposed of, this Contract shill Ue




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 Case 9:19-bk-11573-MB            Doc 586        Filed 12/04/19        Entered 12/04/19 18:35:28           Desc
Case 9:19-bk-11573-MB             Main
                                 Doc   Document
                                     16-4            Page 51Entered
                                            Filed 07/30/19   of 111 07/30/19 19:35:48                      Desc
                                     Exhibit D Page 28 of 51


            binding on Duyer and the successors in interest to Grelca and Sabacol of such interests in
            tl~e Leases without the prior ~~rritten consent of Buyer.

    IX.     ~NTIItE AGR~JGIYI~NT:
            This Contract constitutes the entire agreement and supersedes all prior agreements and
            understandings, bath ~~ritten and oral, beriveen the parties hereto with respecfi to tl~e
            subject matter hereof, and no party shall be liablE or bound to the other in any manner by
            any representations or warranties not set forth herein.

    ~+.     COUNTERPARTS:
            This Contract may be e~:ecuted in one or more counterparts by person or by facsimile,
            each of which s1~a11 for al] purposes be deemed to be an original and all of wluch shall
             constitute the same instrument.

    XI.     ~~ODII+ICA'I`ION .E1,ND WAIVER:
             Any of tl~e terms or conditions of this Contact may be waived in writing at any time by
            the parry which is entitled to the benefits thereof, and this Contract may be modified or
            amended by a written instrument executed by all ofthe parties hereto. No supplement,
            modification or amendment oft}us Contract shall be binding unless executed in writing
            by all of tl~e parties hereto. No waiver of any ofthe provisions ofthis Contract shall be
            deemed or shall constitute a waiver ofany other provision 1lereof{whether ar not similar)
            nor shall such waiver constitute a continuing waiver.

    XY.     +GOV~I2NING Z,AW CUIVS~N`.~ Tt)~UItISDIGTION:
            i7~is Contract sha11 be conshved in accordance tivith the laws ofthe State of California.
             The porkies hereko expressly consent and agree that any dispufie, controversy, legal action
             ar other proceeding that arises under, results from, concerns or relates to this Contract
             shall be brnugllt in fhe federal ar state courts in and ofthe Sta#e of California in $ie
             Central District of California or the C~aunty of Santa Barbara, respectively. The porkies
             hereto hereby aclrnowledge that said courts have exclusive jurisdiction over any such
             dispute or controversy, and that they hereby waive any objection to personal jurisdiction
             ar venue in these courts or that such courts are an inconvenientforum.

     XII.    TIME:
             Tune is ofthe essence with respect to this Contrack,

     XIII. It~FOItMATION Alvi~i SE'YERA.BILITY:
           In case any provision ofthis Contract shall be invalid, illegal or unenforceable,it sha11,to
           the extent poss~`ble, Iae modified in such manner as to be valid, legal and enforceable but
             so as to most nearly retain the intent ofthe parties, and if such modification is not
             possiUle, such provision shall be severed from fllis Contract, and in either case the
             validity, legality and enforceability ofthe remaining provisions ofthis Contrttct shall not
             in any way be affected ar impaired thereby.


     This contract is subject tp Buyer's general provision for crude ail sale/purchase/exchanges (as the
     same may be revised from time to time),which are being provided byBuyer to Se]Ier herewith
     end which ire ?nco~-poratec~ herein by reference.

    [THL REMA!l~DER OF TICS PAGE IS INTENTIONALLY LEFT BLANK]




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 Case 9:19-bk-11573-MB           Doc 586       Filed 12/04/19        Entered 12/04/19 18:35:28      Desc
Case 9:19-bk-11573-MB            Main
                                Doc   Document
                                    16-4            Page 52Entered
                                           Filed 07/30/19   of 111 07/30/19 19:35:48                Desc
                                    Exhibit D Page 29 of 51




    IN W1TN~SS WII~P.~OT', this Contract has Ueen executed as of th date first tivritten a~i   e.




    SANTA IvIAItIA REPINING COMPANY                                ~NC.



    BY: ~/~                jf                       BY:
        Brent Stromberg, General Imager                            5.
                                                                   wal,         Ali., C~,~ &Pre
        16C0 5inton Road                                            " lc Dr., Suite 201
        Sa~~ta Maria, CA 9354                                      'a, CA 934

                                                                   [ETC.
                                                                                  n     ~



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                                                    I~ !
                                                       t              ~
                                                                         _~ v
                                                          3    A' ar~"Dr., Suite 201
                                                          Santa Maria, CA 9355




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 Case 9:19-bk-11573-MB          Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28 Desc
Case 9:19-bk-11573-MB           Main
                               Doc   Document
                                   16-4           Page 53Entered
                                         Filed 07/30/19   of 111 07/30/19 19:35:48 Desc
                                      Exhibit D      Page 30 of 51


                                SANTA MARIA T' ~1WING COMPANY
                               1660 Sinton Road -Santa Maria, CA 9345A~

                       CRUDE OIL PURCHASE CONTFZACT AMENDMENT
                          AMENDED CONTRACT NO. COP-003/AX



    ~ffeciive February 1, 20 2, the following term{s) of that certain Contract No. COP-003 entered
    into as of August 1, 2000 by and between the undersigned are hereby amended in their entirety as
    follotivs:

            V.      PR.TC~:
                    The price per t~arrel shall be tl~e average of Chevron, Mobil, Union and Equiva
                    pasted prices fnr Belridge Heavy Crude Oil, adjusted for actual gravity delivered;
                    provided, however, that, notwithstanding the foregoing, in no event shall the
                    price per bane] be less than fifteen dollars 015.00).



    All other tends acid conditions of Contact No. COP-OQ3 shall remain unchanged and in full farce
    and effect.

    IN WITNESS VJI~REOT,this amendment has been executed as ofthe date first written at~ove.




   .~~
   ~   ~+~                                          ~PERA.T~R:

    SANTA MARIA RErINII~tG CUMPANY



           $rent Stromberg
           VT'-Downstream Operations                        Secretary


                                                    C7WNER:

                                                    GREI{A ~,INt




                                                            Secretary




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 Case 9:19-bk-11573-MB           Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                       Desc
Case 9:19-bk-11573-MB            Main
                                Doc   Document
                                    16-4           Page 54Entered
                                          Filed 07/30/19   of 111 07/30/19 19:35:48                     Desc
                                      Exhibit D      Page 31 of 51


                               SANTA M11RIA REFINII~lG COiVfPANY
                              1660 Sinton Road -Santa ivl~ui~, CA 93454

                      GRUD~ C71L Pl~RChdASE CONTl~ACT AM~N~MENT
                         .AMENDED CONTkt.A.CT NO. COP-003/AZ



    Effective January 1, 2Q0~}, the following term{s) of that certain Contract No. COP-003 entered
    into as of August 1, 2QQa, as amended, by and between tine undersigned are hereby amended by
    adding the following texf:

           xiv. r+~c~s•
                   In addition to fhe price per barrel, a $0.50 per barrel marketing and handling fee
                   and a ~~.00 per barrel transportarion charge.


    All other terms anc~ conditions of Contract No. COP-003, as amended, shall remain unall¢ngecl
    and in fuI] force end effect.

    l~i~t WITNESS WI~EREt~F,tivs amendment has been executed as ~f the date first written above.




    BUYER:                                          SELLER:

    SAIa"1'A lY1.ACtIA REFINING CUMPI~.NY           GTt~ICA t~~ &GAS,INC.




            Brent Stromberg                                   s n M. Whalen
            VP Dot~~nstream Operations                      VP Asset Management




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 Case 9:19-bk-11573-MB          Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                        Desc
Case 9:19-bk-11573-MB           Main
                               Doc   Document
                                   16-4           Page 55Entered
                                         Filed 07/30/19   of 111 07/3(7/19 19:35:48                     Desc
                                     Exhibit D      Page 32 of 51


                               SANTA MARIA R~I'1N1NG COMPANY
                              1660'Sin#~n Road -Santa Maria, CA 93 54

                      CRUDE OtL AURCHASE CON7I~ACT AMEHDIN~IVT
                          AN1~ND~D CONTRACT ND. COP-003/A3



    Effective August 1, 20D5, the fo1lo~~ving tern~(s} of that certain Contract Na. COP-0~3 entered
    into as of August Y, 2000, as amended, by and betvreen tha undersigned are hereby amended by
    deleting the text in their entirety and replacing same with the fallowing text:

           ~.      TJG~:
                   Effective August 1, 2005 and continuing month-to-month thereafter subject to
                   cancellation ~y thirty (30} days written notice by either party to tl~e other,


    A[t other tarrns and conditions of Contract No. CCJP-Q03, us amended,shall remain unchanged
    and in full 'force and effect.

    IN WITI~I~SS WI3EItEOF,this amendment leas been executed as ofthe date first written a6ave.



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    SANTA       RIA REFINING COMPANY


    BY:               ~~~'                                                                            ~..
           S son M. Whalen
           VP Asset Management and General Counsel                 Ci~airman, CEO & President




                                                                                                               ~•
Case 9:19-bk-11573-MB           Doc 586        Filed 12/04/19       Entered 12/04/19 18:35:28       Desc
Case 9:19-bk-11573-MB           Main
                               Doc   Document
                                   16-4            Page 56Entered
                                          Filed 07/30/19   of 111 07/30/19 19:3 :48                 Desc
                                   Exhibit D Page 33 of 51


                               SANTA IvIARlt1 R]FIMNG COMPANY
                              1660 Sintan Raad -Santa Maria, CA 93~5~

                      CRUDE 011. PURCHASE CONTRACT AMENDMENT
                         AN.~NDED CONTRACT NO. COP-OD3/A4



    Effective January 1, 20 7, the following terms) of that certain Contract No. COP-003 entered
    rota as of August 1, 2000, as amended, by acid behveen the undersigned are I}ereby amended as
    follows:

            V.     PRICE:
                   Ali references to posted prices shall 6a the average of Chevron Texaco, Shell
                   Trading, Union76, and E~tx~n Mobil posting for Midway Sunset in effect for the
                   month of delivery, adjusted far actual gravity delivered.


    All other terms and conditions of Contract No. COP-003, as amended, shat l remain unchanged
    and in full force and effect.

    IN WITNESS WI-~R~OF,this amendment has been executed as oftlte date first written above.



     i .- .
                                                               LL

    SANTA        RIA R.EFINIittG COMP      Y               G               GAS l'NC.


    BY:                        ~~-'`                      B
            usan M. Whalen                                           a       . Grewal
           VP Asset Management and General Counsel                  ~ha~rma~i, CEO &President




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        Case 9:19-bk-11573-MB             Doc 586       Filed 12/04/19          Entered 12/04/19 18:35:28       Desc
    Case 9:19-bk-11573-MB DocMain Document
                               16-4             Page 57Entered
                                       Filed 07/30/19   of 111 07/30/19 19:35:48                                Desc
                        ~--=    Exhibit D Page 34 of 51 `•




                                          5ANTA MARIA REFM[NG COMPANY
                                         1b60 Sinton Road -Santa Maria,CA 93454

                                 CRUDE C11L PURCHASE CONTRACT AMENC?MENT
                                    AM~ND~D CONTRACT NO. COP-0Q3/A5



               Effective October 1, 2007 the following terms) of that certain Contract No. COP-Ofl3 entered
               into ~.s of August 1, 2000, as ntnended, by and between the undersigned were umendod, and are
               hereby ratified ns amended, t~s follows:

                      V.      PRIG:
                              Atl references to posted prices shall b~ the averaga of Chevron Texaco, Shell
                              Trading, Union75, and fixxon Mobil pasting fvr Suena Vista in effect for the
                              month of delivery, adjusted for nctunl gravity delivered; Less $.075 per barrel
                              transpa~tion differential.

                      3~[V. FGLrS~
                            Less $0.50 per barrel marketing and Dandling fee.



               AU nti~erterms and conditions of Contract No, COP-OQ3, as amended,shalt remain unchanged
               and in full farce and effect.

              [N WITI~SS W~-1~R.~OP;this amendment has been ex~auted as ofthe date firstwrittan above.



               BUYL~R:

               ~ANT~1 .t1~;`tt1 I~C3N1NG C~?tvfl' `N'Y

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Case 9:19-bk-11573-MB   Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28   Desc
                        Main Document    Page 58 of 111




                             EXHIBIT "4"

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 Case 9:19-bk-11573-MB              Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28 Desc
Case 9:19-bk-11573-MB               Main
                                   Doc   Document
                                       16-4            Page 59Entered
                                             Filed 07/30/19    of 111 07/30/19 19:35:48 Desc
                                          Exhibit D        Page 35 of 51


                                    SANTA MARIA REFINING COMPANY
                                   1660 Sintan Road -Santa Maria, Ctl 9354

                                   CRUDE OIL PURCHASE CONTRACT
                                       CONTRACT NO. COP-OOd


 [Jpnn full execution hereof by the parties, this contract("Contract") shall evidence tl~e agreement between
  Santa Maria Refining Company, hereinafter "Buyer", and Grelca ail &Gas, Inc,, Hereinafter "Seller",
  under tt~e terms of wl~icti Seller agrees to sell and deliver, attd Buyer agrees to purchase and reoeive, tl~e
  hereinafter described crude oil and/ar condensate upon the following terms and condifiians.

  I.       T~ItM:
           Effective Tune 1, 2009 and continuing month-to-month hereafter subject to canoellatian by thirty
          (3Q) days written notice by either party to the other.

  II      TYPE ()~' UIL:
          Richfield crude oi!

  III.    QUAN'T'ITY:
          Atl quantities of production from the teases within the Richfield East Dome i7nit

  N.      D~LIV~RX:
          Into third party pipeline facilities at tl~e lease. Title shall pass from Seller to Buyer as crude oil
          gasses through the Last outlet flange on tine teases into the third party pipeline,

  V.      PRIG:
          Tl~e price per Darrel s11aI1 be tits average of ChevronTexaco, Union76,& ExxonMobil postings
          for Buena Vista HiIIs, adjusted for actual gravity delivered.

  VZ.     11~ASITIt~M~NT:
          All measurement equipment, procedures, calculations and practices shall conform to the most
          current API Manual ofPetroleum Measurement Standards(MPMS)and the latest revision ofthe
          ASTM Standards.

           5efler will not be required to invoice Buyer. Instead, Buyer will use third party rug tickets to
           determine remittance a►nount.

  VII.     PA3~'Nf~NT:
           Via wire transfer or check, in US dollars on or 6efare the 20'x' of the month fallowing delivery,
           unless o~henvise accounted for bettaeen the parties.

  VIII.   SUCCI~S~ORS AND ASSIGNS:
          Nothing in this Contract shalt limit Seller's right to sell, exchange, or otherwise disPrnse of any
          i«terest in a Lease subject to this Contract or any interest in production tlyerefrom, Seller will
          notify Buyer pratnpEiy following any sate, exci~a~~ge or other disposition of interests in any of tl~e
          Leases subject to this Contract. With respect to any interests that are sold, excliangad or otherwise
          disposed ~f, this Contract stall be iainding on Buyer and the successors in interest fo Seller of
          such interests in the Leases without the prior written consent of Buyer.

  IX.      ~N'~IR~ AG~~M~NT:
           This Contract constitutes the entire agreement and supersedes all prior agreements and
           understandings, bath written and oral, between the parties hereto wit1~ respect to tl~e subject
           matter hereof, and no party shall ba liable or bound to the other in any manner by any
           representations or warranties not set forth herein.

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 Case 9:19-bk-11573-MB              Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28 Desc
Case 9:19-bk-11573-MB               Main
                                   Doc   Document
                                       16-4           Page 60Entered
                                             Filed 07/30/19   of 111 07/30/19 19:35:48 Desc
                                          Exhibit D       Page 36 of 51



 X.      COUNT~I2PAItTS:
         This Contract may be executed in one or more counterparts by person or by faositnile, each of
         which shall for all purposes ba deemed to be an original and all of which sl~ail constitute tl~e sgme
         instrument.

 XI.     IVI{~I9B~CATION AND WAIVER:
          Any flfthe terms or eanditions ofthis Contract may be waived in writing at any fiime by the party
          which is entitled to the benefits thereof; and this Contract may be modified or amended by a
          written instrument eYecvted by all ofthe parties hereto. No supplement, modification or
         amendme~rt of this Contract shall be binding unless executed in writing by all oftl~e parties
         (iereto. No waiver of any of the provisions ofthis Conh•act shall be deemed or sllal! constitute a
          waiver of any other provision hereof(~vltether or not similar) nor shall such waiver constitute a
         continuing waiver.

 XI.     GtaV~~tNIlVG LAW• CONSENT TO JURISDICTION:
         This Contract shall be construed in accordance with the taws of the State of California. The
         panties liereta express3y consent and agree that any dispute, controversy, legal action or other
         proceeding that arises under, results from, concerns or relates t~ this Contract shall be brought in
         the federal or state cotarts in anti ofthe State of California in ttie Centr11 District of California or
         the County of Santa Barbara, respectively. Tl~e parties hereto hereby acknowledge that said courts
         have axclusive j~irisdiction over any such disputa or controversy, and that they hereby wive any
         objection to personal jurisdiction ar venue in these courts or tliak such courts are an inconvenient
         forum.

 XII.    ~~~:
         Time is ~f the essence with respect to this Contract,

 7~II. R'C~O~tMA'TION AND S~V~ItABTLT.["k':
       In case any provision ofthis Contract shall ba invalid, illegal or unenforceable, it shall, to the
       extent possible, he modified in such manner as to be valid, legal and enforceable bu# sa as to mast
       nearly retain ttie intent ofthe parties, and if such modification is not passible, such provision shall
       be severed from this Contract, and in either ease the validity, legality and enforceability aPthe
       remaining pxavisions of tills Contract shall not in any way 6e affec#ed or impaired thereby,

  XIV.   F~~S:
         In addition to the price per barrel, a X0.05 per barrel rnarlceting and ltandlin~ fee.

  This contract is subject to Buyer's general provision far crude oil sale/purahaselexclian~;es(as the same
  may be revised from time to time), which are being provided by Buyer to Seiler herewi#h and which are
  incorporatecll~ercin by reference.

  IN WITNESS WI-I.ERE~F, this Contract has been executed as of tii~ date first written above.

  SANTA ~AI~TA TLEFINING COMP                        GREKA O1L 8c GAS,]NC.
           }                                                      r
                                                                 i
                                                             /.
                                                             !


          Susan M. Whalen, ~                                 Andrew DeVegvar
          SVP and General Counsel                            COO and President
          166Q Sinton Road                                   PO Box 54$9
          Santa Maria, CA 4354                               Santa Maria, CA 93455




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 Case 9:19-bk-11573-MB   Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28 Desc
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Case 9:19-bk-11573-MB , Doc   Document
                            16-4           Page 61Entered
                                  Filed 07/30/19   of 111 07/30/19 19:35:48 Desc
                            ~~          Exhibit D        Page 37 of 51           ~~




                                   SANTA MARIA REPINING COMPAI*1Y
                                  1660 Sintfln Road - Santa Mnria, GA 93454

                          CRUDE Qil. PURCHASE CONTRACT AMENDIVI~NT
                              AMENDED CONTRACT t~TO, COP-OOd/A1



        EfFective 5eptemher 1, 2010 tine following terni(s) of that certain Contrnet No. COP-OD4 entered
        into as of June 1, 2004 by and between the undersigned were amended,and are h~raby rat'rficd as
        amended,as follows:

               U.      1'RIC~:
                       All references to posted prices shall bathe average of ChevrflnToxaco, Union76,
                       &_ ExxonMobil postings .for Buena Vista in effect for the month of delivery,
                       adjusted for actual gravity delivered; Less $2,t3 per barrel market differential.

               ~.iV. FEES:
                     Less ~Q.OS per barrel mnrlcating and handiipg fee.



        Ali ether kerms and conditions ofContract No.COP-004, as amended,shall remain unchanged
        and in full farce and effect.

        IN WITh18S5 WHEREOF,this amendment has been executed as of tUe date first written above.



        BUYER:

        ~~:~r~.;~y~Rip iz:L;     iN~ ct~         Y

         BRA, '~"`                                     _.
             s tie 11~]. 1~+li~l~n.:..
                                   "
              `VP nnet C~~n~ral Gounset.                                Chairman and CEO




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 Case 9:19-bk-11573-MB         Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28 Desc
Case 9:19-bk-11573-MB          Main
                              Doc   Document
                                  16-4           Page 62Entered
                                        Filed 07/30/19   of 111 07/30/19 19:35:48 Desc
                                    Exhibit D Page 38 of 51
                                 GIZEl~1 REFINING COMPANY
                             1f60 Sintan Road -Santa Maria, CA 93454

                     CRUDE OIL PURCHASE CONTRACT AMENDMENT
                         AMENDED CONTRACT NO. COP-004/A2



   Effective December 1, 2013 the following terms) of that certain Contract No. COP-004 entered
   into as of June 1, 2009 by and between the undersigned were amended, and are hereby ratified as
   americlecl, as fullows:

           V.     PRICE:
                  All references to posted prices shall be the average of ChevronTexaco, Union76,
                  STUSCO, & L~conMovil postings for Buena Vista in effect for the month of
                  delivery, adjusted for actual gravity delivered; Less $5.75 per barrel market
                  differential.




   All other terms and conditions of Contract No. COP-Q04, as amended, shall remain unchanged
   and in full force and effect.

   IN WITNESS WHEREOF,this amendment has been executed as of the date first written above.




   BUYER:                                                  SELLER:

    GREKA KEk'INING COMPANY                                HVT CAT CANYON,INC.

                 s
    BY:                                                    BY:                                 ~o
             teve 7. Demott,President                            Al       i   trijevic, Pr ident




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Case 9:19-bk-11573-MB   Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28   Desc
                        Main Document    Page 63 of 111




                             EXHIBIT "5"

                                                                                  57
  Case 9:19-bk-11573-MB           Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28 Desc
Case 9:19-bk-11573-MB             Main
                                 Doc   Document
                                     16-4           Page 64Entered
                                           Filed 07/30/19   of 111 07/30/19 19:35:48 Uesc
                                       Exhibit D     Page 16 of 51


                                WASTE GAS HANDLING AGREEMENT

         THIS AGREEMENT("Agreement")shall memorialize the agreement that has been in place
 since on or about February 2013 by and between Greka Refining Company, a California corporation
("GRC")and .H~1I Cat Canyon,Inc., a Colorado corporation("GOG"). GRC and GOG may hereinafl:er
 be referred to individually as a. "Party", or collectively as the "Parties".

                                                R:CCITALS

        WHEREAS,GOG is the owner and operator of certain oil and gas leases located within Santa
 Barbara County, California (collectively, the "Leases");

        WHEREAS,GRC is the owner and operator of an asphalt plant located within Santa Barbara
 County, California(the "Refinery"); and

         WHEREAS,the Parties desire to memorialize the terms and conditions oftheir agreement that
 has been in practice for several years whereby waste gas from the Leases has been and is delivered to the
 Refinery.

        NOW,THEREFORE,FOR AND IN CONSIDERATION of the premises end tl~e terms and
 provisions set for#lh below, GRC and GOG agree as follows:

         l. Subject to the teens and conditions herein, GOG shall deliver and GRC shall receive and
 dispose of all waste gas produced from.th.e Leases, including; without limitation associated gas liquids,
 hereinafter "Waste Gas",excepting therefiorn only that gas which shall be utilized by GOG,to the extent,
 and only to the exCent, that GRC has capacity over and above its own and other existing requirements.

          2. All Waste Gas deliveries to GRC hereunder shall be made to GRC's meter at the Refinery
(currently meter #2900 which number may change from time to time by GRC)("Point of Delivery").
 Title to, liability for, and risk of loss of ail gas delivered and received hereunder shall pass from GOG to
 GRC at the Paints of Delivery. GOG shall be responsible for the cost arld risk of installing, owning and
 maintaining the pipelines necessary to nan. sport the Waste Gas from the Leases to the Point ofDelivery.
 GRC shall be responsible for the cost and risk of installing, owning and maintaining the meter at the Point
 ofDelivery. For any pipelines and meters that require installation, GOG and GRC shall cooperate in good.
 faith with each other to implement said installation, including without limitation providing reasonable
 notice.

         3. GOG acknowledges that G.RC is taking the Waste Gas as an accommodation to GOG and that
 by entering into this Agreement GRC makes no representation ox warranty as to GRC's ability or capacity
 to receive and dispose of Waste Gas at the Refinery, and that such receipt and disposition ofthe Waste
 Gas shall be without recourse against GRC.In aclditi~n, nothing in this Agreeme~it sl~a.11 be construed as
 creating an obligation on th.e part of GRC to provide GOG with a contimious and uninterrupted source far
 disposing of its Waste Gas and associated liquids. GRC shall not be liable for auy failure or refusal
 whatsoever kind or nature, at any time or from time to time, either with or without notice, to accept
 delivery of said Waste-Gas. Iii particular, but-not by way-of limitatio»,-GRG shall not be obligated to -
 accept delivery of Waste Gas tendered hereunder which contains sand, oil., water, suplhur, hydrogen
 sulphide, air, carbon dioxide, nitrogen or other impurities in quantities which, in GRC's sole j~idgment,
  may be injurious to its pipeline, plants, or facilities; provided, however,that GRC shall use commercially
  reasonable efforts to give GOG prior notice of any discontinuance or limitation in taking Waste Gas.



  EXECUTION COPY FINAL                                 1
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  Case 9:19-bk-11573-MB            Doc 586       Filed 12/04/19       Entered 12/04/19 18:35:28                   Desc
Case 9:19-bk-11573-MB              Main
                                  Doc   Document
                                      16-4            Page 65Entered
                                             Filed 07/30/19   of 111 07/30/19 19:35:48                        Desc
                                      Exhibit D Page 17 of 51


        This paragraph 3 shall survive the exp.iratio~l and/ot• earlier termination ofthis Agreement.

         4.(a) GRC shall ply GOG,at the rate of SoCal NGI(National Gas Index), adjusted for quality
(as applicable) per thousand cubic feet(incfl,for all Waste Gas delivered to GRC at the Point of Delivery
 and metered by GRC, payable monthly, on or before the 25`x'day of each month ("Due Date")following
 receipt of an invoice or such other documentation acceptable to the Parties for the amounts which accrued
 during the immediate preceding calendar month. Each. monthly i~~voice shall ilielude documentation that
 is standard and customary in the industry supporting the amount of mcf invoiced. Any and all invoices
 shall be deemed received three(3)days after the invoice is deposited in the United States Mail. The
 Parties shall have the right to audit the invoice and meter documentation for thirty (30)days following
 payment.

        (b}      Tf any payment due ulider this Agreement is not received within thit~ty(30} days after the
 Due Date, GRC,in addition to the payment due,shall pay GOG interest at the higher ofthe rate
 established by California State law for the payment of prejudgment interest, or at the rate oftwo and one
 half percezrt(2-1/2%) over the prime rate ofinterest charged by the Bank of America, or its successors,
 which higher interest rate is in effect on the first day of t(~e mo»th iti which the payment is due. Interest
 shall he payable from Due Date to and including the date the payment is made.

         5. GOG warrants title to all Waste Gas delivered to GRC hereunder and its right to deliver the
 sane, and. agrees to hold GRC,its directors, officers, affiliates, and employees harmless for and
 indemnify them against any and all loss, damage, cost, expense (including attorney's fees), and liability of
 whatsoever kind arising aut of claims or demands ofthird persons with respect to title to such gas. Except
 as otherwise provided Herein, GOG makes no warranties, expressed or implied, as to the Waste Gas
 includuig any warranty of merchantability or offitness for a particular purpose. GRC acknowledges and
 agrees that it is taking the Waste Gas "as is, where is" as an accommodation to GOG.

          6. Subject to the terms and condition hereof,the tern of this Agreennent shall continue month to
  month subject to termination at any time for any reason, with or without cause, by either Party hereto,
  upon thirty(30)days prior writteli notice thereof by one Party to the other; provided, however,that in the
  event of an upset in either Party's Leases or Refinery, prompt notice to the other Party shall be delivered.
  For purposes ofthis Agreement, all ~~otices required hereunder shall be given or served in writing by U.S.
  Certified or Registered mail,return receipt requested, to CiOG or GRC at the fallowing addresses:

          To GRC:                                            To GOG:
          Attn: President and COO                            Attn: President and COO
          16&0 Sintox~ Road                                  2617 Clark Ave.
          Santa Maria, CA 93458                              Santa Maria, CA 93454

          Any party hereto may,froxu time to time, by written notice to the other, designate a different
  address which shall be substituted for the one above specified.

            7.(a) GOG shall indemnify and hold GRC,its directors, officers, affiliates, and employees
   harmless from any aild all damages, costs, expenses, fines, penalties, dennands, claims or liabilities of any
 - kind-or•-nariire whatsoever-relating-to damagE to property (real or personal) and/or-injury or-death to
   perso~~(s) which may arise out of or in connection with(1)GOG's acts or omission under the terms and
   provisions of this Agreement, and(2)the presence, release or threatened release of hazardous substances
 (as specified and defined by valid and applicable Federal, State, and local laws ar regulations) or other
   environmental contamination (including but not by way of ]imitation, any contamination which gives rise
   to ail obligation or liability pursuant to the Comprehensive Environmental Response Compensation and
   Liability Act or any other Federal, State or local laws, rules, order, rebulations, or common law a plicable

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  Case 9:19-bk-11573-MB            Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                            Desc
Case 9:19-bk-11573-MB              Main
                                  Doc   Document
                                      16-4           Page 66Entered
                                            Filed 07/30/19   of 111 07/30/19 19:35:48                          Desc
                                         Exhibit D     Page 18 of 51


to gas, or a.ny chemical or waste material) into or upon land or any water course or body of water,
including groundwater, or into the atmosphere, relating to or arising out ofthe presence, release or
tlareatened release of Waste Gas occurring before th.e Point of Delivery. This paragraph 7(a) shall survive
tl~e expiration and/or termination of this Agreement.

         (b} GRC shall indemnify and hold GOC,its directors, officers, affiliates, and employees
 harmless from any and all damages, costs, expenses, fines, penalties, demands, claims or liabilities of any
 kind or nature whatsoever relating to damage to property (real or personal) and/or injury or death to
 persons) which may arise out of or in c~nnectron with (~) G.RC's acts or omission under the terms and
 provisions of this Agreement, and(2)the presence, release or threatened release of hazardous substances
(as specified and defined by valid and applicable Federal, State, and local laws or regulations) or other
 environmental contamination (including but not by way of limitation, any contamination which gives rise
 to an obligation or liability pursuant to the Comprehensive Environmental Response Compensation and
 Liability Act or any other Federal, State or local laws, rules, order, regulations, or common law applicable
 to gas, or any chemical or waste material) into or Ripon land or auy water course or body of water,
 including groundwater, or into the atmosphere, relating to or arising out ofthe presence, release or
 threatened release of Waste Gas occurring after the Point of Delivery. This paragraph 7(b) shall survive
 tl~e expiration and/or termination. of dais Agreement.

         8. In the event either Party is rendered unable wholly or in part by force majeure to carry out its
 obligations under this Agreement, such. obligation(s), insofar as they are affected by such force majeure,
 shall be suspended during th.e continuance of any inability so caused, but for no longer period, an such
 cause shall insofar as possible, be remedied with reasonable dispatch. The term "force majeure", as used
 herein, shall mean acts of God, acts ofthe public enemy, inevitable accidents, labor disturbances,
 interference or regulation by public bodies or officers acting under claims of authority, or any other cause
 whether ox not similar to the foregoing, bayoud the reasonable control of a Party to perform: Neither Party
 hereto shall be required against its will to adjust or settle any labor dispute in order to meet any obligation
 imposed hereunder.

         9. This agreement shall not constitute, be interpreted, construed or used as evidence of any
 admission of liability, law, or fact, nor a waiver of any right or defense, nor au estoppel against either
 Party or ParCies as among themselves o~~ by other person not a party. Nothing in this paragraph is intended
 or should be construed to limit, bar, or otherwise impede the enforcement of any terms or conditions of
 this Agreement against any Party to this Ageement. Nothing in this Agreement shall be construed to
 create a right or benefit in favor of any person or entity not a Party to this Agreement.

           10. The term "GRC" shall include its parent, subsidiaries, and affiliate organizations, and its
  officers, directors, employees, contractors, subcontractors, and agents.

           1 1. The term "GUG" shall include its parent, subsidiaries, dnd affiliate organizations, and its
  officers, directors, employees, contractors, subcontractors, and agents.

           12. This Agreement contains the entire agreement of the Parties hereto with respect to the matter
  contained herein and no prior agreement or understanding, written or oral, pertaining to any such matter
  shall be effective for any-purpose This ~1.greeinel~t shall-b~ bineling-upon and inure to the benefit-of each -
  Parties' heirs, successors, and permitted assigns. No provision in this Agreement may be amended except
  by azi agreement in writing signed by the Parties hereto or their respective successors in interest or
  permitted assigns. If any provision ofthis Agreement or the application thereof is held invalid, the
  invalidity shall not affect other provisions or applications ofthe Agreement which can be given effect
  without the invalid provisions or application; and to this end the provisions ofthis Agreement are
  declared to be severable.

   EXECUTION COPY FINAL                                  3
                                                                                               nitials Initi          6Q
 Case 9:19-bk-11573-MB            Doc 586      Filed 12/04/19       Entered 12/04/19 18:35:28           Desc
Case 9:19-bk-11573-MB            Main
                                Doc   Document
                                    16-4            Page 67Entered
                                           Filed 07/3/19    of 111 07/30/19 19:35:48                   Desc
                                    Exhibit D Page 19 of 51



         13. This Agreement is made and entered i~rto iii California. This Agreement shall in all respects
by interpreted, enforced and governed by and under the laws of the State of California. Should any pa~~ty
to this Agreement institute airy legal action or administrative proceeding against the other to enforce any
ofthe terms and conditions of this Agreement,the prevailing party in such action or proceeding shall be
entiiled to recover all costs, expenses and attorneys' fees incurred in such action or proceeding. The
parties further agree that exclusivejurisdiction and venue ofsuch action or proceeding shall be Sayrta
Barbara County Superior Court.

         14. This Agreement may be executed in counterparts and via electronic or facsimile signature,
and if so executed and delivered, all ofthe counterparts together shall constitute one a»d the same
agreeme~lt.

         IN WITNESS WHEREOr,this Agreement is executed by the Parties this 27t1i day of May,20l 5
lint effective as of the date first hereinabove written.

GREKA REFINING COMPANY                                    HVI CAT CANY
a California co oration                                   a Colorado corno~

By:
         teve Demott                                               A 1ex'T~irrCitri~evic
        President and COO                                          President acid COO




                                                                                                 ~~
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Case 9:19-bk-11573-MB               Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                            Desc
                                    Main Document    Page 68 of 111



                                       IiIRST AMLI`~IT7MrNT
                                                TO
                                Wt~STT GAS HANDLING ~1GI:EEMEN'S'

        1I~IS 1IRST AM~NDM~N"T TO WASTE G~1S IIANDLTNG ~1GI2EEMLN"t
("Alnendn7ent") is imac3e and entered into effective as of the 1st clay of AtzgList, 2017 by ai~ci
 betwcezi CaIifo.r.~~ia. Asphalt Produciioil, I~1c., a California corporation f/1:/a Grcka Refizl.ing
 Coi~npany("CAP"), and. HVI Cat Canyon,Inc., a Colorado corporation ("IIVI"). Capitalized
 terms Ltsed herein not oflier~wise defined shall have the mewling set fort~l in the Waste Gas
 handling Agreement entered into between CAI' ~lnd II I effective I'ebru~ry 2013
("Agreement").

                                                  RECITALS

        WII~RLf1S, CAP and IIVI entered into the Ag.reenieut fo.i~ the delivery of waste gas i~•om
 the Leases fio the Refizlery;

         WIIEFZEAS,the Agreement ~efereiiees the rate of SoCal NGI(National Gas Index) a.s
 part of the calculation for the price to be paid by CAP to HVI, but which rate was changed by the
 Parties ~s of August 2017 to NYM~X -Natural Gas Contract Settlement Price; and

        WHER~IIS,the Parties desire to rnemorialire the revised rate as part ofthe terms and
 conditions of their Agreement that has been in effect since August 2017.

        NOW,THEIZEF4RE,FOI2 AND IN CONSIDERATION of the premises and tl~e
 terms and provisions set #orth below,CAP and HVI agree as fallaws:

        1. Amendment. Section 4{a) ofthe Agreement is hereby amended Co modify the rate by
 replacing reference to "the rate of SoCal NGI(National Gas Index)" with "the rate of NYMF_,X -
 Natural Gas Contract Settlement Price".                           ..

        2. No Other Chaa~~s. LACi1': ~~s otlierv~~ise~ set forth herein, all off'~h~ terms aild• coi~diti~ii~s
 ufthe Agreeniezlt shall remazn iii full fo,ce anal effect. ~         ~        ~                  ••          . '`• • ~~

                                                                                   'day of
         IN WITNESS WII~It~OF, this Anr~endnlent is executed by the Parties this 2~`l
 April, 2019 but effective as of the day and year first hereinabove written.

 California Asphalt Production, Inc.                 HVI Cat Canyon,Inc.


 ~3y:                                                By:
        F.riZesto Olivares, CFO                            Alex Dimitrijevic, Nresid fi




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Case 9:19-bk-11573-MB   Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28   Desc
                        Main Document    Page 69 of 111




                             EXHIBIT "6"

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 Case 9:19-bk-11573-MB         Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                Desc
Case 9:19-bk-11573-MB          Main
                              Doc   Document
                                  16-4           Page 70Entered
                                        Filed 07/30/19   of 111 07/30/19 19:35:48              Desc
                                    Exhibit D    Page 21 of 51


                                     SUPPLY AGREEMENT

          THIS AGREEMENT is made aid entered into effective as ofthe 1S` day of
   October, 2010 by and between► Santa Maria Refining Company, a California corporation
   ("SMRC") and Grelca Oil and Cias, l:nc., a Colorado corporation ("GOG"). SMRC and
   GOG may hereinafter be referred to individually as a "Party", or collectively as the
   "Parties".
                                            RECITALS
           WHEREAS, SMRC is the owner aild operator of that certain ref nery commonly
   referred to as the Santa Maria Asphalt Refinery located at 1660 Sinton Rd., Santa Maria.,
   California ("Refinery");
           WHEREAS, as part of SMRC's ~2efinery operations, water is produced and
   maintained at very hoi: temperatures;
           WHEREAS, GOG is the owner and. operator of certain ail and gas leases located
   in Santa Barbara Couzity, California (the "Leases");
           WHEREAS, as part of GOG's oilfield operations on the Leases, hot water may be
   used as a treatment of an oil well to heat the heavy oil and enhance oil recovery ("Hot
   Load");
           WHEREAS, the fluid used in Hot Load treatments is recovered by GOG in its
   oilfield operations; and
           WHEREAS, GOG desires to purchase from SMRC, and SMRC desires to sell to
   GOG, Hot Loads on the terms and conditions set forth in this Agreement.
           NOW, THEREF01tE, FOR AND IN CONSIDERATION of the premises
   and the terms and provisions set forth below, SMRC and GfJG agree as follows:
             1. SMRC shall sell and deliver to GOG and GOG shall purchase and receive from
    SMRC Hot Loads, on an as needed basis pursuant to purc~~ase orders presented by GOG
   to SMRC from time to time, to the extent, and only to the extent, that SMRC has Hot
   Loads available.
             2. All deliveries of Iiot Loads hereunder shall be made F.O.B. Refinery. Title
    shall pass from SMRC to GOG once the Hot Loads leave the Refinery ("Point of
    Delivery") and all liability and risk, except as otherwise provided in this Agreement; shall
    follow title. The Hot Loads sold hereunder are purchased by GOG "AS IS" and SMRC



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 Case 9:19-bk-11573-MB Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                         Desc
                       Main
Case 9:19-bk-11573-MB Doc   Document
                          16-4            Page 71Entered
                                 Filed 07/30/19   of 111 07/30/19 19:35:48                      Desc
                          Exhibit D PagE 22 of 51


   does not warrant that they are of merchantable quality or that they can be used far any
   particular purpose.
          3. (a) Nothing in this Agreement shall be construed as creating an obligation on
   the part of SMRC to provide GOG with a continuous and uninterrupted source for Hot
   Loads. SMRC shall not be liable for any failure or refusal whatsoever kind or nature, at
   any time or from tune to time, either with ox without notice, to accept a purchase order
   froa:-i GOC for Hot Loads.
         (b)      GOG shall hold SMRC,its directors, officers, affiliates, and employees
  (including but not limited to third party claims) harmless and does hereby expressly
   waive, release, and agrees to indemnify SMRC,its directors, officers, affiliates, and
   employees(including but. not limited to third party claims)for any and all claims, costs,
   expenses (including attorney fees), damages, fines, penalties, and liabilities of any kind or
   nature whatsoever against SMRC,its dzrecto~,s, officers, affiliates, and employees
  (inchiding but not limited to third party claims), regardless of whether such claims, costs,
   expenses, damages,fines, penalties, az~d liabilities are known or unknown or maybe
   anticipated or not, which arise out of, relate to, or are in connection witth SMRC's
   delivery to GOG of Hot Loads, and SMRC's inability ox failure to accept a purchase
   artier from GOG for. Hot Loads, either on a temporary or permanent basis (including
    without limitation emergencies or operational requirements which call for the immediate
    shut down offacilities). GOG acknowledges that it has read and waives the benefit ofthe
   following provision of Califoz-nia C'i.vil Code Section 1542:


          "A general release does not extend to claims which tk~e creditor does not know or
           suspect to exist in his favor at the time of executing the release, which if known
           by him must have nnaterially affected his settlement with the debtor."


    GOG understands and acknowledges the significance alid consequence of such a specific
    waiver of Section 1542 of the California Civil Code and hezeby assumes full
    responsibiliTy for any injury, damage or loss which it may incur in connection with
    matters covered by the above waiver and release.




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 Case 9:19-bk-11573-MB        Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28 Desc
Case 9:19-bk-11573-MB         Main
                             Doc   Document
                                 16-4           Page 72Entered
                                       Filed 07/30/19   of 111 07/30/9 19:35:48 Desc
                                   Exhibit D    Page 23 of 51


          This paragraph 3 shall stuvive the expiration and/or earlier termination of this
   Agreement.
          4.(a) GOG shall pay SMRC,at the rate of fifteen cents ($0.15) per gallon, for
   all Hot Loads delivered to GOG at the Point of Delivery, payable monthly, on or before
         'day of each month("Due Date")following GOG's receipt of an invoice for the
   the 25`x
   amounts which accrued during the immediai:e preceding calendar month. Any and all
   in~~~i~es sha!1 be ~eenaPd recPi~T~~1 by r~r upon hand ~Pi_iyery or~ t~Yee ~?ys after the
   uivoice is deposited in the United States Mail addressed to GOG,if mailed. This fee shall
   be increased, but not decreased, on thirty(30)days prior notice, to reflect an adjusted rate
   commensurate with SMRC's costs incurred. in selling Hot Loads.
         (b)      If any payment due from GOG to SMRC under this Agreement is not
   received within thirty(30} days after the Due Date, GOG,in addition to the payment due,
   shall pay SMRC interest at the higher ofthe rate established by California State law for
   the payment of prejudgment interest, or at the rate oftwo and one half percent(2-1/2%)
   over the prime rate of interest charged by the Bank of America; or its successors, which
   higher interest rate is in effect on the first day of the month in which the payment is due.
   Interest shall be payable from Due Date to and including the date the payment is made.
           5. SMRC warrants title to all Hot Loads delivered to GOG hereunder and its right
   to sell and deliver the same, and agrees to hold GOG harmless for and indemnify it
   against any and all loss, damage, cost, expense (including attorney's fees), and liability of
    whatsoever kind arising out of claims or demands of third persons with respect to title to
    such Hot Loads.
          6. Notwithstanding any other provision contained herein to the contrary, this
    Agreement may be terminated at any time for any reason, with or without cause, by
    either Party hereto, upon thirty (30)days prior written notice thereof by one Party to the
    other. For purposes ofthis Agreement, all notices required hereunder shall be given or
    served in writing either by hand delivery or by U.S. certified or registered mail, return
    receipt requested, to GOG or SMRC at the following addresses:




    TO SMRC:                                               TO GOG:



                                                                                                   :.
 Case 9:19-bk-11573-MB         Doc 586     Filed 12/04/19      Entered 12/04/19 18:35:28            Desc
Case 9:19-bk-11573-MB          Main
                              Doc   Document
                                  16-4            Page 73Entered
                                         Filed 07/30/19   of 111 07/30/19 19:35:48                  Desc
                                  Exhibit D Page 24 of 51

   166a ~intozi Rd.                                       2617 Glarlc t~ve.
   Santa Maria; CA 93458                                  Santa Maria, CA 93454
   Attu: Refinery-General Manager                         Attn: Production-General Manager

           Any party hereto may,from tine to time, by written 1~otice to tl~e other, designate
   a different address which shall he substittrted for tlae one above specified.
          7.(a) SMIZC; s11a11 indemnity and hold UUG,its directors, officers, affiliates, and
   employees (including but not liirz~ted to third party claims) harmless from any and all
   damages, costs, expenses, fines, penalties, demands, claims or liabilities of any kind or
   nature whatsoever relating to damage to property (real or personal) and/or injury or death
   to persons) which may arise out of or in connection with (1) SMRC's acts or omission
   under the terms and provisio~ls of this Agreement, and (2)the presence. release or
   threatened release of hazardous substances (as specified and defined by valid and
   applicable Federal., State, and local laws or regulatia115) or ol;her environmental
   contamination (including but not by way of limitation, any contamination which gives
   rise to an obligation or Lability pursuant to the Com~relaensive Enviraix~rental Response
   Compensation and Liability Act or any other Federal, State ar local laws, rules, order,
   regulations, or common law applicable to Hot Loads, or any chemical bx waste material)
   into or upon land or any water course ox body of water, including groundwater, or into
   the atmosphere, relating to or arising out of the presence, release or threatened release of
   Hot Loads, but only to the extent that such presezace, release, or threatened release occurs
   before the Point of Delivery. This paragraph 7 shall survi~~e the expiration andlor earlier
   termination of this Ag~~eement.
          (b) GOG shall indemnify and hold SMRC,its directors, officers, affiliates, and
   employees (iricll~ding but not linliied to third party claims} Harmless from any and all
   damages, costs, expenses, fines, ~er~alties, demands, claims or liabilities of any kind ar
   nature whatsoever relating to daYnage to property (1•eal or personal) azld/or injury o~• death
   to perso~a(s) which may arise out of or in connection with (1) GOG's acts or omission
   tinder the terms and provisions of this Agreement, and (2)the presence, release or
   threatened release of hazardous substances (as s}~ecified and defined by valid and
   applicable Feder•a1, State, and local laws or regulations) or other ein~ironmental
   contamination (il~cluding but ~~ot by way of limitation, any contamination which gives




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 Case 9:19-bk-11573-MB         Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28 Desc
Case 9:19-bk-11573-MB          Main
                              Doc   Document
                                  16-4           Page 74Entered
                                        Filed 07/30/19   of 111 07/30/19 19:35:48 Desc
                                    Exhibit D     Page 25 of 51


   Ilse to an obligation or liability pt~rsuvit to the Comp~•ehensive Environmental Response
   ~ozn~ensation and Liability Act or any other federal, State or local Laws, rules, order,
   regulations, or common law applicable to ~Iot Loads, or any chemical or waste material)
   into or upon land or any water course or body of water, including grou~zdwater, or into
   the atmosphere, relating to or arising o~rt of the presence, release or threatened release of
   Hot Toads, btrt only to the extent that s~.icl1 presence, release, or threatened release occurs
   after the Point of Delivery. This paragraph.7 shall slzr~ive the expiration aa~dlo7• earlier
   termination of this Agreemexat.
          8. Without in any way limiting the Parties' mutual obligation under paragraph 7,
   or any other provision hereof, the Parties shall secure and maintain, at their sole cost, and
   duxir~g the entire teen of this Agreement, insurance in coverage and a.tnounts customary
   in the irldustzy and all otile~ iz~suxazxce that n ay be required under the laws, ordinances,
   and regulations of any gover~~nental authority, naming each other as an additional
   insured thereunder. For applicable polzcies, the Parties s17a11 be provided with tilzrty(30)
   day written notice prior to tl~e effective date of any cancellation or material change ofthe
   insurance. Before cainmencing atad throughout the term ofthis Agreement, the Parties
   shall provide one another with certificates or other c~ocltmentary evidence of the above
   insurance, satisfactory to the other ~'axty. In the event either Party receives a notice of
   insurance cancellation, tk~xs Agreement shall terminal;e, without notice, effective on the
   expiration date ofthe insurance for which a Party received said thirty (30) day notice
   unless said Party receives cex-tificates of insLirance showzng the extension of the subject
   policy beyond the termination date set out in said notice of cancellation.
           9. In the event SMRC is rendered unable wholly or iii part by force majeure to
   carry out its obligations under this Agreement, such obl.igation(s), insofar as they axe
   affected by such force majeure, shall be suspended during the coiztinuance of any
   inability so caused, but for n.o longer period, an such cause shall insofar as possible, be
   remedied wifih reasonable dispatch. The term "force majeure"; as used herein, shall mean
   acts of God, acts ofthe public enemy, inevitable accidents, labor disturbances,
   interferez~.ce or regtiilatiorl by pl~blic bodies ~r officers acting under claims of authority, or
    any other cause whether or not similar to the foregoing, beyond the reasonable control of




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 Case 9:19-bk-11573-MB         Doc 586      Filed 12/04/19     Entered 12/04/19 18:35:28           Desc
Case 9:19-bk-1157:3-MB        Main
                             Doc   Document
                                 16-4            Page 75Entered
                                        Filed 07/30/19   of 111 07/30/19 19:35:48                  Desc
                                 Exhibit D Page 26 of 51


   SMRC to perfoi7n. Neither paxty hereto shall be required against its will tv adjust or settle
   any labor dispute in order to meet any obligation imposed hereunder.
           10. Neither Party shall assign any rights ox delegate any duty under this
   Agreement or aa~y interest Herein without the previous consent of the other Party, which
   consent is within the sole discretion of`each Party. Any such assignment without the other
   Party's prior written consent shall be null and void.
          ].1. This agreement sha11 not constitute, be interpreted, construed or used as
   evidence of any adrilission of liability, law,~or fact, nor a waiver of any right or defense,
   nox an estoppel against either Party or Partzes as among themselves or by other person not
   a party. Nothing in this paragraph is intended or shoLtld be construed to limit, bar, or
   otherwise impede the enforcement of any teens or conditions of this Agreement against
   any Party to this 1~greement. Nothing in. this Agreement shall be co~lstrued to create a
   right or benefit in favor of any person or entity nofi a Party to this Agreement.
           12. This Agreement contains the eiztire agreement of the Parties hereto with
   respect to the matter contained herein and no prior agreement ox understanding, written or
   oral, pertaining to any such matter shall be effective for any purpose.'This AgY~eement
   shall be binding upon and inure to the benefit of each Parties' heirs, successors, and
   permitted assigns. No provision in this Agreement may be amended or added except by
   an agreement in writing signed by the Parties hereto oz their respective, successors in
   interest, or permitted assigns.
           IN WITNESS WHEREOF,this Agreement is executed by the Parties effective as
    ofthe day and year first hexeinabove written.
                                        r
    SANTA.IvIARIf1. REFINING CO PANY                       GRLKA OIL &GAS INC.,
    a California corporation                               a Col coo coipo do


        Susan M. Whalen                                           Andrew deVegvar
        Senior Vice President &General Counsel                    President




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 Case 9:19-bk-11573-MB        Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28 Desc
Case 9:19-bk-11573-MB         Main
                             Doc   Document
                                 16-4           Page 76Entered
                                       Filed 07/30/19   of 111 07/30/19 19:35:48 Desc
                                   Exhibit D   Pagc 20 of 51


                                     FIRST AMENDMENT
                                            TO
                                    SUPPLY AGREEMENT

           THIS FIRST AMENDMENT TO SUPPLY AGREEMENT("Amendment")is
   made and entered into effective as of the 1St day of September,2013 by and between
   Grelca Refining Company f/k/a Santa Maria Refining Company, a California corporation
  ("GRC"), and HVI Cat Canyon, Inc. DBA Greka Oil and Gas, ~ Colorado corporation
  ("GOG"). Capitalized terms used heY•ein not otherwise defined shall have the meaning
   set forth in the Supply Agreement entered into between GRC and GOG effective October
   1,2010("Agreement").
                                           RECITALS
           WHEREAS, GRC and GOG entered into the Agreement for the sale and purchase
   of ~Iot Loads; and
           WHEREAS,GRC and GOG desire to amend the Agreement to provide for a
   change in the price for the Hot Loads sold and delivered to GOG.
         NOW,THEREFORE,FOR AND IN CONSIDERATION of the premises
   and the terms and provisions set forth below, GRC and GOG agree as follows:
            1. Amendment. Section 4(a) ofthe Agreement is hereby amended to modify the
   price by replacing reference to "the rate of fifteen cents ($0.15) per gallon" with "one
   dollar ($1,00) per barrel" far all Hot Loads delivered to GOG.
            2. No Other Changes. Except as otherwise set forth herein, all ofthe terms and
   conditions of the Agreement shall remain in full force and effect.
            IN WITNESS WHEREOF,this Amendment is executed by the Parties effective
    as ofthe day and year first hereinabove written.


    GREKA REFINING COMPANY                       GREKA OIL &GAS


    By:                                          By:                   ti     ~     ~
          Steve De ott                                   A     'mitrijevic
          President                                      President




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Case 9:19-bk-11573-MB   Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28   Desc
                        Main Document    Page 77 of 111




                             EXHIBIT "7"

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 Case 9:19-bk-11573-MB           Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28 Desc
Case 9:19-bk-11573-MB            Main
                                Doc   Document
                                    16-4           Page 78Entered
                                          Filed 07/30/19   of 111 07/30/19 19:35:48 Desc
                                      Exhibit D     Page 2 of 51


                               AMENDED AND RESTATED AGREEMENT

           THIS AMENDED AND RESTATED AGREEMENT is made acid entered into effective
   as ofthe 1S` day of May,2014 by and. between Greka Refining Company,a California corporation
  ("GRC")and.HVI Cat Canyon,.Inc., a Colorado corporation doing business as Greka Oil &Gas
  ("GOG"). GRC and GOG uiay hereinafter be referred to individually as a "Party", or collectively
   as the "Parties".
                                               RECITALS
           WHEREAS,GRC is the ov~~ner and operator ofthat certain refinery coiiunonly referred to
   as the Santa Maria Asphalt Refinery located at 1660 Sinton Rd., Santa Maria, Califarn.ia
  ("Refinery"};
           WHEREAS,GOG is the ow.uer and operator of certain oil and gas leases located in Santa
   Barbara,.Kern, anal Orange Counties, California (collectively, the "Leases");
            WI~REAS,GOG sells to GRC,and GRC purchases from GOG,the crude oil produced
   from the Leases which terms of sale include the industry custom and practice not to accept crude
   shipments(a} whose bottoms, sediment and water levels exceed 3%("BS&W Excess"), and/or
  (b)whose temperature is below 1.00 degrees Fahrenheit("Cold Oil").
            WHEREAS,effective October 1, 20'10 GRC and GOG entered into that certain Water
   Handling Agreement("original "Agreement") governing the terms and conditions ofBS&W
   Excess that may be delivered by GOG to GRC;and
            WHEREAS,the Parties desire to amend and restate the Original Agreement to provide
   for the terms and.conditions set forth in this Agreement as the basis upon which GRC may take
    delivery from time to time at the Refinery by GOG ofthe cru.c~e produced from tlic Leases with
    BS&W Excess and/or Cold Oil.
            NOW,THEREFORE,FOR AND IN CONSIDERATION ofthe premises and the
    tee•ens and provisions set forth below,GRC and GOG agree as follows:
            1.GOG shall deliver and GRC shall receive and process all BS&W Excess and/or Cold
    Oil produced from the Leases to the extent, and only to the extent,that GRC has capacity and
    processing availability.
            2..AII deliveries ofBS&W Excess andlor Cold Uil to G.RC hereunder shall be made
    F.O.B. Refinery. Title shall pass from GOG to GRC as BS&W Excess and/or Cold Oil passes
    through the crude oil unloading area at the Refinery("Point ofDelivery") and. all liability and
    risk, except as otherwise provided in this Agreement, shall follow title.
            3. (a) GOG acknowledges that GRC is taking the BS&W Excess and/or Cold Oil as an
    accommodation to GOG and that such receipt and processing of the.BS&W Excess and/or Cold.


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 Case 9:19-bk-11573-MB          Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28 Desc
Case 9:19-bk-11573-MB           Main
                               Doc   Document
                                   16-4           Page 79Entered
                                         Filed 07/30/19   of 111 07/30/19 19:35:48 Desc
                                      Exhibit D     F'age 3 of 51


   Oil shall be without recourse against GRC.In addition, nathin.g in this Agreement shall be
   conshued as creating an obligation on the part of GRC to provide GOG with a continuous and
   uninterrupted source for processing its BS&W Excess and/or Cold Oil. GRC shall not be liable
   for any failure or refusal whatsoever kind or nature, at any time or'from tame to time, either with
   or without notice, to accept delivery of said BS&W Excess and/or Cold Oil. In particular, but not
   by way of limitation, GRC shall not be obligated to accept de~ive~y a~ GOG's BS&W Excess
   acid/or Cold Oil at the Refinery if same contailis impurities in quantities which,in GRC's sole
   judgment, may be injurious to the Refinery's plant, equipment, or facilities.
          (b)       GOG shall hold GRC,its directors, officers, affiliates, and employees (includi.ng
   but not limited to third party claims) harmless and does hereby expressly waive, release, end
   agrees to indemnify GRC,its directors, officers, affiliates, and. employees(including but not
   limited to third party claims)for any acid all claims, costs, expenses(including atto~ley fees),
   damages,fines, penalties, and liabilities of any kind or nature whatsoever against GRC,its
   directors, officers, affiliates, and employees(including but not limited to third party claims),
   regardless of whether such claims, costs, expenses, damages,fines, penalties, and liabilities are
   known or unknown or may beanticipated or not, which arise out of, relate to, or are in connection
    with GRC's refusal, inability or failure to receive GOG's BS&W Excess and/or Cold Oil at the
   Refinery and/or process said BS&W Excess andlar Cold.Oil through GRC's Refinery, either on a
    temporary or permanent basis(including without limitation emergencies or operational
    requirements which call for the irnm.ediate shut down offacilities). GOG acknowledges that it has
    read and waives the benefit ofthe following provision of California Civil Code Section. 1.542:


           "A general release does not extend.to claims which the creditor does n.ot know or suspect
            to exist in his favor at the time of executing the release, which if known by him must
            have materially affected his settlement with the debtor:
                                                                   '


    GOG understands and acknowledges the significance and consequence of such a specific waiver
    of Section 1542 ofthe California Civil Code and hereby assumes full responsibility for any
    injury, damage or loss which it may incur in connection with matters covered by the above
    waiver and release.
            This paragraph 3 shall survive the expiration and/or earlier termirZation ofthis
    Agreement.
            4.(a) GOG shall pay GRC at the rates set forth in Schedule A attached hereto and
    incorporated herein by this reference for all BS&W Excess and Cold 0i1 delivered to GRC at the


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Case 9:19-bk-11573-MB           Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28 Desc
Case 9:19-bk-11573-MB           Main
                               Doc   Document
                                   16-4           Page 80Entered
                                         Filed 07/30/19   of 111 07/30/19 19:35:48 Desc
                                      Exhibit D     Page 4 of 51


   Point of.Delivery and. metered by GRC, payable monthly, oii or before the 2St1i day of each month
  ("Due Date")following GOG's receipt of an invoice for the amounts which acci~u.ed during the
   immediate preceding calendar month, Any and all invoices shall be deemed received by GOG
   upon hand delivery or three days after the invoice is deposited in the United States Mail
   addressed to GOG,if mailed. This handli~ig fee shall be increased, but not decreased, on thirty
  (3Q)clays prim• notice, to reflect an adjusted rate commensurate with GRC;'s costs incurred i~.l
   handling the.BS&W Excess and(or Cold Oil.
          (b)      If any payinel~t du.e from GOG to GRC wider this Agreement is not received
   within thirty(30)days after the Due Date, GOG,in addition to the paymelit due, shall pay GRC
   interest at the higher ofthe rate established by California State law fox the payment of
   prejudgment interest, ar at the rate oftwo and one half percent(2-1/2%)over the prime rate of
   interest charged by the Bank of America, or its successors, which higher interest rate is in effect
   on the first day ofthe month in which the payment is due.Interest shall be payable from Due
   Date to and including the date the payment is made.
           5. GOG warrants title to all BS&W Excess and Cold Oil delivered to GRC hereunder and
   its xight to deliver the same, and agrees to hold GRC harmless fox and indemnify it against any
   and all loss, damage, cost, expense (including attorney's fees), and liability of whatsoever kind
   arising out of claims or demands ofthird persons with respect to title to such BS&W Excess and
   Cold Oil.
           6. Notwithstanding ony other prov.isiot~ contained herein to the corrtrary, this Agreement
   may be terminated at any time for any reason, with or without cause, by eithsr Party hereto, upon
   thirty(30)days prior written notice thereof by one Party to the other. For purposes ofthis
   Agreement, all notices required hereunder shall be given or served in writing either by hand
   delivery or by U.S. certified or registered mail, retuni receipt requested, to GOG or GRC at the
   following addresses:


   TO GRC                                                    TO GOG:
    1660 Sintan Rd.                                          2617 Clark Ave.
    Santa Maria,CA 93458                                     Santa Maria, CA 93454
    Attn: Refinery-General Manager                           Attu: Production-General Manager

            Any party hereto 1nay, from time to time, by written notice to the other, designate a
    different address which shall be substituted for the one above specified.
            7.(a) GOG shall indemnify and Bold GRC,its directors, officers, affiliates, and
    employees(including but.not limited to third party claims) harmless from any and a]1 damages,


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 Case 9:19-bk-11573-MB           Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28 Desc
Case 9:19-bk-11573-MB            Main
                                Doc   Document
                                    16-4           Page 81Entered
                                          Filed 07/30/19   of 111 07/30/19 19:35:48 Desc
                                       Exhibit D     Page 5 of 51



   costs, expenses, fines, penalties, demands, claims or liabilities of any kind or nature whatsoever
   t•elating to damage to property (real. or personal) and/or injury or death to persoli(s) which may
   arise out of or in connection with.(1) UOG's acts or omission under the terms and pro~~isions of
   this Agreement, and(2)the presence, release or threatened release of hazardous substances (as
   specified and defined by valid and applicable Federal, State, and local laws or regulations) or
   other environmental contamination (includilig but not by way of limitation, any contamination
   which gives rise to an obligation or liability pursuant to the Comprehensive Environmental
   Response Compensation a11d Liability Act or any other• Federal, State or local laws, rules, order,
   regulations, or common law applicable to BS&W Excess and Cold Oil, or any chemical ar waste
   material) into or upon. land or any water course ar body of water, including groundwater, or into
   the atmosphere, relating to or arising out of the presence, release or threatened release ofBS&W
   Excess and Cold Oil, but only to the extent that such presence, release, or threatened release
   occurs before the Poi~~t of Delivery. This paragraph 7 shall survive the expiration and/or earlier
   termi.nition of this Agreement.
          (b)GRC shall indemnify and hold GOG,its directors, officers, affiliates, and employees
  (including but not limited to third party claims) harmless fi•om any and all damages, costs,
   expenses,fines, penalties, demands, claims or liabilities of any kind ar nah~re whatsoever relating
   to damage to property (real or personal) and/or injury or death to persons) which may arise out
   of.or in connection. with (1)GRC's acts or omission under the terms and provisions ofthis
   Agreement, and (2)the presence, release or threatened release of hazardous substances(as
   specified and defined by valid and applicable Federal, State, and local laws or regulations) or
   other environmental colitarnination (including but not by way of limitation, any contamination
    which gives rise to an obligation or liability pursuant to the Comprehensive Environmental
   Response Compensation and Liability Act or any other Federal, State or local laws, rules, order,
   regulations, or common law applicable to BS&W Excess and Cold Oil, or any chemical or waste
    material) into or upon land or any water course or body of water, including groundwater, or into
    the atmosphere, relating to or arising out of the presence, release or threatened release ofBS&W
    and Cold Oil, but only to the extent that such presence, release, or threatened release occurs after
    the Point of Delivery. This paragraph 7 shall survive the expiration and/or earlier termination of
    this Agreement.
            8. Without in any way limiti»g the Parties' mutual obligation under paragraph 7, or any
    other provision hereof, the Parties shall secure and maintain, at their sole cost, and during the
    entire term of this Agreement, insurance in coverage and amounts customary in the industry and
    all other insurance that may be required under the laws, ordinances, and regulations of any


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 Case 9:19-bk-11573-MB            Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                         Desc
Case 9:19-bk-11573-MB             Main
                                 Doc   Document
                                     16-4           Page 82Entered
                                           Filed 07/30/19   of 111 07/30/19 19:35:48                       Desc
                                        Exhibit D      P~g~ 6 of 51


   governmental authority, naming each other as an additional insured thereunder. For applicable
   policies, the Pasties shall be provided with thirty(30) day written notice prior to the effective date
   of any callcellatio.n or material change of the insurance. Before commenci»g anal throughout the
   teen of this Agreement,the Parties shall provide one another with certificates or other
   documentary evidence ofthe above insiu~ance, satisfactory to tl~e other Party. In the event either
   Party receives a notice of insurance cancellation, this Agreement shall terminate, witliol~t notice,
   effective on the expiration date ofth.e insurance for which a Party received said thirty(30)day
   notice unless said Party receives certificates of insurance showing the extension ofthe subject
   policy beyond the terin.ination date set out in said. notice of cancellation.
            9. In the event GRC is rendered unable wholly.or in part by force majeure to carry out its
   obligatiolis under this Agreement, such obligation(s), insofar as they are affected by such force
   majeure, shall be suspended during the continuance of any inability so caused, but for no longer
   period, an suc11 cause shall insofar as possible, be remedied with reasonaUle dispatch. The term
   "force majeure", as used herein, shall mean acts of God, acts ofthe public enemy, inevitable
   accidents, labor disturbances, interference or regulation by public bodies or officers acting under
   claims of authority, or any other cause whether or not similar to the foregoing, beyond the
   reasonable control of GRC to perform. Neither party hereto shall be required. against its will to
   adjust or settle any labor dispute in order to meet any obligation imposed hereunder.
            10. Neither Party shall assign any rights or delegate any duty under this Agreement or
   any interest herein without the previous consent ofthe other Party, which consent is within the
   sole discretion of each Party. Any such assignment without the other Party's prior written consent
   shall be null and void.
            1 1. This agreemenfi shall not constitute, be .interpreted, construed or used as evidence of
   any admission of liability, law, or fact, nor a waiver of any right or defense, uor an estoppel
   against either Party or Parties as among themselves or by other person not a party. Nothing in this
   paragraph is intended or should be construed to limit, bar, or otherwise impede the enforcement
   of any terms or conditions of this Agreement against any Party to this Agreement. Nothing in this
   Agreement shall be construed to create a right or beneft in favor of any person or entity not a
   Party to this Agreement.
             1.2. This Agreement contains the entire agreement ofthe Parties hereto with respect to the
    matter. contained herein and no prior agreerneiit or understandilj.g, written or oral, pertaining to
    any such matter shall be effective for any purpose. This Agreement shall be binding upon and
    inure to the benefit of each Parties' Heirs, successors, and permitted assigns. No provision in this




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 Case 9:19-bk-11573-MB           Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                Desc
Case 9:19-bk-11573-MB            Main
                                Doc   Document
                                    16-4           Page 83Entered
                                          Filed 07/30/19   of 111 07/30/19 19:35:48              Desc
                                       Exhibit D      Page 7 of 51


   Agreement may be amended or added except by an agreement in writizig signed by the Pa~~ties
   hereto or their• respective, successors in interest, or permitted assigns.
            IN WITNESS WHEREOF,this Agreement is executed by the Parties effective as ofthe
   day and year first hereinabove written..

   GREKA REFINING COMPANY                                     HVI CAT CANYON,INC.,
   a Califor~iia corpor lion                           a Colorado corporation

   By:                    -                                By:
         Ste    emo                                                     Alex Dimit~•ijevic
         President                                                      President




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 Case 9:19-bk-11573-MB          Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28 Desc
Case 9:19-bk-11573-MB           Main
                               Doc   Document
                                   16-4           Page 84Entered
                                         Filed 07/30/19   of 111 07/30/19 19:35:48 Desc
                                       Exhibit D     Page 8 of 51


   Agreement m.ay be amended or added except by an agreement in writing signed by the Parties
   hereto or their respective, successors in interest, or permitted assigns.
            1N WIT'NESS WHEREOF,this Agreement is executed by the Parties effective as of the
   day and year first hereinabove written►.


   GREKA REFINING COMPANY                                     HVT CAT       NYON,/1NC.,
   a California corporation                           a Colorado corms . tion

   By:
         Steve Demott
         President                                                     President




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Case 9:19-bk-11573-MB        Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                       Desc
Case 9:19-bk-11573-MB         Main16-4
                             Doc   Document     Page 85Entered
                                       Filed 07/30/19   of 111 07/30/19 19:35:48                    Desc
                                    Exhibit D     Page 9 of 51


                                             Schedule A

                                         Merchantable Oil


      ~   All crude oil delivered to the Refinery shall contai» BS&W at a level of3% or less, and
          shall have a temperature of no less than 1.00 degrees Fahrenheit.

      • Any crude oil accepted by GRC in excess ofthese limitations shall be assessed a
        handling fee set forth below.

      • Measurements shall be performed at the Refinery through a Tact unit and onsite lab
        testing verification.

      • GRC shall calibrate (according to standard industry practice) Poch the BS&W meter and
        temperature gauge on the Tact unit at the Refinery no less than monthly, and shall provide
        GOG with a report of the results verified by GRC.


                          Increment ofBS&W
   BS&W:                  in excess of3%                   Cost per Ban•el

                          O.1 to1.5%                       $ 3.80
                          1.6 to 3.0%                      $ 5.50
                          3.1 to S.Q%                      $ 8.75
                          S.1 t0 8.O%                      $11.SO
                          $.l to 12.0%                     $18.00
                          12.1% and above                  $27.00



                          Increment of Cold Oil
    Temperature:          below 100°F                      Cost per Barrel

                          Below 100s                       $1.SQ




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Case 9:19-bk-11573-MB   Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28   Desc
                        Main Document    Page 86 of 111




                             EXHIBIT "8"

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 Case 9:19-bk-11573-MB          Doc 586     Filed 12/04/19     Entered 12/04/19 18:35:28               Desc
Case 9:19-bk-11573-MB           Main
                               Doc   Document
                                   16-4            Page 87Entered
                                          Filed 07/30/19   of 111 07/30/19 19:35:48                   Desc
                                   Exhibit D Page 10 of 51


                                 SUPPLY AGREEMENT - LCR

          THIS AGREEMENT shall memorialize t11e agreement that has been in place
   since on or about December 2011 by and between Greka Refining Company, a California
   corporation ("GRC")and HVI Cat Canyon, Inc., a Colorado corpo~•ation("GOG"). GRC
   anti GOG i71ay hereinafter be referred to individually as a "Party", or collectively as the
  "Parties".
                                            RECITALS
           WHEREAS, GRC is the owner and operator of that certain refinery commonly
   referred to as the Santa Maria Asphalt Refinery located at 1660 Sinton Rd., Salta Maria,
   Califoz~nia ("Refinery");
           WHEREAS,as part of GRC's Refinery operations, light crude is produced at 27
   API gravity with a flash point of no less than 130°F and sulphur content of no more than


           WHEREAS,GOG is the owner and operator of certain oil and gas leases located
   in Santa Barbara County, California (the "Leases");
           WHEREAS, as part of GOG's oilfield operations on the Leases, LCR nzay be
   used as a diluent in an oil well to enhance oil recovery; and
           WHEREAS,GOG desires to purchase from GRC,and GRC desires to sell to
   GOG,LCR on the terms and conditions set forth in this Agreement.
           I~if~W,`~'~€ERE~ORE,~'OI2 ANID IN CONSI~S~ItA7CION of the premAses
   and tl~e terms and provisions set forth below, GRC and GOG agree as follows:
           1. GRC shall sell and deliver to GOG and GOG shall purchase and receive from
    GRC LCR,on an as needed basis pursuant to purchase orders presented by GOG to GRC
   from time to time, to tl~e extent, and only to the extent, that GRC has LCR available.
           2. All deliveries of LCR hereunder shall be made F.O.B. Refinery. Title shall pass
    from GkZC to ~GQG once the LCR leaves the Refinery ("Point of Delivery") and x.11
    liability a~1d risk, except as otherwise provided in this Agreement, shall follow title.
           3. Nothing in this Agreement shall be construed as creating an obligation on the
    part of GRC to provide GOG with a contentious and uninterrupted source for LCR. GRC
    shall not be liable for any failure or refusal whatsoever kind or nature, at any time or fro


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Case 9:19-bk-11573-MB          Main16-4
                              Doc   Document     Page 88Entered
                                        Filed 07/30/19   of 111 07/30/19 19:35:48                      Desc
                                    Exhibit D    Page 11 of 51


   time to tune, either with or without notice, to accept a purchase order from GOG for
   LCR.
          This paragraph 3 shall sluvive the expiration anti/or earlier• termination of this
   Agreement.
          4.(a) GOG shall pay GRC,at the t•ate of West Coast Prompt iJLS Na. 2 LA
   posting for Ultra Low Sulfur lliesel, Less $0.32/gallon, for all LCR delivered to GOG
   at the Point of Delivery, payable monthly, on or before the 25th day of each month ("Due
   Date") follo~~ing GOG's receipt of an invoice for the amounts which accrued during the
   immediate preceding calendar month. Any and all invoices shall be deemed received by
   GOG upon hand delivery or three days after the invoice is deposited in the United States
   Mail addressed to GOG; if mailed. This fee shall be increased, but not decreased, on
   thirty (30} days prior notice, to reflect an adjusted rate commensurate with GRC's costs
   incurred in selling LCR.
          (b)     If any payment due from GOG to GRC under this Agreement is not
   received within thirty (30) days after the Due Date, GOG,in addition to the payment due,
   shall pay GRC interest at the higher of the rate established by California State law for the
   payment of prejudgment interest, or at the rate of two and one half percent(2-1/2%) over
   the pxime rate ofinterest charged by the Bank of America, or its successors, which
   higher interest rate is iii effect on the first day of the month in which the payment is due.
   Interest shall be payable from Aue Date to and including the date the payment is made.
           5. GRC warrants title to all LCR delivered to GOG hereunder and its right to sell
   and deliver the same, and agrees to hold GOG harmless for and indemnify it against any
   and all loss, damage, cost, expense (including attorney's fees), and liability of whatsoever
   lcir~d arising out of claims ar demands of third persons with respect to title to such LCR.
           6. Notwithstanding any other provision contained herein to the contrary, this
    Agreement may he terminated at any time for any reason, with or without cause, by
    either Party hereto, upon thirty (30) days prior written notice thereof by oiie Party to the
    other. For purposes ofthis Agreement, all notices required hereunder shall be given or
    served in writing either by hand delivery or by U.S. certified or registered mail, return
    receipt requested, to CrOG or GRC at the fallowing addresses:
                                                                                                    ~ ..


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 Case 9:19-bk-11573-MB          Doc 586      Filed 12/04/19      Entered 12/04/19 18:35:28           Desc
Case 9:19-bk-11573-MB           Main
                               Doc   Document
                                   16-4            Page 89Entered
                                          Filed 07/30/19   of 111 07/30/19 19:35:48                  Desc
                                   Exhibit D Page 12 of 51


   T4 GRC:                                                TO GOG:
   1660 Sinton Rd.                                         2617 Clark Ave.
   Santa Maria, CA 9358                                    Santa Maria, CA 93454
   Attu: Refinery-General Manager                          Attn: Production-General Manager

           Any party hereto may,from time to time, by written notice to the other, designate
   a different address which shall be substituted for the one above specified.
           7.(a) GRC shall indemnify and hold GAG,its directors, officers, affiliates, and
   employees (including but not limited to third party claims) harmless from any and all
   damages, costs, expenses, fines, penalkies, demands, cl~in~s nr lialailit~es of az~.y kir_~ ar
   7iattire whatsoever relating to damage to property (real or personal) and/or injury or death
   to pexson(s) which may arise out of or in connection with(1) GRC's acts or omission
   under the terms and provisions ofthis Agreement, and (2)the presence, release or
   threatened release of hazardous substances (as specified and defined by valid and
   applicable Fede~•al, State, and local laws or regulations) or other environmental
   contamination(including but not by way of limitation, any contamination which gives
   rise to an obligation or liability pursuant to the Compxehensive Environmental Response
   Comperssation and Liability Act ox any other Federal, State or local laws,rules, order,
   regulations, or comrnan law applicable to LCR,or any chemical or waste material) into
   or Upon land or any water course or body of water, including groundwater, or into the
   atmosphere, relating to or arising out ofthe presence, release or threatened release of
   LCR,but only to the extent that such presence, release, or th7reatened release occurs
   before the Point of Delivery. This paragraph 7 shall survive the expiration and/or earlier
   termination ofthis Agreement.
          (b)GOG shall indemnify and hold GRC,its directors, officers, affiliates, and
   employees (including but not limited to third party claims) harmless from any and all
   damages, costs, expenses, fines, penalties, demands, claiil~s or liabilities of airy kizld ar
   nature whatsoever relating to damage to property (real or personal) and/or injury or death
   to persons) which may arise out. of or in connection wit11(1) GOG's acts or omission
   under the terms and provisions of this Agreement, and(2)the presence, release or
   threatened release of hazardous substances (as specified and defined by valid and
   applicable Federal, State, aid local laws or regulations) or other environmental             x
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                              Doc   Document
                                  16-4           Page 90Entered
                                        Filed 07/30/19   of 111 07/30/19 19:35:48 aesc
                                       Exhibit D   Page 13 of 51


   contamination (including but not by way of limitation, any contamination which gives
   rise to an obligation or liability pursuant to the Comprehensive Environmental Response
   Compensation and Liability Act or any other Federal, State or local laws, rules, order,
   regulations, or common law applicable to LCR,ox any chemical or waste material) into
   or upon 1a11d or any water course or body of water, including groundwater, or into the
   atmosphere, relating to or arising out ofthe presence, i•elea.se or threatened release of
   LCR, but only to the extent that such presence, release, or threatened release occurs after
   the Point ~f Delivery. This paragraph 7 shall suz~vive tlZe expiration andlor earlier
   terminaiio~7 oT tnis ti~reeinent.

          8. Without in any way limiting the Parties' mutual obligation under paragraph 7,
   or• any other provision hereof, the Parties shall secure and maintain, at their sole cost, and
   during the entire terns of this Agreement, insurance in coverage aid amounts customary
   in the industry and all other insurance that maybe required under the laws, ordinances,
   and regulations of any governmental authority, naming each other as an additional
   insured thereunder. For applicable policies, the Parties shall be provided with thirty (30)
   day written notice prior to the effective date of any cancellation or material change of the
   insurance. Before commencing and throughout the term ofthis Agreement, the Parties
   shall provide one another with certificates or other documentary evidence of the above
   insurance, satisfactory to the other Party. In the event either Party receives a notice of
   insurance cancellation, this Agreement shall tenl~inate, without notice, effective on the
   expiration date of the insurance for which a Party received said. thirty (30} day notice
   unless said Party recezves certificates of insurance showing the exte~asion of the subject
   policy beyond the termination date set out in said notice of cancellatio~i.
           9. In the event GRC is rendered unable wholly or in part by force rnajeure to
   can•y out its obligations ulider this Agreement, such obligation(s), insofar as they are
   affected by such force majeure, shall be suspended dwring the continuance of any
   inability so caused, but for no longer period, an such cause shall insofar as possible, be
   remedied with reasonable dispatch. The term "force majeure", as used herein, shall mean
   acts of God, acts ofthe public enemy, inevitable accidents, labor disturbances,
   interference or regulation by public bodies or officers acting under claims of authority, or
   any other cause whether or not similar to the foregoing, beyond the reasonable control of

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 Case 9:19-bk-11573-MB          Doc 586     Filed 12/04/19      Entered 12/04/19 18:35:28             Desc
Case 9:19-bk-11573-M~          Main
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                                   16-4            Page 91Entered
                                          Filed 07/30/19   of 111 07/30/19 19:35:48                   Desc
                                   Exhibit D Page 14 of 51


   GRC to perform. Neither party hereto shall be required. against its will to adjust or settle
   any labor dispute in order to meet any obligation imposed hereunder.
            10. Neither Party shall assign any rights or delegate any duty under this
   Agreement or azly interest herein without the previous consent of the other Party, which
   consent is within the sole discretion of each Party. Any such assignment without the other
   Party's prior written consent shall be 11u11 and void.
            1 1. This agreement shall not constitute, be interpreted, construed or used as
   evidence of any admission of liability, law, or fact, nor a waiver of any right or defense,
   nor a.n estop~ei agaillsi eiiher tarty or rariies as among themselves or by atner person not
   a party. Nothing in this paragraph is intended or should be construed to limit, bar, or
   otherwise impede the enforcement of any terms or conditions of this Agreement against
   any Party to this Agz~eernent. Nothing in this Agreement shall be construed to create a
   right or benefit in favor of any person or entity not a Pa7-ty to this Agreement.
            12. This Agreement contains the entire agreement of the Parties hereto with
   respect to the matter contained herein and no prior agreement or understanding, written or
   oral, pertaining to any such matter shall be effective for any purpose. This Agreement
   shall be binding upon and inure to the benefit of each Parties' heirs, successors, and
   permitted assigans. No provision in this Agreement may be amended or added except by
   an agreement in writing signed by the Parties hereto or their respective, successors in
   interest, or pel7nitted assigns.
            IN WITNESS WHEREOF,this Agreement is executed by the Parties this 27th day
   of May,2015 but effective as of the date first hereinabove written.


   GREKA REFINING COMPANY                                   HVI CAT CANYON,
   a California co oration                                  a Colorado co~noraticz
        •        --s—.___
   By
             teve Demott                                           Alex Dimitrijevic
            President and COO                                      President and C00




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                        Main Document    Page 92 of 111




                             EXHIBIT "9"

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  Case 9:19-bk-11573-MB            Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                         Desc
                                   Main Document    Page 93 of 111




                                                                                               1IOI AVENUE OF THE STARS
ERIC P. ISRAEL.                                                                                               SUITE 450
A PROFHSSIONAL CORPORATION                                                           LOS ANGELES,CALIFORNIA 900Fi7-6006
PARTNER
                                                                                                   (310).277-0077 — Tsl.
E-MAIL ADDRESS:                                                                                    (3t0)277-5735 — FAx
EISRAB4QDANNINdC31LL.COM                       L
                                    D~N~~G GI L



                                              I~oveniber 15, 2019


    VIA E-MAIL,~susan,~r~Lwl~alenatt~rney.tc~m) AND U.S. MAIL


    Susan M. Whalen, Esq.
    2806 Alta Street, PO Box 93S
    Los Olivos, CA 93441

    Re:      HVI Cat Canyon,Inc.,. Debtor
             Bankr. No. 9-bk-19-11573-MB
             Cease.and Desist Demand

    Dear Susan:
                                                                                   trustee (the
    As you will recall, this office represents.Michael A. McConnell,the Chapter 11
    "Trustee"} for the estate of HVI Cat Canyon,Inc.(the   "debtor ").

                                                                               Asphalt Production,
    On November 20, 20T9,the Trustee is due a large payment from California
                                                                                        debtor
    Inc.{"CAP)of approximately $1.8 million, for CAP's purchase.of crude ail from the
                                                                                      to setofffor
    during the month of October 2019. The Trustee has been advised that CAP intends
    sums that:-may be due affiliates against the payment due the Trustee from CAP.

                                                                                                     tcy case
    Please be advised that 11 U.S.C. § 362{a) provides that the commencement of a bankrup
                                                                                             . Among other
     effects an automatic stay protecting the debtor and the estate from various actions
                                                                                          or ofproperty of
     things, the stiay bars any attempt"to obtain possession of property ofthe estate
    the estate or to exercise control over property ofthe estate". 11 U.S.C.      § 362(a)( 3). Effecting- a
                                                                                                 Valley
    .setoff against a payment due the estate violates the automatic stay.. .See In re Silicon
                                                                                               Inc., No. BAP
     Telecom Exch., LLC,284 B.R. 700, 709(Bankr. N.D. Ca1.2002); In re Treasures,
                                                                           3, 201 S) ("To   assert the right. t~
     NO. SC-13-1304, 201 S WL 925957, at *21 (B.A.P. 9th Cir. Mar.
                                                                                           the  automat ic
     setoff or pursue satisfaction of his or her claim,.a creditor must seek relieffrom
                                                                                    S.D.N.Y. ZO11)("The
     stay. § 362(d)(1)."); In re Lehman Bras..Inc., 458 B.R. I34, 143(Banlcr.
     Bankruptcy Code expressly prohibits exercising a setoff     withou t first seekin g relieffrom the
                                                                                      854  (9th Cir.1997)
     automatic stay."); Hal Inc. v. United States (In re Hal, lne,), 122 F.3d 851.,
                                                                                             ptcy Court").
    ("[tJhe decision to award setoff rests squarely within the discretion ofthe Bankru
                                                                                           attorneys' fees,
     A party violating the automatic stay can be liable for actual damages including
     and,in appropriate cases, punitive damages. 11 U.S.C. § 362{k).




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  Case 9:19-bk-11573-MB         Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                 Desc
                                Main Document    Page 94 of 111




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  Susan Weyland,Esq.
  November 1S,2019
  Page 2

                                                                       setoff by CAP against
  Although it may have done so in the past before his appointment, any
                                                                        Trustee hereby demands
  sums due the Trustee would be a violation ofthe automatic stay. The
                                                                              . The Trustee
  that CAP cease and desist from any setofFs against the sums due the Trustee
  reserves all of his rights and remedies against all parties.

   Very truly yours,



   Eric P. Israel

   EPI:EPI

   cc:      Michael.A. McConnell, Trustee (via email)
            Mr. Tim Skillman (via email)
            Mr. James Baring(via email).
            Aaron E. deLeest, Esq.(i/o)
            Sonia Singh; Esq.(i1o)




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Case 9:19-bk-11573-MB   Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28   Desc
                        Main Document    Page 95 of 111




                            EXHIBIT "10"

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    Case 9:19-bk-11573-MB           Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                          Desc
                                    Main Document    Page 96 of 111



                                                                                            1901' AVENUE OF THE STARS
AARON E. D6 LEEST                                                                                            SU1T84S0
                                                      ~
ASSOCIATB
                                                                                  L,OS ANQELBS,CALIFORNIA IOO67-6000 .

                                                                                                 (310)277-0077 TEL
E-MAfL ADD~tsSS:                                                                                 (3 f 0)277-5735 -FAx
ADELL'CSTQDANNINGGiL[..COM
                                   DAN N ING GILL
                                            November 25,2019
                                                                                                                          ,_
     VIA E-MAIL(susAn(7a,whalenattorney.com) AND U.S. MAIL


    Susan M. Whalen, Esq.
    2806 Alta Street,PO Box 938
    Los Olivos, CA 93441

    Re:      HVI Cat Canyon,.Inc.,. Debtor                                                                -
             Bankr. Na 9-bk-19-11573-MB
             Payment Demand                                                                                                    -- {

    Deaz Susan:

    As you know,this office represents Michael A. McConnell,the Chapter 1 l trustee (the
    "Trustee")for the estate of HVI Cat.Canyon,Inc.

    On November 20, 2019, your client California Asphalt Production, Inc.("CAP") paid the
    Trustee only $300,000 ofthe $1,128.,250 million that was due for the month of October 2019.
    Demand is hereby made for immediate payment ofthe $828,250 that is now due.

     in the event that payment is not received by the Trustee by Wednesday November 27,2019,the
     Trustee will take all necessary and appropriate action against CAP, which may include, without
     limitation, the filing of a lawsuit against CAP in the United States Bankruptcy Court.

     The Trustee reserves all of his rights, claims and remedies, and nothing hexein is to be interpreted
     as a waiver ofany rights, claims or remedies.

     Please do not hesitate to contact Eric P. Israel or me if you would like to discuss this matter
     further.

     Very truly yours,



     Aaron E. de Leest

     AED:EPI

     cc:      Michael A..McConnell, Trustee
              Mr. Tim Skillman
     1566786.1 26932
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  Case 9:19-bk-11573-MB        Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28   Desc
                               Main Document    Page 97 of 111




DANrtING~ GILLS ISRAEL & KRASNOFF,L~.p


  Susan Weyland, Esq.
  November 25, 2019
  Page-2


          Mr. James Baring
          Aaron B. de Leest, Esq.
          Sonia Singh, Esq.
          Will Bea11(via email Will(c~beallandburkhardt.corn)
          Patty Tomasco (via email pattvtomasco a,quinnemanuel.com)




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Case 9:19-bk-11573-MB   Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28   Desc
                        Main Document    Page 98 of 111




                            EXHIBIT "11"

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  Case 9:19-bk-11573-MB            Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                   Desc
                                   Main Document    Page 99 of 111




 Transmitted via email and U.S. Mail



 November 27, 2019

 Aaron E. de Leest, Esq.
 banning Gill
 1901 Avenue of the Stars, Suite 450
 Los Angeles, CA 90067
 adeleest(c~danninggiii.com


          Re:        HVI Cat Canyon,Inc., Debtor
                     Bankr. No.9-bk-19-11573-MB
                     CAP: Crude Purchase; BS&W and Cold Crude; LCR Supply

 Dear Mr. de Leest:

       Reference is made to your November 25, 2019 demand of my client, California Asphalt
Production, Inc.("CAP"),to immediately pay the $828,250 balance due to HVI Cat Canyon,Inc., Debtor
("HVI").

         As the CRO has been previously advised, CAP's revenue receipts have been adversely impacted
 by HVI's delivery of significant volumes of wet and cold crude to CAP's refinery. This wet crude has
 created mechanical problems in the CAP equipment and facilities. In particular, the process unit is unable
 to produce on-spec PG grade asphalt. As a result, the crude is stuck in inventory and is unable to be
 processed into finished product and sold. Currently, CAP has over 20,000 barrels of crude stuck in its
 tanks which, at $55/bbl, creates a liquidity shortage of over $1 million.

        For your reference, attached are reports of the crude transfers to the refinery for October and
 November(month to date), 2019. The column entitled "Temperature" shows ltie cold cc•ude deliveries
 below 100°, and the column entitled "Actual Cut" shows the excess water. HVI has been aware ofthis
 problem for two months, as CAP had to stop accepting this crude under the terms ofthe Amended and
 Restated Agreement between the parties entered into as of May 1, 2014(the "Agreement").

          The Agreement provides, at Paragraph 1, that"[CAP]shall receive and process all BS&W Excess
and/or Cold Oil produced from the Leases to the extent, and only to the extent, that[CAP] has capacity
and processing availability." The Agreement further provides, at Paragraph 3(al, that "[HVI]
acknowledges that[CAP]is taking the BS&W Excess and/or Cold Oil as an accommodation to [HVI] and
that such receipt and processing ofthe BS&W Excess and/or Cold Oil shall be without recourse against
[CAP]. In addition, nothing in this Agreement shall be construed as creating an obligation on the part of
[CAP]to provide [HVI] with a continuous and uninterrupted source for processing its BS&W Excess
and/or Cold Oil.[CAP]shall not be liable for any failure or refusal whatsoever kind or nature, at any time
 or from time to time, either with or without notice, to accept delivery of said BS&W Excess and/or Cold
 Oil. In particular, but not by way of limitation,[CAP]shall not be obligated to accept delivery of[HVI)'s
 BS&W Excess and/or Cold Oil at the Refinery if same contains impurities in quantities which, in [CAP]'s
sole judgment, may be injurious to the Refinery's plant,. equipment, or facilities."




                                         SUSAN~WHALENATTORNEY.COM                               2806 ALTA STREET93
CELL 805-350-9017
                                          W~N~N•~NH ALENATTORN EY.COM                           PO BOX 938
TEL. 805-693-2101
                                                                                                Los O~ivoS, CA 93441
Fax   805-693-2102
Case 9:19-bk-11573-MB            Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                        Desc
                                 Main Document   Page 100 of 111




Aaron E. de Leest, Esq.
November 27, 2019
Page 2



        HVI's inability to deliver dry and hot crude oil according to the parties' crude contract is the root
problem. While CAP has accommodated HVI's field issues to date, CAP is unable to sustain its own
operations as a result and thus will have to start rejecting crude in the near future if this off-spec crude
problem continues.

       CAP's liquidity shortage due to this dead inventory that CAP has been unable to convert to cash
has been compounded by HVI's failure to pay CAP $590,903.46 when due on November 25, 2019 for the
LCR deliveries that HVI received. HVI was required to make this payment under the terms ofthe parties'
Suppl,~~reement — LCR executed on May 27, 2015.

       We trust that the foregoing puts into perspective the issues at hand. We suggest that exchanging
demand fetters will not solve the issue and a meeting to discuss next steps to resolve the technical issues
makes more sense.

        This letter is without admission or waiver by CAP that reserves all rights.

Sincerely,
 ~----

Susan M. Whalen

cc:     Eric P. Israel, Esq.(via email)
        Will Beall (via email)
        Patty Tomasco (via email)
        Ernesto Olivares, CAP(via email)




                                                                                                                ~~
Case 9:19-bk-11573-MB   Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28   Desc
                        Main Document   Page 101 of 111




                            EXHIBIT "12"

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  Case 9:19-bk-11573-MB           Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                Desc
                                  Main Document   Page 102 of 111




 Transmitted via email and US. Mail



 November 27,2019

Aaron E. de Leest, Esq.
banning Gill
1901 Avenue of the Stars, Suite 450
Los Angeles, CA 90067
adeleest(a~dannin gg1i1 t.com


         Re:      HVI Cat Canyon,Inc., Debtor
                  Bankr. No.9-bk-19-11573-MB
                  GTL1: Transportation Demand

Dear Mr. de Leest:

      Please be advised that HVI Cat Canyon,Inc. ("HVI")currently owes $268,649 to my client,
GTL1,LLC("GTL1"), for the September insurance payment as well as the entire month of October,
2019.

       'The current payable became due to GTL1 pursuant to the following invoices presented to HVI
and acknowledged by the Debtor's CRO,Tim Skillman, in a Memorandum addressed to GTL1's CFO,
Ernesto Olivares:

         October transportation           $247,689
         September auto insurance         $ 10,480
         October auto insurance             10 480
                                          $468,649

         The total sum of$268,649 must be paid for services rendered by GTLI to HVI, notwithstanding
 any reconciliation issues that HVI may have with affiliates of GTL1. If payment is not received by
 Monday, December 2,2019, GTLl will need to seek relieffrom the Bankruptcy Court for adequate
 assurance of performance, and other remedies as allowed.

          This letter is without admission or waiver by GTL1 that reserves all rights.

 Sincerely,



 Susan M. Whalen

 cc:      Eric P. Israel, Esq.(via email)
          Will Beall(via email)
          Party Tomasco (via email)
          Ernesto Olivares, CAP (via email)                                        ~r    r
                                                                                  i
                                                                                  '      ~




CE~~ 805-350-9017                          S USAN~WHALE NATTORN EY.COM
                                                                                             2806 ALTA STREETS   6
                                             W W W.W HALE NATTOR N EY.COM                    PO eox 938
TES. 805-693-21 O t
                                                                                             Los O~iv05, CA 93441
Fqx 805-693-2102
Case 9:19-bk-11573-MB   Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28   Desc
                        Main Document   Page 103 of 111




                            EXHIBIT "13"

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Case 9:19-bk-11573-MB             Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                           Desc
                                  Main Document   Page 104 of 111




  Trarts~tzitted via errtaid



  December 1, 2019

  Aaron 6. de Leest, Esq.
  Dannrng Ui(1
  1901 Avenue ofthe Stars, Suite 450
  Los Angeles, CA 940G7
  adeleest t~.d~~nnin~kil l.coiii


           Re:       HVI Cat Canyon, Inc., Debtor
                     Bankr. No.9-bk-19-11573-MB
                     CAP: Crude Purchase; BSBi~'V and Cold Crude; LCR Supply

  Uear Mr. de Leest:

         Please share with your clients, Messrs. McConnell acid Skill~r~an, the following information and
  attachment that provides further clarity of the business issues between my client, California Asphalt
  Production, Inc.("CAP"),and HVI Cat Canyon, Inc.("HVI").

 [ssues causing material harm to CAP's operation and ligaidity since mo~ith end July 2Q19:

       1. HVI's deliveries of cold oil (less than 100°F) have risen to 39% in November and averaged 24%
          prior to November 26'''.

       2. HVI's deliveries of off-spec oil (greater than 3% BS~iW)rose to 73% in November and averaged
          54% prior to November 26°i.

       3. HVI increased its request for LCR from 3,514 b~-els in 3uty to a high ~f6,729 barrels in
          October. This number represents an increase from 43% to 63% of total CAP sales and rose even
          further to 7b% in November(through 26th). Other customers pay CAP for this product in 7 days
          whereas HVI pays within 55 days.

  The above-iistcd issues created the following serious operational challenges in the Refinery's plant and
  equipment, including CAP's processing; availabilit,

       1. HVI delivered a large quantity of off-spec oil that CAP had to store a~~d is stuck as crude
          inventory because it could not b~ processed. As a result, CAP's crude inventory rose from 9,764
          barrels at July month end to 30,513 barrels, a 213% increase en November.

       2. HVI delivered cold anc! high BS&W oil Ch1t caused the crude processing at the CAf' plant to
          yield off-spec asphalt product. CAP's Process Operators were unable to produce nn-spec PG
          Grade asphalt during this period. "t'he suspended water• in the cold crude delivered by HV1 caused
          significant prob(etns in Cf~P's operations, forcing the Praeess Unit into circulation as a safety
          precaution, The high water cUntent mused the process temperatures at the pta~it to be the highest
          ever witnessed by the operators.
                                                                                `;` .~ •
                                                                                 ~} 1:1.
CELL BO5-3X0-901 I                        SUSAN~~WHA LE NATTUNN tY.COM                           LHOB ALTA STREET   (~ (~
TEL. 805-653-21 p1                         WWVf.WHAI.ENATTORN EY.COM                             PO eOX 936         ~~
FAx   805-693-2Ip2                                                                               Los OL~voS. CA 934A1
    Case 9:19-bk-11573-MB           Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                         Desc
                                    Main Document   Page 105 of 111




     Elaron F,, de Leest, Esq.
     December 1, ZOl9
     Page 2




        3. CAP is unable to maintain normal, steady process operaCion and make on-spec mAteriat for its
           clients with the material increase in HWPs deliveries of off-spec crude compounded by it being
           cold.

            In accordance with the terms of the Amended and Restated Agreement between the parties
    entered into as of Mny 1, 2014(the "Agreement"), LAP has attempted to accept, as an accommodation to
    HVI,off-spec and cold deliveries of nil. However, it cannot do so to the detriment of the Refinery's plant
    and equipment as provided in the Agreement and at the volumes that HVI is delivering, HVI's loss of
    control over its crude specifications fur the last 50 days caused this breakdown in processing capacity,
_   increased crude inventory, and CAP's inability to meet its customer specifications.

            Contrary to the Trustee's professionals' representations, CAP provided its comtnercially best
    assistance to accommodate HVI's delivery of off-spec material.

             7fie Trustee and CRQ proffer erroneous statements of fact to support the Trustee's motion for nn
    order authorizing the rejection ofthe REDU and E3elridge enide conh~acts. While CAP has no objection to
    the rejection of these contracts, it takes serious issue with the ttiisstatements in the Declarations signed
    under penalty of perjury As the basis for rejection. Specifically:

           (A)It is factually incorrect that CAP did not make any payments to HVl for ~ctaber crude
    deliveries. RaChcr and as your clients know, CAP paid to HVI $3b0,000.00 on November 20, 201.9.

           (B} It is also factually incorrect that CAP did not pay in full for the Richfield and Belrid~e crude.
    To the contrary and as your clients a.re aware, CAF paid to HVI all revenue due under the Rich#field and
    Belridge contracts and on the same days that CAP received proceeds from Phillips 66, to sup from
    August through Novc;mber, CAP received $614,455.68 in proceeds from Yhiltips db and CAP paid to
    HVI $1,454,000.00 which more than covers the net proceeds payable to HVI for the Richfield and
    Belridge crude sales through October. Ofthese amounts,(i) for crude sflles through September, by way of
    an accounting reconciliation delivered to the CRO by Mr. Dlivares and acknowledged in a Memorandum
    dated t 1/19!2019 delivered to Mr. Olivares by the CRO,no monies were owed by CAP to HVI, and (ii)
    for October etude sales, CAP received $149,796.23 in proceeds from Phillips 66 and on the same day
    CAP paid to HVI $300.000.00 covering at least the net proceeds payable to HVI for Richfield a~~d
    Belridge.

           (C)Lastly, it is misleading that CAP does not have tale ability to pay the outstanding amounts that
    ure due to F-N[ for October 2019. Instead, the accommodations made by GAP Yo ~~sist HVl with its
    material limitations in its field operations by t~~king delivery of HV['s off-spec and cold crude have
    caused material hattn to CAP's operation and liquidity as outlined above.

            You are urged to coc•rect these misstatements in the record which will facilitate good faith
    discussions between the parties, as my client is eager to work cooperatively with the Trustee and the CRO
    to resolve their issues.




                                                                                                                    ..
Case 9:19-bk-11573-MB           Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                        Desc
                                Main Document   Page 106 of 111



 Aaron E. de Leese Esq.
 December 1, 2019
 Page 3



        Additionally, as the energy sector knows, IMO 2020 goes into effect on January 1, 2020. In order
to comply to this regulation, CAP's capacity to provide any accommodation for accepting HVI's off-spec
and high sulfur crudes will be materially limited. In order to determine which crudes will qualify for
possible acceptance under the parties' contract, please have FIVI provide to CAP a carrent MSDS sheet
on each crude type. CAF' understands that FNI leas recently tested each of its crudes, so CAP expects that
HVI is able to provide such specifications immediately, but no later than December 5, 2019, so that such
deterinc~ation can be concluded by CAP promptly.

         Finally, as per my previous letter of November 27, 2019, CAF welcomes a conference call to
attempt determining a collaborative path forward on the issues. These affiliates have successfully
operated fir two decades through close cooperation of its personnel. The current segregation will further
cripple both 2~/7 operating businesses to the detrimcnc of all stakeholders.

        This letter is without admission or waiver by CAP that reserves all rights.

Sincerely,



Susan ~v1, V4lhaten

cc:     Eric P. Israel, Esq.{via email)
        Will Beall .(via email)
        Patty Tomasco(via email}
        Ernesto Olivares, CAP (via email}




                                                                                                               ~SIII
      HVI C,AT CANYON                           JULY         AUG         SEPT        aCT    NOV (1&i'Nj       TOTAL



      LOADS DELIVERED                            117          279         219         260          171         1046
      LOADS D€LIVERED - OFF SREC >3%BS&W          75          130         129         317          125          576
                                                64%          47%         59%         45%          73%          55%
      LOADS DELIVERED - COID <100F                32           91          41          49           67          28Q
                                                27%          3396        1996        19%          39%          279e
                                                                                                                                               Case 9:19-bk-11573-MB




      QIL DELIVERED                          15,592       38,377      28,119      34,442        22,539      139,070
      dll DELIVERED-OFF SPEC>39'o B5&W        9,848        17,655     16,733      14,987        15,953       75,185
                                                63%          4S%         6D%         44%           7I%         54%
      011 DELIVERED - CQLD <100F               A,103       12,429      5,412       6,504         8,445       36,893
                                                2696         32%         19AG        1916         37%           27f6


        flAPERATUftE FEES                  $6,154.71   $18,642.76   $&,118.Q3   $9,756.70   $12,667.14    $55,33934
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                                                                                                                       Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28
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      Case 9:19-bk-11573-MB                  Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                                        Desc
                                             Main Document   Page 108 of 111



                                     PROOF OF SERVICE OF DOCUMENT
 am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 1901
Avenue of the Stars, Suite 450, Los Angeles, CA 90067-6006.

A true and correct copy of the foregoing document entitled (specify): TRUSTEE'S NOTICE OF MOTION AND MOTION FOR
ORDER AUTHORIZING THE REJECTION OF ALL CONTRACTS AND AGREEMENTS WITH CALIFORNIA ASPHALT
PRODUCTION, INC., FORMERLY KNOWN AS SANTA MARIA REFINING CO. AND GREKA REFINING COMPANY, AND
GTL1, LLC, NOT PREVIOUSLY INCLUDED IN PRIOR MOTION TO REJECT (DOCKET NO. 573); MEMORANDUM OF
POINTS AND AUTHORITIES, DECLARATIONS OF MICHAEL A. MCCONNELL, TIMOTHY SKILLMAN, ERIC P. ISRAEL,
AARON E. DE LEEST AND REQUEST FOR JUDICIAL NOTICE IN SUPPORT THEREOF will be served or was served (a)
on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders
and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On December 4,
2019 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                       ❑
                                                                                       D Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL: On December 4, 2019, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes
a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

Debtor                                          Debtor
HVI Cat Canyon, Inc.                            HVI Cat Canyon,inc.
c/o Capitol Corporate Services, Inc.            630 Fifth Avenue, Suite 2410
36 S. 18th Avenue, Suite D                      New York, NY 10111
Brighton, CO 80601


                                                                                       D Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY. OVERNIGHT MAIL. FACSIMILE TRANSMISSION OR EMAIL (state method for
each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on December 4, 2019, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

BY OVERNIGHT MAIL
The Honorable Martin R. Barash
U.S. Bankruptcy Court
21041 Burbank Blvd., Suite 342
Woodland Hills, CA 91367
                                                                                       D Servi       n rmation continued on attached page.

 declare under penalty of perjury under the laws of the United States that th~foregoir,~ is
                                                                                                    C


 December 4, 2019                         Vivian E. Servin
 Date                                     Printed Name                                     (~5ipn~ature




         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

tune 20 2                                                                                     F 9013-3.1.PROOF.SERVICE
     Case 9:19-bk-11573-MB                  Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                                       Desc
                                            Main Document   Page 109 of 111



                                            ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (~~NEF")

William C Beall on behalf of Creditor GLR,LLC
will@beallandburkhardt.com, carissa@beallandburkhardt.com

Alicia Clough on behalf of Creditor California State Lands Commission
aclough@loeb.com, mnielson@loeb.com,ladocket(~loeb.com

Marc S Cohen on behalf of Creditor California State Lands Commission
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     Case 9:19-bk-11573-MB                   Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                                       Desc
                                             Main Document   Page 110 of 111




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      Case 9:19-bk-11573-MB                  Doc 586 Filed 12/04/19 Entered 12/04/19 18:35:28                                        Desc
                                             Main Document   Page 111 of 111



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June 2012                                                                                     F 9013-3.1.PROOF.SERVICE
